       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 1 of 160




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RICARDO NATIVIDAD,                                   :
                                                     :
                       Petitioner,                   :   CIVIL NO.: 08-0449
                                                     :
v.                                                   :
                                                     :
JOHN E. WETZEL, Secretary, Pennsylvania              :   THIS IS A CAPITAL CASE
Department of Corrections, TAMMY FERGUSON, :
Superintendent of the State Correctional Institution :   Electronically Filed
at Phoenix, and STEVEN GLUNT, Superintendent :
of the State Correction Institution at Rockview,     :
                                                     :
                       Respondents.                  :
                                                     :



                   MEMORANDUM OF LAW IN SUPPORT OF
               AMENDED PETITION FOR WRIT OF HABEAS CORPUS



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Dated: October 21, 2019
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 2 of 160




                               PRELIMINARY STATEMENT

       Transcripts from the trial and post-conviction hearing are cited as “NT” followed by the

applicable date and page number. The Pennsylvania Supreme Court has issued three substantive

opinions in this case. They are Commonwealth v. Natividad, 773 A.2d 167 (Pa. 2001) (direct

appeal); Commonwealth v. Natividad, 938 A.2d 310 (Pa. 2007) (initial PCRA appeal); and

Commonwealth v. Natividad, 200 A.3d 11 (Pa. 2019) (successor PCRA appeal). They will be

cited as Natividad-1, Natividad-2, and Natividad-3, respectively.

       Petitioner Ricardo Natividad will be referred to by name or as “Petitioner.” Respondents

will be referred to as “the Commonwealth.”

       All emphasis in this Memorandum of Law is supplied unless otherwise indicated.




                                                i
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 3 of 160




                                               TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................. i
INTRODUCTION ....................................................................................................................... 1
PROCEDURAL HISTORY......................................................................................................... 2
STATEMENT OF THE CASE .................................................................................................... 6
EXHAUSTION AND DEFAULT ............................................................................................... 8
STANDARD OF REVIEW ......................................................................................................... 8
Supplemented Claim V .............................................................................................................. 12
V.     Petitioner Was Denied a Fair Trial Because the Commonwealth Violated the Due
       Process Clause When It Did Not Disclose Exculpatory Information Material to
       Petitioner’s Ability to Present a Defense at Trial. ............................................................ 12
       A.      The Discovery of Suppressed Evidence .................................................................. 13
       B.      The Withheld Evidence............................................................................................ 14
                1.    Someone else confessed to murdering Robert Campbell ................................. 14
                2.    An eyewitness identified someone other than Petitioner as the shooter .......... 17
       C.      Legal Standards ........................................................................................................ 19
       D.      The Commonwealth Violated Petitioner’s Due Process Rights .............................. 21
               1.     The Commonwealth suppressed evidence ....................................................... 21
               2.     The suppressed evidence was favorable to the defense ................................... 21
               3.     The suppressed evidence was material ............................................................. 23
       E.      The State Court Opinion .......................................................................................... 28
               1.     The Robinson evidence was material ............................................................... 28
               2.     The McCullough claim was timely filed .......................................................... 32
               3.     The state courts did not consider the cumulative effect of the suppressed
                      evidence on Petitioner’s trial ............................................................................ 37
CLAIMS FOR HABEAS RELIEF AS INITIALLY FILED ..................................................... 37
I.     There Was Insufficient Evidence of a Robbery of Robert Campbell such that
       Petitioner’s Conviction on that Charge Violated Due Process; as the Erroneous
       Robbery Conviction was an Aggravator, Petitioner’s Death Sentence Violates
       Pennsylvania Law and the Eighth Amendment; Furthermore, Petitioner Was
       Denied the Effective Assistance of Counsel; Direct Appeal Counsel Failed to
       Properly Present His Claim of Evidentiary Insufficiency................................................. 37
       A.      Background .............................................................................................................. 38
       B.      Ineffective Assistance of Counsel ............................................................................ 42
       C.      The State Court Opinions......................................................................................... 43
       D.      State Post-Conviction Counsel Was Ineffective Under Martinez............................ 44


                                                                  ii
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 4 of 160




II.    Petitioner Was Denied Due Process and the Effective Assistance of Counsel by the
       Trial Court’s Admission of Other Crimes Evidence; by the Prosecutor’s Use of the
       Evidence for Improper Purposes; and by Counsel’s Failure to Seek Appropriate
       Limiting Instructions, Object to the Absence of Those Instructions, and Object to
       the Prosecutor’s Improper Use of the Evidence. .............................................................. 45
       A.     Legal Standards ........................................................................................................ 47
       B.     Joinder Violated Due Process .................................................................................. 49
       C.     Counsel Was Ineffective .......................................................................................... 50
       D.     The State Court Opinions......................................................................................... 52
III. Petitioner Was Denied Due Process and the Effective Assistance of Counsel Where
     the Trial Court’s Instructions Unconstitutionally Diminished the Commonwealth’s
     Burden of Proof and Negated the Partial Defense of Imperfect Self-Defense, and
     Where Trial Counsel Failed to Object or Request Appropriate Instructions. ................... 55
       A.     Legal Standards ........................................................................................................ 56
              1.     Instructional error ............................................................................................. 56
              2.     Ineffective assistance of counsel ...................................................................... 57
       B.     Malice Instructions................................................................................................... 58
       C.     Instructions on the Interrelationship between Malice and Self-Defense ................. 59
       D.     Self-Defense Instructions ......................................................................................... 61
       E.     Counsel Was Ineffective .......................................................................................... 61
       F.     The State Court Opinion .......................................................................................... 62
                1. Malice instructions ........................................................................................... 63
                2. Malice and self-defense .................................................................................... 65
                3. Self-defense “free from fault” instruction ........................................................ 65
       G.     Conclusion ............................................................................................................... 65
IV. Petitioner Was Denied the Effective Assistance of Counsel, Due Process, and His
    Rights under the Eighth Amendment and a Fair and Reliable Guilt-Innocence and
    Penalty Proceeding by Trial Counsel’s Failure to OBTAIN Evidence Regarding
    the Homicide Victim’s Firearm Non-Licensure (the Non-Disclosure of which
    Violated Brady v. Maryland). ........................................................................................... 66
       A.       Impact on Petitioner’s Defense .............................................................................. 67
       B.       Prejudice at the Sentencing Phase .......................................................................... 67
       C.       Trial Counsel’s Deficient Performance .................................................................. 68
       D.       Due Process Violations .......................................................................................... 69
       E.       The State Court Opinion......................................................................................... 70
       F.       The State Court’s Decision Is Contrary to Federal Law and Based on
                Unreasonable Determinations of Fact .................................................................... 71



                                                                 iii
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 5 of 160




V.     Petitioner Was Denied a Fair Trial Because the Commonwealth Violated the Due
       Process Clause When It Did Not Disclose Exculpatory Information Material to
       Petitioner’s Ability to Present a Defense at Trial. ............................................................ 74
VI. Petitioner Was Denied His Right to the Effective Assistance of Counsel Where
    Trial Counsel Failed to Impeach Michael Havens with His Prior Statements and
    Where Trial Counsel Opened the Door to Third-Party Threats of a Witness. .................. 74
       A.      Strickland and the Duties of Capital Counsel .......................................................... 74
       B.      Failure to Impeach Michael Havens ........................................................................ 75
               1. Counsel’s performance was deficient ................................................................ 75
               2. Petitioner was prejudiced ................................................................................... 77
       C.      Opening the Door to Third-Party Threats of Byron Price ....................................... 78
               1.    Counsel’s performance was deficient............................................................... 78
               2.    Petitioner was prejudiced ................................................................................. 80
       D.      The State Court Opinion .......................................................................................... 80
VII. Petitioner Withdraws This Claim...................................................................................... 82
VIII. Petitioner Was Denied His Right to a Fair and Impartial Jury in Violation of the
      Sixth, Eighth, and Fourteenth Amendments Where a Juror Failed to Inform the
      Court that Her Father Was a Police Officer. ..................................................................... 82
IX. Petitioner’s Rights Were Violated Where the Prosecutor Made Improper Closing
    Remarks at the Guilt Phase, and Where Trial Counsel Failed to Object to the
    Improper Comments. ........................................................................................................ 85
       A.      The State Court Opinion .......................................................................................... 88
       B.      The State Court Opinion Violates AEDPA ............................................................. 88
       C.      Post-Conviction Counsel Was Ineffective ............................................................... 88
X.     Counsel Rendered Ineffective Assistance by Failing to Investigate and Present
       Readily Available Mitigating Evidence. ........................................................................... 89
       A.      As Presented in the PCRA Proceedings, Counsel Failed to Properly Investigate
               and Present Mitigation. ............................................................................................ 94
               1.    Evidence of good deeds .................................................................................... 94
               2.    Counsel failed to utilize records in hand, including juvenile placement
                     records .............................................................................................................. 96
               3.    Counsel failed to provide his mental health expert with the necessary
                     records and background evidence from interviews of family and
                     neighbors .......................................................................................................... 97
       B.      Petitioner Was Prejudiced by Counsel’s Errors ....................................................... 98
       C.      Evidence Presented in the Habeas Petition ............................................................ 101
               1.    Failure to present Petitioner’s social history .................................................. 101



                                                                  iv
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 6 of 160




                2.    Failure to present available evidence of severe impairments and brain
                      damage............................................................................................................ 104
       D.      The State Court Opinion ........................................................................................ 105
       E.      The Decision of the Pennsylvania Supreme Court Violated AEDPA ................... 106
       F.      Post-Conviction Counsel Was Ineffective Under Martinez................................... 110
       G.      Petitioner Was Prejudiced ...................................................................................... 111
XI. The Commonwealth’s Presentation of Victim Impact Evidence and Its Dilatory
    Notice of Victim Impact Evidence Violated Petitioner’s Rights under the Sixth,
    Eighth, and Fourteenth Amendments. ............................................................................ 113
       A.      Pennsylvania’s Victim Impact Statute and the Trial Testimony ........................... 113
       B.      The Eighth Amendment Violation ......................................................................... 116
       C.      Due Process and Sixth Amendment Violations ..................................................... 117
       D.      The State Court Opinion ........................................................................................ 119
       E.      The Decision of the Pennsylvania Supreme Court Violated AEDPA ................... 121
XII. Petitioner Is Entitled to a New Sentencing Hearing Where the Court Improperly
     Instructed the Jury on the Nature and Use of Aggravating and Mitigating Factors,
     and Where Trial Counsel Failed to Object or Request Appropriate Instructions. .......... 122
       A.      The Trial Court’s Instructions Erected Unconstitutional Barriers around the
               Defense Presentation of Mitigating Evidence that Prevented the Jury from
               Giving the Mitigation Its Full Effect ..................................................................... 123
               1.     The nature and purpose of aggravating and mitigating instructions .............. 123
               2.     The presumption of a death sentence ............................................................. 126
               3.     The preclusion from considering sympathy ................................................... 128
       B.      Trial Counsel Was Ineffective for Failing to Object to the Instructions................ 128
       C.      The State Court Opinion ........................................................................................ 129
               1.     The state court did not adjudicate Petitioner’s constitutional arguments
                      regarding the “more terrible/less terrible” instruction .................................... 130
               2.     The state court’s holding regarding erroneously placing the burden of
                      persuasion on Petitioner involved an unreasonable application of clearly
                      established law and/or an unreasonable determination of the facts ............... 131
XIII. Petitioner Was Denied His Constitutional Rights to a Fair and Impartial Capital
      Jury Where the Trial Court and Trial Counsel Failed to Ensure that the Jurors
      Selected Would Consider the Possibility of a Life Sentence, in Violation of
      Petitioner’s Rights under the Sixth, Eighth, and Fourteenth Amendments. ................... 134
       A.      Trial Counsel Ineffectively Failed to Life-Qualify the Jury .................................. 134
       B.      The State Court Opinion ........................................................................................ 136
XIV. All Prior Counsel Were Ineffective for Failing to Raise Each and Every Issue
     Presented Herein. ............................................................................................................ 138


                                                                  v
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 7 of 160




For this claim, Petitioner refers the Court to the other claims, as briefed in this
      Memorandum of Law. .................................................................................................... 138
XV. Petitioner Is Entitled to Relief from His Conviction and Sentence Because of the
    Prejudicial Effects of the Cumulative Errors in This Case. ............................................ 138
       A.      Legal Standards ...................................................................................................... 138
       B.      The State Court Opinion ........................................................................................ 141
XVI. Aggravating Circumstance, 42 Pa. C.S. § 9711(d)(9) (Significant History of Felony
     Convictions Involving the Use or Threat of Violence to the Person), Is Void for
     Vagueness, and Petitioner’s Death Sentence Violates the Eighth and Fourteenth
     Amendments and Must Be Reversed. ............................................................................. 141
       A.      Post-Johnson Procedural History........................................................................... 142
               1.     State court proceedings .................................................................................. 142
               2.     Federal habeas proceedings ............................................................................ 143
       B.      Johnson v. United States and Its Progeny .............................................................. 143
       C.      42 Pa. C.S. § 9711(d)(9) Is Unconstitutional under Johnson ................................ 145
               1.     Johnson applies to death penalty schemes ..................................................... 145
               2.     As in the ACCA provision at issue in Johnson, Pennsylvania employs
                      a categorical approach to determining whether a predicate offense
                      applies ............................................................................................................. 146
               3.     The clauses are materially indistinguishable .................................................. 147
               4.     Petitioner is entitled to relief .......................................................................... 149
       D.      The State Court Opinion ........................................................................................ 150
CONCLUSION ........................................................................................................................ 152




                                                                   vi
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 8 of 160




                                        INTRODUCTION

       Petitioner’s case is a prime example of an unfair trial. The prosecutor’s file contained

undisclosed, signed statements from two individuals stating that someone else confessed to the

crime for which Petitioner was convicted and sentenced to death. In a third suppressed statement,

the accused individual, while denying culpability, admitted being at the scene and seeing the

victim dead. But for this Court’s Discovery Order dated August 19, 2011, Petitioner never would

have obtained these exculpatory documents. Petitioner did not get them until 14 years after trial

and not until after the Commonwealth protested to this Court over and over again that Mr.

Natividad’s requests for exculpatory materials were “unwarranted.” The Commonwealth also

failed to produce before trial contact information for an eyewitness, John McCullough, who saw

the shooting and stated that Mr. Natividad was not the shooter.

       The homicide case was unfairly joined with a carjacking, prejudicing Petitioner. The

homicide case involves the shooting death of Robert Campbell at an Exxon station. The joinder

was obtained on the basis that the car at the Exxon station was the same as a car that was

carjacked and taken from another individual, Michael Havens. However, the trial testimony and

the statement police took from eyewitness show the two cars were different – the stolen car was

a two-door Lincoln and the one involved in the homicide was four-door. The carjacking victim

did not identify Mr. Natividad until after he saw Petitioner on television.

       The failure to obtain justice did not stop there. Twenty-four hours before the sentencing

phase, Petitioner received a victim impact statement. He received it on a holiday, Veterans Day,

and thus had no time to investigate it. Indeed, his counsel did not discover that the victim, who

was carrying a gun, was not licensed to carry the gun – another piece of exculpatory information

hidden in the prosecutor’s files. The sentencing phase was a travesty. Counsel only had

Petitioner’s father and a psychologist testify. He did not obtain Petitioner’s juvenile file until the

                                                  1
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 9 of 160




jury was deliberating the guilt/innocence case. Counsel did not talk with numerous family

members, including Petitioner’s half-brother and half-sister, who would have told a compelling

story of the violence Petitioner was subjected to as a child. Despite signs of brain damage,

counsel did not have Petitioner tested for brain damage and did not present available evidence

that Petitioner had brain damage. As a result of these errors, Petitioner is entitled to a new trial

and sentencing.

                                   PROCEDURAL HISTORY

       On November 10, 1997, Petitioner was convicted of first-degree murder and related

counts in this case in the Philadelphia County Court of Common Pleas. Commonwealth v.

Natividad, Nos. 9704-0013, 9708-0312 (Phila. C.P., Crim. Div.). After a brief penalty-phase

hearing, the jury sentenced Petitioner to death on November 12, 1997. The Pennsylvania

Supreme Court affirmed Petitioner’s convictions and death sentence on direct appeal on June 25,

2001. Commonwealth v. Natividad, 773 A.2d 167 (Pa. 2001) (“Natividad-1”). The United States

Supreme Court denied his petition for writ of certiorari on May 28, 2002. Natividad v.

Pennsylvania, 535 U.S. 1099 (2002). Petitioner was represented by attorney Donald Padova at

trial and on direct appeal.

       On November 25, 2002, Petitioner filed a pro se Motion for Post-Conviction Collateral

Relief. Jules Epstein was appointed as counsel and filed an amended petition pursuant to the Post

Conviction Relief Act (“PCRA”). After a hearing limited to penalty phase claims only, post-

conviction relief was denied in an order dated December 30, 2005. On December 27, 2007 the

Pennsylvania Supreme Court affirmed the judgment of the PCRA court. Commonwealth v.

Natividad, 938 A.2d 310 (Pa. 2007) (“Natividad-2”).

       On January 30, 2008, Petitioner filed a motion in this Court requesting a stay of

execution and appointment of counsel to assist in the preparation of a federal habeas petition

                                                  2
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 10 of 160




(ECF No.1). On January 31, 2008, this Court issued an order staying Petitioner’s execution and

appointing undersigned counsel to represent Mr. Natividad in habeas proceedings (ECF No. 3).

       On June 27, 2008, Petitioner filed his Petition for Writ of Habeas Corpus (“Petition”) in

this Court (ECF No. 7). After a period of informal discovery between the parties, Petitioner filed

a Motion for Discovery on September 28, 2010 (ECF No. 24). On August 19, 2011, this Court

issued an order granting the motion in part (ECF No. 38).

       The Commonwealth produced discovery on March 6, 2012, in response to the order,

including a note mentioning a previously undisclosed eyewitness, John “Maculla.” After counsel

located John McCullough, he provided a statement that he saw the shooting and the shooter was

not Petitioner. Based on this discovery and subsequent investigation, Petitioner filed a Petition

for Habeas Corpus Relief Pursuant to Article I, Section 14 of the Pennsylvania Constitution and

for Statutory Post-Conviction Relief under 42 Pa. C.S. § 9542, et seq., and Consolidated

Memorandum of Law (“Successor PCRA Petition”) on August 9, 2012, in the Philadelphia Court

of Common Pleas, alleging that the Commonwealth violated Brady v. Maryland, 373 U.S. 83

(1963), and its progeny. Petitioner’s motion to amend the pending Petition with this claim was

granted on June 18, 2013 (ECF No. 51; ECF No. 54).

       Pursuing indications that the Commonwealth’s files contained more undisclosed,

discoverable evidence, Petitioner filed a Supplemental Motion for Discovery on February 4,

2013 (ECF No. 46). In the Supplemental Motion, he renewed his request for the complete files of

the Philadelphia Police Department and the District Attorney’s Office. The Commonwealth first

sought an extension of time to respond. In its request for an extension, the Commonwealth

reiterated its representation that there was no Brady material in these files:




                                                  3
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 11 of 160




       As the Commonwealth reported in its response to Natividad’s first Motion for
       Discovery in late 2010, respondents believe there is nothing in the file that
       constitutes “Brady” material that has not already been disclosed.

(ECF No. 48 at 2). See also ECF No. 29 at 35-36 (stating that after a search of the Commonwealth’s

files “no document or information was located that should have been previously turned over to the

defense under Brady.”) These statements were not accurate.

       Following argument on February 10, 2014, and subsequent litigation, this Court issued an

order on July 9, 2014, granting Petitioner access to the original investigative files of the

Philadelphia Police Department and the internal District Attorney’s Office files (ECF No. 73),

which the Commonwealth made available on August 7, 2014.

       A review of the Commonwealth’s files revealed that the prosecution had failed to

previously disclose to trial and post-conviction counsel police reports that another person,

Rolston Ricardo Robinson, confessed to shooting Campbell, as well as reports corroborating

details of the confession. Based on this production, Petitioner filed a supplement to the Successor

PCRA Petition in the Philadelphia Court of Common Pleas on October 6, 2014, alleging

additional constitutional violations. In federal proceedings, Petitioner moved to supplement the

Petition and to excuse exhaustion on January 14, 2015 (ECF No. 74). This Court denied the

motion without prejudice and ordered the case to be placed in civil suspense until an amended

petition could be filed at the conclusion of state post-conviction proceedings (ECF No. 76).

       On June 17, 2016, Petitioner filed another supplement to his Successor PCRA Petition in

state court, seeking relief from his sentence of death under Johnson v. United States, 135 S. Ct.

2551 (2015), which was made retroactive by the United State Supreme Court’s decision in Welch

v. United States, 136 S. Ct. 1257 (2016). The claim asserted that the aggravating circumstance

invoked in support of Petitioner’s death sentence, 42 Pa. C.S. § 9711(d)(9), is unconstitutionally

vague. While the federal case remained in civil suspense, Petitioner moved to lodge a

                                                  4
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 12 of 160




supplement to the Petition regarding this claim on April 14, 2017, which was granted by this

Court on August 31, 2017 (ECF No. 85; ECF No. 91).

       On April 28, 2016, May 20, 2016, and July 7, 2016, the PCRA court conducted a hearing

on the McCullough claim. On July 15, 2016, the PCRA court issued an order dismissing the

Successor PCRA Petition. However, because the supplemental Johnson claim had not been

adjudicated, the PCRA court issued an order on July 27, 2016, vacating its prior order. Following

argument on the Johnson claim, the PCRA court issued an order on December 21, 2016, denying

relief on the Brady claims, granting relief on the Johnson claim, and vacating Petitioner’s death

sentence.

       The Commonwealth filed a motion for reconsideration and, on January 13, 2017, the

PCRA court vacated its grant of relief. The PCRA court then dismissed the Successor PCRA

Petition in its entirety on February 14, 2017, and issued an opinion in support of its order on

August 9, 2017.

       On January 23, 2019, a divided Pennsylvania Supreme Court affirmed the judgment of

the PCRA court denying post-conviction relief. Commonwealth v. Natividad, 200 A.3d 11 (Pa.

2019) (“Natividad-3”). Justices Wecht and Donahue would have granted a new trial because of

the Commonwealth’s failure to disclose the police reports relating to the Robinson confession.

       Returning to this court, Petitioner moved to take this case out of civil suspense, and in

response to this Court’s order of February 5, 2019 (ECF No. 100), filed a supplement to the

habeas petition on February 22, 2019 (ECF No. 101). The Court also ordered Petitioner to file a

memorandum of law on or before June 22, 2019 (ECF No. 100). After requests for extensions of

time, this Memorandum follows.




                                                 5
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 13 of 160




                                 STATEMENT OF THE CASE

       Mr. Natividad was convicted of the 1996 shooting death of Robert Campbell at an Exxon

gas station in West Philadelphia. Petitioner was separately accused and convicted of being one of

two persons to commit a carjacking, in which Michael Havens’ Lincoln Continental was stolen

the day before the Campbell shooting. The Commonwealth alleged that Petitioner drove to and

from the gas station in the Lincoln taken during the carjacking.

       In the early morning hours of November 9, 1996, Michael Havens was carjacked at

gunpoint and his automobile, a dark blue, two-door Lincoln Continental was stolen. NT 11/5/97,

146-51. The car, abandoned and burned, was recovered about two days later. Id. at 137, 157. Six

months later, Havens identified Petitioner as one of his assailants but only after he saw a TV

news report about Petitioner’s arrest. Id. at 184-88. By that time, the police had already informed

Mr. Havens that Petitioner was a suspect in the Campbell homicide. Id. at 193-94.

       Byron Price testified that about 7 p.m. on the evening of November 9, Petitioner picked

him up in a dark blue Lincoln. Petitioner pulled into a gas station and exited the car. A short time

later, Price heard a gunshot. Petitioner returned to the car holding a chrome revolver in his hand,

Price alleged that, while driving away, Petitioner told him that he had shot the man because the

man had drawn a weapon. NT 11/6/97, 8-15. Price denied any involvement in the carjacking of

Havens. Id. at 8, 31.

       Two people who lived near the gas station, Martin and Beth Johnson, saw the shooting

but did not identify a perpetrator. They testified that the shooter left the Exxon station in a dark

Lincoln. Id. at 78, 82, 94. In her statement to police, Beth Johnson described the car as a four-




                                                  6
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 14 of 160




door Lincoln, not a two-door like the one taken from Havens. See 11/12/96 Statement of Beth

Johnson at 3, App. Exh. No. 13.1

       The day after the murder, Petitioner was alleged to have made statements to several

acquaintances taking credit for having shot the man at the gas station. NT 11/6/97, 156, 163, 182.

The Commonwealth also presented evidence that sometime after the shooting, Petitioner gave a

.357 Magnum to Keith Smith, who surrendered the weapon to the police through his attorney.

See NT 11/7/97, 14-16, 20. Although the gun was similar in appearance and of the same type,

ballistics and other forensic testing did not tie the weapon from Smith to the Campbell shooting.

See id. at 41-43.

       Defense counsel called one witness, Officer Brian James, who testified about

discrepancies in Havens’ statements to police – specifically, that in his initial statement on

November 9th Havens did not indicate that the carjacker was wearing a jacket, but in his second

statement to police on December 2nd, Havens described the man who pointed the gun at him as

wearing a long, black leather jacket. NT 11/10/97, 9-16. Counsel did not present any affirmative

evidence in response to the homicide charge. After closing arguments, the jury found Petitioner

guilty on all counts on November 10, 1997.

       At the capital sentencing hearing two days later, the Commonwealth presented victim

impact testimony from the decedent’s widow, Patricia Campbell. NT 11/12/97, 56-59. The

Commonwealth had only put Petitioner on notice of the upcoming victim impact testimony two

days earlier. Defense counsel presented the testimony of two witnesses—Benito Natividad, Sr.,

Petitioner’s father, and Allan Tepper, a psychologist. The jury found two aggravating factors:




1
 Petitioner is filing with this Memorandum of Law an Appendix of Exhibits. Citations to the
Appendix are set forth as: App. Exh. No. ___.

                                                  7
          Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 15 of 160




that the victim was killed during the perpetration of a felony, 42 Pa. C.S. § 9711(d)(6), and that

Mr. Natividad had a significant history of felony convictions involving the use or threat of

violence, 42 Pa. C.S. § 9711(d)(9). The jury found one mitigating circumstance regarding Mr.

Natividad’s character and record and the circumstances of the offense, 42 Pa. C.S. § 9711(e)(8),

and sentenced Petitioner to death. NT 11/12/97, 156.

                                 EXHAUSTION AND DEFAULT

          Mr. Natividad’s claims were fairly presented to the state courts, and thus exhausted on

direct, Natividad-1; and/or in state post-conviction proceedings, Natividad-2 and Natividad-3. To

the extent any claims raised in the Petition were not fairly presented to the state courts, they are

exhausted by the doctrine of futility. Castile v. Peoples, 489 U.S. 346, 351 (1989); Doctor v.

Walters, 96 F.3d 675, 681 (3d Cir. 1996). Any further attempt to exhaust such claims would be

futile, since it would be foreclosed by 42 Pa. C.S. § 9545(b), as the Pennsylvania Supreme Court

has interpreted that provision. Because failure to exhaust is a defense that must be asserted by the

Respondents and can be waived, Petitioner reserves his right to respond to any exhaustion

argument that Respondents may assert.

          None of Petitioner’s claims are procedurally barred from federal merits review. Thus,

federal habeas review is appropriate. Moreover, procedural default—like exhaustion—is a

defense that must be asserted by Respondents and can be waived, and thus Petitioner reserves his

right to respond to any additional default and procedural bar arguments that Respondents may

assert.

                                    STANDARD OF REVIEW

          This Court reviews the state court decisions under the Anti-Terrorism and Effective

Death Penalty Act of 1996 (AEDPA). Even under AEDPA, the writ of habeas corpus “stands as

a safeguard against imprisonment of those held in violation of the law,” and this Court must be

                                                  8
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 16 of 160




“vigilant and independent” in reviewing Petitioner’s petition. Harrington v. Richter, 562 U.S. 86,

91 (2011).

       AEDPA’s § 2254(d) applies where the state court adjudicated the merits of the federal

claim. That requirement is not applied where the state court disposition of a claim fails either: (i)

to address the petitioner’s actual federal claim (as opposed, for example, to a related state law

claim or a different federal claim); or (ii) to address the merits of the federal claim (as opposed to

a decision on procedural or other grounds). Where the state court did not adjudicate a claim on

the merits, habeas review is de novo. See Johnson v. Williams, 568 U.S. 290, 303 (2013) (“When

the evidence leads very clearly to the conclusion that a federal claim was inadvertently

overlooked in state court, § 2254(d) entitles the prisoner to an unencumbered opportunity to

make his case before a federal judge.”); Cone v. Bell, 556 U.S. 449, 472 (2009) (because the

state courts did not reach merits of Brady claim, “federal habeas review is not subject to the

deferential standard that applies under AEDPA to ‘any claim that was adjudicated on the merits

in State court proceedings.’ 28 U.S.C. § 2254(d). Instead, the claim is reviewed de novo.”).

Accord Breakiron v. Horn, 642 F.3d 126, 131 (3d Cir. 2011); Simmons v. Beard, 590 F.3d 223,

231 (3d Cir. 2009); Wilson v. Beard, 589 F.3d 651, 658 (3d Cir. 2009).

       By the same token, if a state court renders a decision on only part of a federal claim (for

example, only on the deficient-performance prong of an ineffective-assistance-of-counsel claim),

only that part of the claim addressed by the state court receives AEDPA review. See Porter v.

McCollum, 558 U.S. 30, 39 (2009) (per curiam) (“Because the state court did not decide whether

Porter’s counsel was deficient, we review this element of Porter’s Strickland claim de novo.”);

Rompilla v. Beard, 545 U.S. 374, 390 (2005) (“Because the state courts found [trial counsel’s]

representation adequate [under Strickland’s first prong], they never reached the issue of



                                                  9
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 17 of 160




prejudice, . . . and so we examine this element of the Strickland claim de novo.”); Wiggins v.

Smith, 539 U.S. 510, 534 (2003) (same).

       For those claims or parts of claims for which there is a state court adjudication on the

merits, the standard of review is governed by § 2254(d). A petitioner satisfies § 2254(d) where

the state court decision is “contrary to” or “an unreasonable application of” clearly established

Supreme Court law, or where the state court decision involves an “unreasonable determination of

the facts.” 28 U.S.C. § 2254(d)(1)-(2); Williams v. Taylor, 529 U.S. 362 (2000).

       If § 2254(d) applies, then AEDPA requires three separate inquires. First, a reviewing

court must determine whether the state court decision was “contrary to” clearly established

federal law; second, if it was not, a court must determine whether the state court adjudication

involved an objectively unreasonable application of clearly established federal law; third, a

reviewing court must assess whether the state-court adjudication was based on unreasonable

determination of the facts. See Blystone v. Horn, 664 F.3d 397, 417 (3d Cir. 2011).

       A state court decision is “contrary to . . . clearly established federal law” if it “applies a

rule that contradicts” established Supreme Court precedent, or if it arrives at a result different

from Supreme Court precedent on “materially indistinguishable” facts. Williams, 529 U.S. at

405-06. Relief should be granted under the “unreasonable application” clause “if the state court

identifies the correct governing legal principle from this Court’s decisions but unreasonably

applies that principle to the facts of the prisoner’s case.” Id. at 413 (opinion of O’Connor, J.).

Accord Rompilla, 545 U.S. at 380 (same); Wiggins, 539 U.S. at 519-20 (same).

       To assess the reasonableness of a state court’s determination of the facts, a federal court

must determine whether the state court factual findings are supported by sufficient evidence.




                                                  10
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 18 of 160




Miller-El v. Cockrell, 537 U.S. 322, 340-41 (2003). Habeas review is not a mere rubber stamp of

the state court’s decision. As the Supreme Court has held:

        Even in the context of federal habeas, deference does not imply abandonment or
        abdication of judicial review. Deference does not by definition preclude relief. A
        federal court can disagree with a state court’s credibility determination and, when
        guided by AEDPA, conclude the decision was unreasonable or that the factual
        premise was incorrect by clear and convincing evidence.

Id. at 340. Where the habeas court finds the state court’s application of federal law objectively

unreasonable, the habeas court has a duty to correct the error and grant relief. See, e.g., Grant v.

Lockett, 709 F.3d 224, 232, 238 (3d Cir. 2013) (holding that although “[f]ederal habeas review of

ineffective assistance of counsel claims is . . . ‘doubly deferential,’” the state court’s rejection of

Grant’s ineffectiveness claim “involved an unreasonable application of” Strickland under

2254(d)(1) (quoting Cullen v. Pinholster, 131 S. Ct. 1388, 1403 (2011))); Breakiron, 642 F.3d at

145 (applying “double deference” both to the reasonable strategic decisions of counsel as well as

to the reasonableness of the state court decision and holding that the Pennsylvania Supreme

Court’s conclusion that trial counsel was not deficient under Strickland was objectively

unreasonable); Showers v. Beard, 635 F.3d 625, 634 (3d Cir. 2011) (holding that defense counsel

had provided ineffective assistance when he failed to present expert testimony to rebut the

prosecution’s theory, that petitioner was prejudiced as a result of counsel’s failure, and that the

state court decision rejecting petitioner’s claim “is contrary to and an unreasonable application of

clearly established federal law”).

        Dennis v. Secretary, Pennsylvania Department of Corrections provides additional

guidance on the application of §2254(d). 834 F.3d 263 (3d Cir. 2017) (en banc). In Dennis, the

Court affirmed the grant of habeas relief after concluding that the state court’s opinion was either

contrary to, or an unreasonable application of, clearly established federal law, in multiple

respects, and that it relied on unreasonable determinations of fact. Id. Addressing §2254(d)(2),

                                                  11
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 19 of 160




the Third Circuit explained, “a state court decision is based on an ‘unreasonable determination of

the facts’ if the state court’s factual findings are ‘objectively unreasonable in light of the

evidence presented in the state-court proceeding,’ which requires review of whether there was

sufficient evidence to support the state court’s factual findings.” Id. at 281. Quoting Miller-El,

537 U.S. at 340, the Third Circuit recognized that habeas review is not meant to be a mere rubber

stamp of the state court ruling, and that even state court credibility decisions will, in some

instances, be found unreasonable. Id.

        While the deference due to a state court adjudication is significant, it “does not imply

abandonment or abdication of federal review.” McKennon v. Superintendent, Smithfield SCI, 849

F.3d 557, 564 (3d Cir. 2017) (quoting Brumfield v. Cain, 135 S. Ct. 2269, 2277 (2015)). Neither

AEDPA nor the decisions of the Supreme Court have vitiated habeas review or diminished this

Court’s obligation to review the claims of constitutional error with painstaking care and, where

error is found, to correct it.

                                  SUPPLEMENTED CLAIM V2

V.      PETITIONER WAS DENIED A FAIR TRIAL BECAUSE THE
        COMMONWEALTH VIOLATED THE DUE PROCESS CLAUSE WHEN IT DID
        NOT DISCLOSE EXCULPATORY INFORMATION MATERIAL TO
        PETITIONER’S ABILITY TO PRESENT A DEFENSE AT TRIAL.

        As set forth in the Petition and the First and Second Supplements thereto, the

Commonwealth violated its obligations under Brady v. Maryland, 373 U.S. 83 (1963), when it

suppressed exculpatory evidence at trial and continued to suppress this evidence for almost two



2
  Based on new facts and case law developed since the Petition was first filed, and on related
state court proceedings, Petitioner filed supplements to Claim V, relating to violations of Brady
v. Maryland. In this Memorandum, Petitioner will address the supplemented claims first,
followed by the claims raised in the initial habeas in the order in which they were raised. A
second supplemented claim, challenging the constitutionality of an aggravating circumstance
based upon Johnson and Welch is addressed after the other habeas claims.

                                                  12
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 20 of 160




decades, through post-conviction and federal habeas proceedings. The Commonwealth withheld

signed statements stating that another individual confessed to the crime for which Petitioner was

convicted. The Commonwealth also withheld a note about an eyewitness who saw the shooting,

knew Petitioner and would have testified that Petitioner was not one of the people involved.

Individually, or in combination, these violations would have provided Petitioner with a

persuasive defense that he was not the shooter, countered the Commonwealth’s case, and

undermined the reliability of the Commonwealth’s entire investigation and prosecution.

       A.      The Discovery of Suppressed Evidence

       After the parties completed an informal discovery process, Petitioner filed a Motion for

Discovery and Consolidated Memorandum of Law on September 28, 2010 (ECF No. 24). On

August 19, 2011, this Court granted the motion in part, ordering the Commonwealth to produce,

among other evidence, all police statements and interview notes of potential witnesses at the gas

station or adjacent laundromat on the night of the murder” (ECF No. 38).3

       Among the pages the Commonwealth produced was a note that included the names of a

number of individuals and their contact information, including the name of a previously

unidentified eyewitness—“John ‘Maculla.’” As explained below, further investigation revealed

that John “Maculla” was John McCullough. McCullough provided a declaration and testified in


3
  This Court also ordered the Commonwealth to produce: 1) all statements taken from Byron
Price; 2) all records of identification procedures used by the Philadelphia Police Department
during their investigation; 3) the terms of any deals or plea bargains entered into by Price in
connection with this case; 4) any statements or notes from police interviews of potential
witnesses questioned with regard to Petitioner’s alleged admission to murder in front of Eugene
Wilson and others; and 5) all evidence related to the search and seizure of a second dark-colored
Lincoln automobile owned by Dorzaser Taylor. ECF No. 38. In addition to statements and notes
from witnesses at the gas station/laundromat, the Commonwealth also produced documents in
response to items #1, #2 and #4. With respect to items #3 and #5, the Commonwealth asserted in
the cover letter to its production that “there were no . . . deals or plea bargains” with Price and
“that no . . . ‘evidence’ . . . was uncovered” regarding the dark-colored Lincoln owned by Taylor.
See ECF No. 46-2, Exh. 1 (March 6, 2012 Letter from ADA David Glebe).

                                                13
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 21 of 160




post-conviction that he saw that shooting, knew Petitioner and Petitioner was not one of the

people involved.

       Further, the court-ordered review of the investigative files of the Philadelphia Police

Department and the Philadelphia District Attorney’s Office revealed additional exculpatory

evidence (ECF No. 73), including the statements from two witnesses who told police that another

person confessed to the crime for which Petitioner has been convicted and sentenced to death.

Police reports, also disclosed during federal proceedings, confirmed that Rob (full name: Rolston

Ricardo Robinson) was a neighborhood drug dealer who may have clashed with Campbell.

While these statements are exculpatory in and of themselves, they also are consistent with

McCullough’s signed declaration that Petitioner was not the man who shot Campbell.

       None of this evidence was produced at trial or during state court litigation. In fact, in this

Court, the Commonwealth opposed Petitioner’s request to review the homicide investigation

files and repeatedly represented to Petitioner and this Court that, after searching all available

files, “no document or information was located that should have been previously turned over to

the defense under Brady.” See ECF No. 74 at ¶¶12-16. In light of the Commonwealth’s repeated

misrepresentations, Petitioner asked this Court to excuse further exhaustion of the Brady claims,

id. at ¶22, but his request was denied.

       B.      The Withheld Evidence

               1.      Someone else confessed to murdering Robert Campbell

       The Commonwealth suppressed statements that Rolston Ricardo Robinson confessed to

murdering Robert Campbell. In a signed statement to police, Joseph Rutherford stated that he

frequented 929 Wynnewood Road, Philadelphia, PA where he met “Rob,” a local crack dealer.

When Rutherford refused to pay Rob what he wanted for drugs, Rob “told [Rutherford] that he



                                                 14
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 22 of 160




would do [him] like he did Bob down at the gas station.” See 11/14/96 Statement of Joseph

Rutherford, App. Exh. No. 1. Rutherford told the police he had seen Rob in a black Lincoln. Id.

       Cynthia Smith, who lived at 929 Wynnewood Road with her boyfriend, also provided a

signed statement to police that Rob confessed to her that he shot the victim.

       Q.      Did Rob ever say that he was involved in Campbell’s death?

       A.      Yeah – he had been watching the news over & over again. He started to
               get real casual about the whole thing. Kenny was teasing him – So finally
               I said “Are you the one they’re looking for – are you the one that shot
               him?” & he said “Yeah – I did it.” He kept on talking about the guy being
               a snitch. When he said that he did it – everything just stopped. I got real
               nervous. I really didn’t want to talk about it anymore.

See 11/14/96 Statement of Cynthia Smith, App. Exh. No. 2.

       The Town Watch group, of which Campbell was a member, had targeted 929

Wynnewood for surveillance because the group suspected that drug activity was taking place at

that address, as well as at other locations in neighborhood. In his signed statement to police,

Patrick Hoban described a confrontation between the Town Watch group and individuals from

6608 Lansdowne Avenue. See 11/12/96 Statement of Patrick Hoban, App. Exh. No. 3.

Rutherford also told police that there was a confrontation outside of the Lansdowne address and

that Rob was present. See App. Exh. No. 1.

       The police brought Rob, later identified as Rolston Ricardo Robinson, in for questioning.

In a signed statement, Rob admitted that he was at the scene of the Campbell homicide after the

shooting and saw the decedent’s body. He claimed that as he drove down 63rd Street he “saw a

police car and a police van and a man lying on the ground” and describes the man as a “white

male, laying on [the] ground on his back, and blood near his shoulders, he had a jacket and a gun

in a holster on his waist.” See 11/14/96 Statement of Rolston Robinson, App. Exh. No. 4. Rob

added that he “heard a female voice say[] that they left in a Black Lincoln.” Id.


                                                 15
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 23 of 160




       Previously unproduced activity sheets and statements further confirm that the police

considered Rob to a suspect in the Campbell shooting. For example, Police Officer Shane

Darden memorialized his conversations with Michael Cupaiuolo and Tracie Durham, both of

whom placed Rob at the scene before and at the time of the homicide.

       . . . I was stopped on the highway by a white male who identified himself as Joe
       Rut[h]erford 26 who informed me that he was told by Homicide Division that if
       [he] had any information about the Homicide of Bill Campbell on 11-9-96. At this
       time Rut[h]erford directed me to 929 Wynnewood Rd. At that location were Mike
       Cupaiuolo . . . and Trac[ie] Durham. . . . I knew both of these people from prior
       contacts. They told me that [they] had information about who killed Bill
       Campbell. Michael Cupai[u]olo who owns [the address] and was in [the] living
       room with “Rob” who’s [sic] rea[l] name is Rolston Robinson. Rob was tell[ing]
       him that people in that He (Rob) was there when Campbell was shot at 63rd and
       Vine St.

       Michael also said that “Rob” . . . had seen a gun and handcuffs in the belt of the
       dead man. Trac[ie] Durha[m] said to me that the night of the shooting she was on
       a pay phone [and] about 10 mins prior to [the] shooting she [had] seen “Rob”
       Rolston drive by the gas station twice in a gray sedan.

See 11/14/96 Statement of P/O Shane Darden, App. Exh. No. 5; see also 11/14/16 Statement of

Tracie Durham, App. Exh. No. 6.

       Richard Anderson also told the police that the person who killed Campbell lived at 929

Wynnewood Road. Anderson added that the shooter was connected to a group “call[ing]

themselves the Junior Black Mafia” and had taken over the address. See 11/12/96 Statement of

Richard Anderson, App. Exh. No. 7. An undisclosed statement from Tish Ann Ambrosine

supports Anderson’s allegations. Ambrosine told police that friend of hers told her that his

relative was present at 929 Wynnewood Road and heard people there bragging about killing

Campbell. See 11/12/96 Statement of Tish Ann Ambrosine, App. Exh. No. 8. Ambrosine’s friend

likewise reported that the house had been taken over by members of the JBM. Id.

       A previously unproduced Activity Sheet shows that police considered Rob a suspect and

conducted surveillance of 929 Wynnewood Road.

                                                16
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 24 of 160




               The assigned was contacted by a retired Detective who related that he had
       been contacted by an old informant who related that persons in 929 Wynnewood
       Rd., may have information as to the identity of the perpetrator and that he may be
       named ROB and was a Jamaican male. Det. DiBlasi & the assigned set up a
       surveillance of this location and noted that a B/M left the location and drove away
       in a 1988 Acura painted gray. The license tag was checked thru [D]MV and it was
       registered to a RUPERT ROBINSON at 132 N. 60th St. This male fit the general
       description of the male called ROB. It was also noted that adults aged 20 to 40
       both white and black were coming and going from this location. The Detectives
       stopped one of these persons and learned that ROB does operate a gray Acura and
       several persons in the location were upset with him over drug matters.

See 11/13/96 Activity Sheet, App. Exh. No. 9.

       None of this evidence was disclosed to the defense at trial or during state court

proceedings. It was not until this Court ordered the Commonwealth to comply with Petitioner’s

discovery requests in federal habeas proceedings that this evidence was disclosed.

               2.     An eyewitness identified someone other than Petitioner as the shooter

       Pre-trial, the Commonwealth assured Petitioner it was providing the defense with the

names and addresses of all eyewitnesses to the Campbell shooting. Letter from Charles

Gallagher, Deputy Dist. Atty. to Donald Padova, Esq., dated April 17, 1997, App. Exh. No. 27

(“we are voluntarily turning over this discovery to you which includes the names and address of

all eyewitnesses”). However, it failed to disclose a note identifying John “Maculla” as someone

who “was on the lot and saw the incident.” See App. Exh. No. 29. The handwritten note included

the following information:

       5635 Belmar Doers Left in SW and Got Tag #
       727-8853      John ‘Maculla’ B/M 40’s Stocky, Reddish Hair
       Told Manager on Sunday            5’11” Lt Comp
       That he was on lot + Saw incident

See id. Further investigation revealed that John “Maculla” was John McCullough, who provided

a statement to Petitioner in post-conviction. See Declaration of John McCullough, App. Exh. No.

33.


                                                17
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 25 of 160




       At the post-conviction hearing, McCullough testified that he saw the shooting at the gas

station. As he and his son, John McCullough III, were walking, he heard a gunshot, perhaps two.

NT 4/28/16, 17-19. He saw three people—one tall man and two other men with dark

complexions. The two men with dark complexions jumped into a black car and sped off. Id. at

20-22, 85; see McCullough Dec. at ¶2 (“One guy was tall and light skinned. He was the

victim.”), App. Exh. No. 33. McCullough knew Ricardo Natividad from work he did in the

community, and Mr. Natividad was not there. Id. at 16-17, 22-23; id. at 86 (“I did not see him at

the gas station and I did not see him running away from the gas station.”).

       After the police came to the scene, they took McCullough and several other people on the

street West Detective Division at 55th and Pine Streets. Id. at 26-27. McCullough was with a

woman he knew as “Bev,” and a couple from across the street (likely the Johnsons based on his

description). Id. at 27.4 After the witnesses spoke with detectives at 55th and Pine, they went to

the Police Administration Building at 8th and Race Streets. There, McCullough signed a

statement and received a copy. Id. at 28-29, 32.

       John McCullough III testified for the Commonwealth and claimed that he was not near

63rd and Vine on November 9, 1996, and did not witness a murder. NT 5/20/16, 4. After being

arrested for stealing copper from an abandoned house, McCullough III gave a statement to

Detective James Dougherty. Id. at 7, 9. He was then held on a parole violation for absconding

and testing positive for drugs. Id. at 32-33, 39. After his April 2014 arrest, McCullough III wrote



4
  McCullough also testified that Bev had no front teeth. NT 4/28/16, 150. His testimony is
consistent with a November 12, 1996 activity sheet, which reports McCullough told the police
that “[a]dditional information about the incident at the Exon [sic] station was given to him by a
female involved with drugs who he knew to associate with another female known to him as
COOKIE. He described the first female as having no upper teeth and who could be found on
63rd St., from Market to Lansdowne.” See Activity Sheet dated 11/12/96, App. Exh. No. 42; see
also NT 5/20/16, 55-56.

                                                   18
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 26 of 160




his father from prison and told his father that detectives “showed me paperwork from the District

Attorney stating that it could be possible for you to be prosecuted if you continue to disrupt the

case.” He continued:

       My advice to you is to let Detective Doughery [sic] know you were persuaded by
       the people who are backing Ricardo Nativida[d] to say these things. If you back
       out of it now and let him know the truth, you’ll be out of this situation for good.
       They kept me at 8th & Race for two days questioning me about a murder I don’t
       know about.

See App. Exh. No. 10. He then asked his father to send him $100 under the name “Lorenz

Taylor.” While McCullough III denied that the detectives wanted him to contact his father, NT

5/20/16, 31, Det. Dougherty admitted that the detectives asked McCullough III to talk with his

father about the shooting. NT 7/7/16, 5, 7.

       Det. Dougherty also testified for the Commonwealth and claimed that no one was

transported to West Detectives to be interviewed about the homicide. NT 5/20/16, 40. Det.

Dougherty also claimed that McCullough told him he was not a witness to the shooting around

the time of the homicide, id. at 56, although Det. Dougherty admitted he made no record of this

statement. NT 7/7/16, 9-11. Before the post-conviction hearing, Det. Dougherty spoke to

McCullough at his home. NT 4/28/16, 120. Det. Dougherty prepared an eight page set of notes

which he claimed was a substantially verbatim record of a conversation he had with

McCullough. NT 5/20/16, 52. McCullough, however, testified that Det. Dougherty did not write

anything down when they spoke and did not endorse the detective’s notes. NT 4/28/16, 87, 122,

124-25.

       C.      Legal Standards

       Due process imposes an “inescapable” duty on the prosecutor “to disclose known,

favorable evidence rising to a level of material importance.” Kyles v. Whitley, 514 U.S. 419, 438

(1995); accord Banks v. Dretke, 540 U.S. 668, 690 (2004); United States v. Bagley, 473 U.S.

                                                19
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 27 of 160




667, 676 (1985); Giglio v. United States, 405 U.S. 150, 153-56 (1972). To establish a Brady

violation, a defendant must show that favorable evidence was suppressed by the government,

either intentionally or inadvertently, and that the suppressed evidence was material. Brady, 373

U.S. at 87; Simmons v. Beard, 590 F.3d 223, 233 (3d Cir. 2009). The duty to enforce Brady

“with painstaking care is never more exacting than it is in a capital case.” Kyles, 514 U.S. 422.

       In addition to exculpatory evidence, favorable evidence includes impeachment evidence.

Bagley, 473 U.S. at 676 (Brady’s disclosure requirements apply to any materials that, whatever

their other characteristics, can be used to develop impeachment of a prosecution witness); Giglio

v. United States, 405 U.S. 150, 153-56 (1972); see also Breakiron v. Horn, 642 F.3d 126, 133 n.8

(3d Cir. 2001) (it is “so well-established” as to be “axiomatic that prosecutors must disclose

impeachment evidence”).

       A prosecutor’s failure to disclose Brady evidence requires a new trial where “’there is a

reasonable probability that, had the evidence been disclosed to the defense, the result of the

proceeding would have been different.’” Simmons, 590 F.3d at 233 (quoting Bagley, 473 U.S. at

682); see also Kyles, 514 U.S. at 434; Wearry v. Cain, 136 S. Ct. 1002, 1006 (2015) (per

curiam). In assessing materiality, “the reviewing court may consider directly any adverse effect .

. . on the preparation or presentation of the defendant’s case.” Bagley, 473 U.S. at 683.

Ultimately, the question is “not whether the defendant would more likely than not have received

a different verdict with the [suppressed] evidence, but whether in its absence he received a fair

trial, understood as a trial resulting in a verdict worthy of confidence.” Kyles, 514 U.S. at 434.

Thus, Brady may be violated even when “the undisclosed information may not have affected the

jury’s verdict.” Wearry, 136 S. Ct. at 1006 n.6.




                                                   20
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 28 of 160




       Petitioner need not demonstrate that “in light of the undisclosed evidence, there would

not have been enough left to convict . . . [because] sufficiency of [the remaining] evidence [is

not] the touchstone” of materiality. Kyles, 434-35 & n.8. This standard is met where, for

example, evidence “would have undercut the credibility of a key prosecution witness in a manner

not duplicated by other challenges the defense was able to level at trial.” Dennis v. Sec’y, Pa.

Dep’t of Corr., 834 F.3d 263, 298 (3d Cir. 2016); accord Wearry, 136 S. Ct. at 1006-07. The

materiality of suppressed evidence must be “considered collectively, not item by item.” Kyles,

514 U.S. at 436.

       D.      The Commonwealth Violated Petitioner’s Due Process Rights

               1.      The Commonwealth suppressed evidence

       Petitioner alleged, and the Pennsylvania Supreme Court found, that the Commonwealth

suppressed evidence until the federal discovery process despite the Commonwealth’s duty to

disclose and despite repeated inquiries from the defense.

       In successor post-conviction proceedings, the Pennsylvania Supreme Court found that

“[t]here is no dispute the Commonwealth failed to disclose these materials to the defense prior to

trial,” and “the trove of statements and investigatory paperwork revealed during the federal

discovery process were suppressed by the government.” Natividad-3 at 32.5

               2.      The suppressed evidence was favorable to the defense

       The suppressed evidence was exculpatory. As the Pennsylvania Supreme Court found,

the Robinson materials “were plainly exculpatory on their face, as they identified an alternate

suspect who allegedly claimed responsibility for the murder.” Natividad-3 at 32. “[E]vidence


5
  While this specific finding refers to the Robinson materials, the analysis is equally applicable to
the McCullough evidence. As further explained in Section E.2, infra, the Pennsylvania Supreme
Court did not dispute that McCullough’s identity was not disclosed until federal discovery
proceedings but rather determined that Petitioner’s claim was not timely.

                                                 21
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 29 of 160




pertaining to other legitimate suspects . . . [is] unquestionably . . . favorable to the accused[.]”

Bies v. Sheldon, 775 F.3d 386, 398 (6th Cir. 2014).

        The withheld statements and investigatory paperwork establish that the limited police

investigation of Robinson showed that he had motive and opportunity to kill Campbell. Robinson

sold drugs in the neighborhood where Campbell worked with Town Watch, and Robinson knew

Campbell and described him as a “snitch.” The police reports corroborate the suspicions of

Robinson’s drug activity, show that Robinson possessed guns and would threaten people with

them, and link Robinson to a black Lincoln—the same type of vehicle described by witnesses at

the gas station.

        Such evidence falls under the purview of Brady because it “would tend to” exculpate the

defendant, Brady, 373 U.S. at 88, and would have “some value as exculpation,” Kyles, 514 U.S.

at 450; see also Dennis, 834 F.3d at 302 (Brady violation where prosecution did not disclose that

evidence that “counsel could have . . . to mount an ‘other suspect’ defense at trial”); United

States v. Jernigan, 492 F.3d 1050, 1054-55 (9th Cir. 2007) (Brady violation where government

failed to disclose to defense evidence that another person was charged with committing similar

crimes); Jamison v. Collins, 291 F.3d 380, 390-91 (6th Cir. 2002) (finding that evidence

indicating that police had other suspects was Brady evidence, particularly when facts about other

suspects coincided with facts known about the crime).

        Similarly, evidence of additional eyewitnesses, like McCullough, was favorable

evidence, bearing on the adequacy and credibility of the police investigation into the homicide.

Moreover, disclosure of the note would have led competent counsel to investigate and learn that

McCullough told the police that Petitioner was not the shooter, which, as the Pennsylvania

Supreme Court recognized, “certainly was evidence favorable to [Petitioner].” Natividad-3 at 29;



                                                  22
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 30 of 160




see also Bagley, 473 U.S. at 683 (Brady requires a court to consider the impact of non-disclosure

on “the course that the defense” could have pursued if the material had been disclosed); Kyles,

514 U.S. at 441 (consider what “competent counsel” would have done with the suppressed

evidence); Wilson v. Beard, 589 F.3d 651, 664-65 (3d Cir. 2009) (same).

        Evidence that McCullough told the police that Petitioner was not the shooter also would

have contradicted Price’s testimony as the only eyewitness to identify Petitioner as the person

who shot Campbell. Such evidence is favorable to the defense because “the defense might have

used [it] to impeach the Government’s witnesses,” and it “might have been helpful in conducting

the cross-examination.” Bagley, 473 U.S. at 676, 678; see also Cone v. Bell, 556 U.S. 449, 471

n.17 (2009) (Brady is implicated where suppressed evidence places a witness’ testimony “in a

different light”).

                3.     The suppressed evidence was material

        The suppressed evidence was material to the pre-trial proceedings, trial, sentencing and

appeal. Courts routinely find that suppressed evidence is material when it indicates that another

suspect may have been responsible for the crime; when it would have strengthened counsel’s

chosen defense and supported an alternative defense; or when it would have undermined the

credibility and reliability of the police investigation. Dennis, 834 F.3d at 311 (police reports

documenting another person’s confession to the crime were material); id. at 299-300 (evidence

that would have allowed the defense to contradict a key prosecution witness was material). Here,

as in Dennis, all of these circumstances are present.

        The suppressed evidence shows that Rob confessed to the killing to at least two other

people, and those people promptly reported the confessions to the police and others. As the

Supreme Court has noted, “[a] confession is like no other evidence.” Arizona v. Fulminante, 499

U.S. 279, 296 (1991). Here, in addition to Rob’s confession, the Commonwealth suppressed

                                                 23
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 31 of 160




evidence that Rob had motive to kill Campbell, had access to guns and the same type of vehicle

described by witnesses at the gas station, and admitted to being at the scene of the crime. This

evidence would have been more than sufficient to charge and convict Rob of Campbell’s murder,

and thus was material. See Dennis, 834 F.3d at 311 (suppression of evidence material where

counsel “could have presented an ‘other person’ defense at trial”); Smith v. Sec’y of N.M. Dep’t

of Corr., 50 F.3d 801, 829-30 (10th Cir. 1995) (police report was material for Brady purposes

where it indicated that alternate suspect in double homicide investigation was “near the vicinity

of the bodies on two separate occasions” and bloody clothes were found in his trunk during a

traffic stop).

        “While the State is not necessarily required to disclose every stray lead and anonymous

tip, it must disclose the existence of ‘legitimate suspect[s]’, especially when such information

has been specifically requested by the defendant, as it was in this case.” Bies, 775 F.3d at 400

(citations omitted). “Withholding knowledge of a second suspect conflicts with the Supreme

Court’s directive that ‘the criminal trial, as distinct from the prosecutor’s private deliberations,

[be preserved] as the chosen forum for ascertaining the truth about criminal accusations.’”

United States v. Jernigan, 492 F.3d 1050, 1056-57 (9th Cir. 2007) (en banc) (quoting Kyles, 514

U.S. at 440). To the extent that there were questions about the reliability of Rob’s confession, “it

was the prerogative of the defendant and his counsel—and not of the prosecution—to exercise

judgment in determining whether the defendant should make use of it.” DiSimone v. Phillips,

461 F.3d 181, 195 (2d Cir. 2006). Instead, the prosecution in this case usurped the role of

defense counsel and anointed itself the “architect” of the defense strategy in violation of

Petitioner’s due process rights. See Brady, 373 U.S. at 87-88. Had the prosecution disclosed the




                                                  24
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 32 of 160




withheld evidence, counsel could have presented a coherent “other suspect” strategy rather than a

confusing and at times contradictory defense.

       In opening statements, defense counsel simultaneously alleged that the evidence would

show that the murder was “no higher than murder of the second degree,” NT 11/5/97, 143, and

that there was reasonable doubt that Petitioner was involved in the carjacking and murder. Id. at

144. In support of this argument, defense counsel called one witness—Officer Brian James—

who testified about Havens’ statements to police. Officer James testified that in his initial

statement on November 9th Havens did not indicate that the carjacker was wearing a jacket,

though there was space provided to give such a description. In a subsequent statement on

December 2nd, Havens described the man who pointed a gun at him as wearing a long, black

leather jacket. Officer James’ testimony spanned eight (8) pages of transcript. NT 11/10/97, 9-

16. Counsel offered no affirmative evidence in support of any defense to the Campbell robbery

and murder.

       In closing arguments, defense counsel argued that the Commonwealth had failed to prove

that Petitioner committed either the carjacking or the murder, characterizing the

Commonwealth’s case as “neighborhood gossip that’s dressed up as evidence[.]” Id. at 34; see

id. at 39-42. Counsel also argued Price’s testimony was inconsistent with the evidence and

implied that Price had inculpated Petitioner in order to minimize his own involvement in the

murder. Id. at 35-38. While counsel requested and received a jury instruction on self-defense

based on Price’s testimony, NT 11/7/97, 175, counsel only briefly mentioned this theory to the

jury. NT 11/10/97, 25-26. In comparison, the prosecutor spent several pages reminding the jury

of the weaknesses of this defense, including that Campbell’s holster was snapped shut and that

there was no bullet in the chamber of his gun. Id. at 43-47, 49-51, 53-54.



                                                 25
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 33 of 160




       Trial counsel was never able to mount an “another suspect” defense because the

prosecution withheld evidence of that other suspect’s confession. This impact on the defense

strategy renders the Robinson confession (and corroborative evidence) material.

       The McCullough evidence was likewise material. First, the suppressed evidence was

material because it suggested that someone other than Petitioner shot Robert Campbell. Evidence

that McCullough saw the shooting and did not identify Petitioner would have contradicted the

testimony of one of the Commonwealth’s most important witnesses—Byron Price—and thus

was material. See Wearry, 136 S. Ct. at 1006-07 (suppressed impeachment evidence was

material where it would have undermined the testimony of key prosecution witness); Kyles, 514

U.S. at 441 (ruling that suppressed impeachment evidence was material where “the essence of

the State’s case was the testimony of eyewitnesses”) (quotation omitted); Simmons, 590 F.3d at

234 (suppressed evidence material because it “calls into question” the credibility of witnesses

who were “at the heart of the Commonwealth’s case”). Indeed, “the effective impeachment of

one eyewitness can call for a new trial even though the attack does not extend directly to others,

as we have said before.” Kyles, 514 U.S. at 445 (citation omitted).

       Further, evidence that Campbell was shot by two men with dark complexions also would

have corroborated Havens’ initial description of his assailants and would have supported the

defense argument that Havens’ identification of Petitioner was unreliable. See Claim VI, infra. In

Washington v. Beard, the prosecution withheld contemporaneous descriptions of the robbery

suspects while disclosing others that supported its theory of the case. The identity of the shooter

was a contested issue, and the withheld evidence was relevant to establishing identity.

Washington v. Beard, No. 07-3462, 2015 WL 234719, at *22-23 (E.D. Pa. Jan. 16, 2015). While

the prosecution argued that the withheld evidence was cumulative to evidence provided to the



                                                26
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 34 of 160




defendant prior to trial, the court found that “the differences between the disclosed evidence and

the non-disclosed descriptions are what make the non-disclosed evidence material.” Id. at *24.

Here, as in Washington, the Commonwealth presented witnesses who inculpated Petitioner while

concealing the existence of a witness who would have contradicted this testimony. “Under these

circumstances, counsel could have ‘effectively attacked the Commonwealth’s case’ if the

documents had been disclosed prior to trial.” Id. at *25.

       The prosecution’s suppression of a credible alternate suspect—along with McCullough’s

affirmative non-identification of Petitioner—prevented counsel from mounting a credible

defense to the Commonwealth’s case. Alone, and in combination with the McCullough evidence,

the suppressed evidence of Rob’s confession would have allowed competent counsel to argue

that Rob was the real killer. “Without the evidence suppressed by the prosecutor, however, the

defense could not credibly proffer such a theory. Had this information been available to the

defense before trial, it could have much more effectively attacked the Commonwealth’s case on

not just one, but two critical fronts.” Simmons, 590 F.3d at 238.

       Counsel also would have been able to challenge the adequacy of the police investigation,

as there is no evidence that the police conducted any follow-up investigation other than to accept

Rob’s denial of involvement at face value. See Dennis, 834 F.3d at 302, 311 (counsel “could

have used the information to challenge the adequacy of the police investigation” and “to

challenge detectives at trial regarding their paltry investigation of th[e] [alternate suspect] lead”);

Bies, 775 F.3d at 400 (finding it significant that the police did not exonerate an alternate suspect;

“rather, they eliminated [him] . . . because they simply believed him when he denied any

involvement in the crime”).




                                                  27
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 35 of 160




        Because trial counsel could have used the withheld material to effectuate the defense,

Brady materiality is established. See Bagley, 473 U.S. at 683 (Brady’s materiality inquiry

considers “any adverse effect that the [suppression] might have had on the preparation or

presentation of the defendant’s case” and “the course that the defense and the trial team would

have taken had the defense not been misled by the prosecut[ion”); Kyles, 514 U.S. at 441

(materiality established because disclosure of suppressed evidence “would have resulted in . . . a

markedly stronger [case] for the defense); id. at 449 n.19 (withheld statements of non-testifying

witness that could have been used on cross-examination of prosecution witnesses “would have

made the defense’s case more plausible and reduced its vulnerability to credibility attack”).

        For almost two decades, the Commonwealth failed to disclose—indeed, denied the very

existence of—evidence of an eyewitness who saw the shooting, knew Petitioner, and testified in

post-conviction that Petitioner was not involved. The Commonwealth also withheld evidence

that another individual had confessed to committing the crime for which Petitioner was

convicted and sentenced to death. Even assuming that either of these errors does not establish

materiality, their cumulative effect undoubtedly does. See Kyles, 514 U.S. at 441 (cumulative

prejudice from state’s failure to reveal multiple pieces of exculpatory evidence undermined

fairness of trial and entitled to defendant to relief); Simmons, 590 F.3d at 234. Petitioner is

entitled to a new trial.

        E.      The State Court Opinion

                1.         The Robinson evidence was material

        The Pennsylvania Supreme Court reviewed the merits of Petitioner’s claim that his due

process rights were violated by the Commonwealth’s suppression of Robinson’s confession. The

court held that Brady’s first two requirements were satisfied because “the Commonwealth failed

to disclose the [Robinson] materials to the defense prior to trial, and some of them were plainly

                                                 28
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 36 of 160




exculpatory on their face, as they identified an alternate suspect who allegedly claimed

responsibility for the murder.” Natividad-3 at 32. Over the vigorous dissent of Justices Donohue

and Wecht, the majority determined that, though it was a “close call,” the suppression of this

evidence was not material because “the Commonwealth’s evidence against [Petitioner] was so

overwhelming there is no reasonable probability that if the Commonwealth had turned over the

relevant evidence the result of the trial would have been different.” Id. at 32-33.6 The court’s

ruling was contrary to and an unreasonable application of clearly established federal law and an

unreasonable determination of the facts.

       Although the Pennsylvania Supreme Court recited the correct materiality standard, the

court tied its analysis of the materiality of the Robinson evidence to a requirement that Petitioner

show that the remaining evidence was not sufficient to support a conviction. E.g., Natividad-3 at

36 (noting that “the withheld material in no way calls into question any of the evidence proving

[Petitioner] . . . carjacked Havens”); id. (stating that “also unaffected by the withheld material[]

was Price’s eyewitness testimony that [Petitioner] killed Campbell”).

       This analysis was contrary to and unreasonably applied longstanding Supreme Court law

that squarely rejects sufficiency of the evidence as the proper standard for evaluating Brady

claims. See Kyles, 514 U.S. at 434-35 & n.8 (“A defendant need not demonstrate that after

discounting the inculpatory evidence in light of the undisclosed evidence, there would not have

been enough left to convict. . . . This rule is clear, and none of the Brady cases has ever

suggested that sufficiency of evidence (or insufficiency) is the touchstone.”); see also Dennis,



6
 In contrast, Justice Wecht, writing in dissent, would have granted Petitioner a new trial under
Brady based on the Commonwealth’s failure to disclose the Robinson evidence at trial, stating:
“[M]y evaluation of both the record and the principles under which Brady and its progeny are
based leads me to conclude that this undisclosed evidence was material to Natividad’s case.”
Natividad-3 at 42.

                                                 29
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 37 of 160




834 F.3d at 298, 303 (“Although the court articulated the proper standard for materiality, . . . it

applied Kyles in a manner inconsistent with Supreme Court precedent” by failing to weigh the

impeachment value of suppressed evidence and “by using sufficiency of the evidence as a

touchstone”); Breakiron, 642 F.3d at 140 (“The Pennsylvania Supreme Court’s partial reliance

on the sufficiency of the evidence . . . is both contrary to and an unreasonable application of

Strickland.”).

       Further, the Pennsylvania Supreme Court unreasonably ignored the effect of the

Commonwealth’s withholding of exculpatory evidence on Petitioner’s defense. While the court

characterizes trial counsel’s chosen defense as one of “self-defense,” this is not entirely accurate.

Natividad-3 at 36. As described above, counsel asked for, and received, a self-defense

instruction, but counsel presented no evidence in support of that theory. Rather, the instruction

was based solely on the testimony of Price, whose testimony counsel vigorously challenged in all

other respects. Moreover, evidence that Campbell’s holster was snapped shut also contradicted

Price’s testimony. NT 11/5/97, 206-07.

       Trial counsel focused his cross-examination and closing argument on creating reasonable

doubt that Petitioner was one of the people who carjacked Havens and killed Campbell. For

example, counsel cross-examined Havens and presented testimony from a police officer

regarding omissions in Havens’ description of his assailant in his statements to the police. See

NT 11/5/97, 180-83 (Havens); NT 11/10/97, 8-16 (Officer James). Similarly, counsel cross-

examined Price on discrepancies between his testimony and prior statements to police. Counsel

questioned Price about his alleged lack of knowledge that Petitioner was carrying a gun on the

night of the murder until after the shooting and his failure to include distinctive black grips, like

those on the gun recovered from Keith Smith’s lawyer, in his description of the gun. NT 11/6/97,



                                                  30
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 38 of 160




24-25, 30, 66-67. Counsel challenged Price on his initial failure to admit his involvement in the

crime, even after being warned that the police considered him a suspect. Id. at 39-47. In closing

arguments, counsel argued that these inconsistencies and the lack of credible evidence tying

Petitioner to the crimes created a reasonable doubt of guilt. NT 11/10/97, 29-42.

       Contrary to the court’s assertion, the proper analysis is not that the “withheld evidence

may have opened the door to an otherwise unavailable defense theory.” Natividad-3 at 37 (citing

Turner v. United States, 137 S. Ct. 1885 (2017)). It is that the withheld evidence would have

supported and made stronger a defense that counsel attempted to present—reasonable doubt.

Although there was no forensic evidence connecting Petitioner to the crime, and Petitioner made

no inculpatory statements to police, counsel had no evidence to suggest that anyone other than

Petitioner had committed the offense. Thus, counsel attempted to raise reasonable doubt through

his cross-examination with the limited evidence on hand. Had the Commonwealth disclosed the

suppressed evidence, trial counsel would have been able to challenge the Commonwealth’s case

with an eyewitness who would have testified that Petitioner was not the shooter and presented an

alternate suspect who had motive, means, and opportunity to kill Campbell.

       While the Pennsylvania Supreme Court described the withheld evidence as “too weak”

and “too distant” to meet Brady’s standards, Natvidad-3, 200 A.3d at 35, this determination was

one for the jury to make at trial, not a court on appeal. Dennis, 834 F.3d at 301. In this case, as in

Kyles, “not every item of the State’s case would have been directly undercut if the Brady

evidence had been disclosed.” 514 U.S. at 451. However, “[e]ven if the jury—armed with all of

this new evidence—could have voted to convict . . . [this Court should] have ‘confidence that it

would have done so.’” Wearry, 136 S. Ct. at 1007 (quoting Smith v. Cain, 132 S. Ct. 627, 630




                                                 31
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 39 of 160




(2012)). For these reasons, the Pennsylvania Supreme Court’s determination that the Robinson

evidence was not material was unreasonable.

                2.      The McCullough claim was timely filed

        The Pennsylvania Supreme Court did not consider Petitioner’s claim that the

Commonwealth violated Brady when it failed to disclose the McCullough note on the ground

that it was untimely. Natividad-3 at 28. The court held that, although Mr. Natividad filed his

petition within 60 days of obtaining McCullough’s affidavit, he did not file within 60 days of

receiving the note in the prosecutor’s file. Since the court viewed the claim as deriving from the

suppression of the McCullough note, the court held that the petition was untimely. Id. In

reaching this conclusion, the court rejected Petitioner’s claim that the note itself was not

exculpatory but that it led to the discovery of exculpatory evidence. Id. at 28-29.

        The court’s ruling was not based on an adequate and independent state court procedural

bar. Moreover, even if this claim is improperly deemed to be defaulted, the default is overcome

because Petitioner can show cause and prejudice. “Because the [state] courts did not reach the

merits of [Petitioner’s] Brady claim, federal habeas review is not subject to the deferential

standard that applies under AEDPA. . . . Instead, the claim is reviewed de novo.” See Cone, 556

U.S. at 472 (citations omitted). Petitioner is entitled to relief on this claim.

                        a.      The asserted bar is not adequate and independent

        State court procedural bars that are not “firmly established and regularly followed” are

inadequate to bar federal review. Lee v. Kemna, 534 U.S. 362, 389 (2002) (quoting James v.

Kentucky, 466 U.S. 341, 348 (1984)); see also Kindler v. Horn, 642 F.3d 398, 404 (3d Cir.

2011); Bronshtein v. Horn, 404 F.3d 700, 707-10 (3d Cir. 2005).

        Here, Petitioner alleged that his Brady claim was timely under § 9545(b)(1)(i)

[governmental interference] and under § 9545(b)(1)(ii) [newly discovered evidence]. It appears,

                                                   32
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 40 of 160




however, the Pennsylvania Supreme Court only addressed timeliness under § 9545(b)(1)(i). See

Natividad-3 at 29 n.13 (“We emphasize that our timeliness analysis with respect to this issue is

limited by the nature of [Petitioner’s] claim, i.e., a due process violation under Brady pursuant to

42 Pa. C.S. § 9545(a)(2)(i)). In doing so, the court erroneously conflated the due diligence

element of the statute’s newly-discovered evidence prong with the statute’s separate

governmental interference prong. This contradicts the court’s own precedent and the plain

language of 42 Pa. C.S. § 9545(b)(1)(i-ii), which clearly separates these two prongs as

alternatives to each other. See Commonwealth v. Yarris, 731 A.2d 581, 587-92 (Pa. 1999)

(separating the discussion of the statute into three sections, one for each statutory exception to

the PCRA’s one-year timeliness bar).7

       The Pennsylvania Supreme Court stated that Petitioner could not meet the 60-day

requirement of 42 Pa. C.S. § 9545(b)(2) because his due process claim was “predicated on the

Commonwealth’s suppression of the “Maculla” note, not its failure to disclose the statement



7
  Indeed, the court’s jurisprudence surrounding the timeliness following Yarris shows that—as in
this case—the court has not “firmly established or regularly followed” a consistent interpretation
of the timeliness bar. See, e.g., Commonwealth v. Beasley, 741 A.2d 1258, 1261-62 (Pa. 1999)
(in which the court discusses the credibility of the petitioner’s Brady claims pursuant to §
9545(b)(1)(i) without mentioning the concept of due diligence); Commonwealth v. Edmiston,
851 A.2d 883, 887 & n.1 (Pa. 2004) (in which the court states that “the timeliness of appellant’s
PCRA petition is uncontested” before holding that the petitioner’s Brady claim is barred on other
grounds, none of which involve “due diligence”); Commonwealth v. Chester, 895 A.2d 520, 523-
24 (Pa. 2006) (in which the court finds appellant’s PCRA petition to be untimely after a
discussion of appellant’s Brady claims, during which there is no mention of “due diligence”);
contra Commonwealth v. Breakiron, 781 A.2d 94, 98 (Pa. 2001) (in which the Court cites the
after-discovered evidence section of Yarris in support of its complaint that the appellant “fails to
offer a reasonable explanation as to why this [Brady material], with the exercise of due diligence,
could not have been obtained earlier”); Commonwealth v. Lambert, 884 A.2d 848, 852 (Pa.
2005) (in which the court, while disagreeing with the Commonwealth’s assertion that “in order
for appellant's PCRA petition to fall within the cited timeliness exceptions, he must actually
establish a meritorious Brady claim,” nonetheless proceeds to evaluate the timeliness of
appellant’s Brady claim based on “[t]he newly discovered evidence exception, set forth
in Section 9545(b)(1)(ii)” which includes a due diligence analysis).

                                                 33
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 41 of 160




McCullough gave to the defense 15 years later.” Natividad-3, at 28 (emphasis in original). This

is incorrect.

        Petitioner’s argument in post-conviction was the same as it is here—“Mr. McCullough’s

statement [that Petitioner was not the shooter] is material to the case and the defense.” See App.

Exh. No. 11 (Petitioner’s Third PCRA Petition dated 8/9/12 at ¶21). Petitioner further alleged

that the note states that McCullough “got [the] tag #,” and the tag number and McCullough’s

original statement still had not been disclosed to Petitioner. Id. at ¶22. Contrary to the

Pennsylvania Supreme Court’s assertion, Petitioner has never alleged that the “Maculla” note,

without more, was material evidence that the Commonwealth should have disclosed under

Brady. See Natividad-3 at 29. This is because the note, which simply gives McCullough’s

(misspelled) name and phone number without any indication of what he witnessed, is not

exculpatory.8 Rather, it is a signal for “competent counsel” to investigate further. It was not until

Petitioner investigated the note, located the witness and spoke to him that his exculpatory

statement was revealed. It would defy reason to say that the bar applied here is “firmly

established and regularly followed” when it relies on a misreading of the record. See Cone, 556

U.S. at 466 (state court’s mistaken ruling that claim had been previously litigated was not a

procedural default ruling requiring deference by habeas court).

        Additionally, Mr. Natividad substantially complied with any rule by filing his petition

within 60 days of obtaining McCullough’s affidavit. See Lee, 534 U.S. at 366-67, 385 (no default

where petitioner “substantially complied” with state rule); Williams v. Coyle, 260 F.3d 684, 693




8
  The “Maculla” note was produced to the defense on March 6, 2012. Petitioner investigated and
raised his Brady claim on August 9, 2012, approximately five months later. In 2018, the PCRA
was amended to extend the time to file a petition based on newly discovered evidence to one
year, recognizing the difficulty in meeting the 60-day deadline for many petitioners.

                                                 34
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 42 of 160




(6th Cir. 2001) (in determining the applicability of procedural default, a federal court must

determine “whether there is a state procedural rule that is applicable to petitioner's claim and

whether the petitioner failed to comply with that rule”). The bar is inadequate and does not

preclude merits review.

       The bar is also not independent. A state court procedural waiver rule is not

“independent,” and therefore cannot create a federal court procedural default, if the state rule is

“interwoven with federal law” or “substantially mirrors the requirements of federal constitutional

law.” Coleman v. Thompson, 501 U.S. 722, 725 (1991) (quoting Michigan v. Long, 463 U.S.

1032, 1040-41 (1984)); Bronshtein, 404 F.3d at 722. The determination that Petitioner’s Brady

claim was based on the McCullough note, rather than on the information contained in the

McCullough affidavit, required consideration of the merits of the claim. For this reason as well,

merits review is not precluded.

       Moreover, even the Pennsylvania Supreme Court recognized that the claim could be

considered timely under (b)(1)(ii). “This is so because [Petitioner’s] petition was filed within 60

days of the date McCullough provided his declaration, and the facts alleged within that

declaration were previously unknown to [Petitioner] and could not have been ascertained sooner

by the exercise of due diligence.” Natividad-3 at 29 n.13. Under similar circumstances, the

Pennsylvania Supreme Court held that information discovered during federal habeas proceedings

“constitute[d] ‘newly discovered’ facts for purposes of the (b)(1)(ii) exception to the

jurisdictional time bar.” Commonwealth v. Johnson, 64 A.3d 621, 622 (Pa. 2013) (per curiam).

The same is true here.

                         b.    Petitioner has shown cause and prejudice

       Even if the claim were defaulted, Petitioner can overcome default because he can

demonstrate cause and prejudice. The showing for cause and prejudice parallels the components

                                                 35
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 43 of 160




of a Brady violation. See Banks, 540 U.S. at 691; Breakiron, 642 F.3d at 132. This Court

determines cause and prejudice de novo as a matter of federal law. Cristin v. Brennan, 281 F. 3d

404, 412-19 (3d Cir. 2002).

       Prior to trial, the Commonwealth produced discovery under cover of letter and enclosed

several witness statements. See Letter to Donald Padova dated 4/17/97, App. Exh. No. 27. The

Commonwealth assured counsel that it was disclosing the names and addresses of all

eyewitnesses. Specifically, it represented, “Since we are voluntarily turning over this discovery

to you, which includes the names and address [sic] of all eyewitnesses, we expect you to provide

us with the names and addresses and statements of any witnesses you will call at trial.” Id.

However, not only was McCullough’s name and address not disclosed, his existence was denied

until this Court ordered discovery. See Section D.1, supra.

       Petitioner had no further obligation to continue to seek what the Commonwealth averred

did not exist. This establishes cause. See Banks, 540 U.S. at 696 (“A rule thus declaring

‘prosecutor may hide, defendant must seek,’ is not tenable in a system constitutionally bound to

accord defendants due process.”); see also Amadeo v. Zant, 486 U.S. 214, 222 (1988) (“If the

District Attorney’s memorandum was not reasonably discoverable because it was concealed . . .

and if that concealment, rather than tactical considerations, was the reason for the failure of

petitioner’s lawyers to raise the jury challenge in the trial court, then petitioner established ample

cause to excuse his procedural default[.]”); Fisher v. Rozum, 441 Fed. Appx. 115, 119-20 (3d

Cir. 2011) (finding cause excusing default because defendant requested impeachment evidence

regarding eyewitness and the state failed to disclose while continuing to assert it had complied

with Brady).




                                                 36
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 44 of 160




       “[P]rejudice within the compass of ‘cause and prejudice’ requirements exists when the

suppressed evidence is ‘material’ for Brady purposes.” Banks, 540 U.S. at 901. As demonstrated

above, because the disclosure of McCullough’s name would have led to evidence that “would

have undercut the credibility of a key prosecution witness,” Dennis, 834 F.3d at 298, Petitioner

meets the materiality prong and can thus show prejudice. See Section D.3, supra.

               3.      The state courts did not consider the cumulative effect of the
                       suppressed evidence on Petitioner’s trial

       The Pennsylvania Supreme Court also did not consider the merits of the cumulative

prejudice resulting from the Commonwealth’s violations of Brady because it “decline[d] to

consider [the McCullough statement] in the analysis.” Natividad-3 at 39. Accordingly, this

Court’s review is de novo, and there is no need to “defer to the Pennsylvania Supreme Court on

the question of the cumulative materiality of the prosecutor’s Brady violations because, finding

only one of [Petitioner’s] Brady claims not to be procedurally barred, the court did not reach the

issue of the collective effect of multiple violations.” Simmons, 590 F.3d at 232-33. Here, as in

Simmons, because “the picture of what [Petitioner’s] trial could have been like had these . . .

Brady violations not occurred is vastly different from what actually happened,” id. at 238,

Petitioner is entitled to a new trial. See Section D.3, supra.

                    CLAIMS FOR HABEAS RELIEF AS INITIALLY FILED

I.     THERE WAS INSUFFICIENT EVIDENCE OF A ROBBERY OF ROBERT
       CAMPBELL SUCH THAT PETITIONER’S CONVICTION ON THAT CHARGE
       VIOLATED DUE PROCESS; AS THE ERRONEOUS ROBBERY CONVICTION
       WAS AN AGGRAVATOR, PETITIONER’S DEATH SENTENCE VIOLATES
       PENNSYLVANIA LAW AND THE EIGHTH AMENDMENT; FURTHERMORE,
       PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL;
       DIRECT APPEAL COUNSEL FAILED TO PROPERLY PRESENT HIS CLAIM
       OF EVIDENTIARY INSUFFICIENCY.

       Petitioner was convicted of robbery, allegedly occurring during the Campbell homicide,

on a record where no evidence established such a crime beyond a reasonable doubt. Under

                                                  37
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 45 of 160




Pennsylvania law, “[a] robbery is committed where the perpetrator attempts to commit a theft by

threatening another with serious bodily injury.” Natividad-1 at 176 (citing 18 Pa. C.S. §

3701(a)(1)(i)). Here, however, the evidentiary insufficiency was so great, and so clear, that the

resulting conviction deprived Petitioner of due process of law. See Jackson v. Virginia, 443 U.S.

307, 319 (1979) (due process violated when evidence is insufficient to prove each element of the

offense beyond a reasonable doubt).

       Additionally, trial counsel was ineffective for failing to retain a forensic pathologist to

provide expert testimony supporting the defense theory that the victim’s arms involuntarily went

in the air as a result of being shot. Post-conviction counsel was ineffective for failing to raise this

claim of trial counsel ineffectiveness.

       A.      Background

       The record contains the following, extremely limited evidence with regard to an alleged

robbery during the homicide.

       •       Petitioner approached the deceased. NT 11/6/97, 9.

       •       A gunshot rang out. NT 11/6/97, 9, 77.

       •       After the gunshot, the decedent’s arms were seen to be raised. NT 11/6/97, 78, 79,
               88, 94.

There was no evidence presented that Petitioner took, or attempted to take, property of the

deceased; he never expressed an intent to rob; and no one saw the deceased’s hands raised before

the shot was fired.9




9
  As described elsewhere, although the Commonwealth argued that the carjacking evidence was
also relevant to the alleged attempt to rob during the homicide, this was an impermissible use of
other acts evidence. Moreover, even if that evidence is considered, the factual differences
between the Havens robbery and the Campbell shooting are so great that no inference of robbery,
or intent to rob, in the Campbell shooting can reasonably be drawn. See Claim II, infra.

                                                  38
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 46 of 160




       In assessing the sufficiency of evidence as a matter of the federal constitutional due

process standard, the focus must be on whether, after viewing the evidence in the light most

favorable to the prosecution, any rational trier of fact could have found the essential elements of

the crime beyond a reasonable doubt. Jackson, 443 U.S. at 319. This standard has been

consistently applied by federal courts to reverse convictions where, as here, the evidence is both

circumstantial and inadequate to sustain more than a speculative judgment.

       To prove robbery, the Commonwealth must establish an attempt at a taking. Here, the

apparent inferential reasoning is that Petitioner pointed a gun demanding money or property, the

victim raised his hands in response thereto, and the defendant then shot. The proof, however, is

as follows:

               •       A gun was fired by the Petitioner; and

               •       Thereafter, the deceased’s hands were seen to be raised.

       There was no showing that Campbell raised his hands before being shot. Eyewitness Beth

Johnson testified:

                I noticed that both of them were standing there face to face and as I’m just
       checking the sidewalk and looking that direction I guess, I’m not really sure what
       I first noticed was that the appearance of the gentleman or did I notice a hand go
       up. I’m not really sure which I noticed first. But I did notice that the shooter was
       lifting his hand, I heard a gunshot. And the victim fell back, raised his hands up
       and fell back.

               Do you want me to describe anything else?

NT 11/6/97, 94.

       Eyewitness Martin Johnson testified he saw the victim with his hands up as he was

falling. Mr. Johnson testified:

       Q.      Would you tell the ladies and gentlemen of the jury from 9:40 p.m. on
               what it is that you observed, saw, heard, everything that you saw and
               heard that brings you here to court today.


                                                39
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 47 of 160




        A.     It was about 9:35, 9:40, my wife and I were on our way out the house. I
               was on my way to work. We come down the first flight of steps and
               there’s a landing. We were walking along the landing and we heard a shot.

        Q.     You were inside or outside?

        A.     Outside. And immediately looked towards the gas station because that's
               where the shot came from. And the first thing you saw was a man falling
               backwards with his hands up like this. And he hit the ground. . . .

        Q.     Let me take you back a little bit.

               The male who you saw falling, you eventually – you said you saw his
               hands up before as he was going down?

        A.     As he was going down, when I saw him he was on his way down.

NT 11/6/97, 77-79.

        On cross-examination, Mr. Johnson agreed he did not tell the police during his interview

that he saw the victim’s hands in the air:

        Q.     D-3 I believe is an interview record.

               Could you – is that the interview that you gave, is that your signature
               down [at] the bottom?

        A.     That’s correct, yes.

        Mr. Padova: If I may direct – may I approach, Your Honor.

        The Court: Sure.

        By Mr. Padova:

        Q.     Second page. Start around here, I guess, somewhere.

        A.     Do you want me to read it out loud?

        Q.     Read it to yourself.

               Is it fair to say that there’s nothing in there about the gentleman having his
               hands up when he fell?

        A.     No. I mean it is fair to say.


Id. at 89.

                                                    40
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 48 of 160




       There is no evidence that Campbell’s hands were raised before the shooting. The

evidence was insufficient to prove robbery beyond a reasonable doubt. Piaskowski v. Bett, 256

F.3d 687, 693 (7th Cir. 2001) (“Although a jury may infer facts from other facts that are

established by inference, each link in the chain of inferences must be sufficiently strong to avoid

a lapse into speculation.”). Such is the case here, and in such circumstances no rational trier of

fact could have found the essential elements of the crime beyond a reasonable doubt. “Deference

to a jury verdict, even under AEDPA’s deferential standard, does not allow rank speculation to

substitute for proof beyond a reasonable doubt.” Kamienski v. Hendricks, 332 F. App’x 740, 749

(3d Cir. 2009).

       Coleman v. Johnson, 566 U.S. 650 (2012) (per curiam), is readily distinguishable. In

Coleman, the Supreme Court held that the evidence was sufficient to convict a defendant as an

accomplice in a murder where the evidence showed that defendant and the shooter had argued

about a debt owed by the deceased, the shooter became enraged after being beaten by the

deceased, defendant walked with the shooter and the deceased to an alley where the deceased

was shot, and defendant fled the scene with the shooter. The inferences arising from this

evidence were sufficient to allow a juror to conclude that defendant shared the intent to kill. Id.

at 656. Here, by contrast, the only evidence of robbery is that the deceased’s hands were above

his head after he was shot. Such sparse evidence from which to draw an inference robbery differs

from the multiple circumstances that support the inference of guilt in Coleman and meet the high

bar required by Jackson. See Richards v. Coleman, No. 13-7109, 2015 WL 6870084, at *5 (E.D.

Pa. Nov. 6, 2015) (distinguishing Coleman and finding that inferences drawn from the evidence

were insufficient to support the conviction).




                                                 41
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 49 of 160




       As the evidence was insufficient to prove robbery, Petitioner is entitled to have his

robbery conviction as to Campbell vacated. Moreover, because the evidence is likewise

insufficient to support the aggravating circumstance that the killing was committed while in the

perpetration of a felony, 42 Pa. C.S. §9711(d)(2), Petitioner is also entitled to a new sentencing

hearing.

       B.      Ineffective Assistance of Counsel

       At trial, counsel was ineffective for failing to retain a forensic pathologist to rebut the

contention that Mr. Campbell was robbed. This claim was not previously raised in state court

but, as discussed infra, Petitioner can show cause and prejudice for any default.

       Because of the nature of the bullet wound to Mr. Campbell, the raising of his hands to

which the eyewitnesses testified was not a voluntary movement. Dr. Richard Callery, Chief

Medical Examiner for the State of Delaware, reviewed, among other things, the statements of the

eyewitnesses and the autopsy report. He notes that the witnesses saw hands up after the gunshot

was fired. Specifically, Mrs. Johnson said she heard a gunshot, the victim raised his hands, and

fell back. Dr. Callery further points out that the time sequence was as follows: (1) the bullet

passed through the pons and medulla of the victim’s brain, cutting off communication between

the brain and the rest of the body; (2) and then, after a brief interval, the eyewitnesses saw the

victim’s hands go up. As a consequence, the movement of the victim’s hands up, after he was

shot, was not a voluntary movement. Dr. Callery gives this conclusion based on medical and

scientific principles generally known and applied in 1997 and to a reasonable degree of medical

and scientific certainty. Declaration of Richard Callery, M.D., App. Exh. No. 12. Trial counsel

was ineffective for failing to obtain the assistance of a forensic medical expert to defend against

the robbery charge. See Siehl v. Grace, 561 F.3d 189, 197-98 (3d Cir. 2009) (counsel ineffective

for failing to retain expert to support the theory of the defense). See also Hinton v. Alabama, 134

                                                 42
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 50 of 160




S. Ct. 1081, 1088 (2014) (counsel was deficient when he failed to retain an expert who was

qualified for the task at hand).

       The facts of the trial are indisputable: no witness saw the deceased’s hands raised until

after the shot was fired, making it impossible to determine why the hands were raised and, thus,

the evidence was insufficient as a matter of state law and due process principles to prove a

specific intent crime, robbery. An expert such as Dr. Callery would have assisted the jury’s

understanding that the raised hands did not support the Commonwealth’s robbery theory. Had

Petitioner received proper representation, the robbery conviction would have been set aside, and

one of two aggravating circumstances would have been withdrawn. Hence, harm occurred at

both the trial and penalty stages.

       C.      The State Court Opinions

       On direct appeal, the Pennsylvania Supreme Court summarized the record. As stated, the

court found that the eyewitnesses, the Johnsons, “each, independently, testified to the following

observation: the victim raised his hands in the air and then fell backwards at the same time that a

gunshot was heard.” Natividad-1 at 172-73. The court stated that “Mr. Campbell’s arms were

raised in the air as he was falling backwards.” Id. at 176. It added, “As Mr. Campbell, was

falling, the Johnsons heard a gunshot.” Id. The court summarized Pennsylvania law and stated

that, for a robbery conviction, there is no requirement that the crime be successful. Based on this

slim record, the court held that “[t]he circumstantial evidence when viewed in the light most

favorable to the Commonwealth as verdict winner, supports the inference that Mr. Campbell was

the victim of a robbery at the time he was shot.” Id.

       The state court based its decision on a factual finding that “the victim raised his hands in

the air and then fell backwards at the same time that a gunshot was heard.” Id. at 173. This is an



                                                43
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 51 of 160




unreasonable determination of fact because the evidence showed that the deceased’s hands were

raised after the shot was fired.

       Factual determinations are unreasonable when reviewing courts do not analyze all the

facts. See Brumfield v. Cain, 135 S. Ct. 2269, 2278-79, 2282 (2015) (holding that state court’s

fact-finding was unreasonable because it failed to consider the full context and meaning of the

evidence adduced); Miller-El v. Cockrell, 537 U.S. 322, 340-41 (2003) (to assess the

reasonableness of a state court’s determination of the facts, a federal court must determine

whether the state court factual findings are supported by sufficient evidence); Beck v. Bowersox,

257 F.3d 900, 901 (8th Cir. 2001) (stating that sections 2254(d)(2) and (e)(1) “require

meaningful federal court review of the evidentiary record considered by the state courts”); see

Dennis v. Sec’y, Dep’t of Corr., 834 F.3d 263, 288 (3d Cir. 2016) (en banc) (“The Pennsylvania

Supreme Court made an unreasonable determination of the facts . . . in refusing to acknowledge

the receipt’s exculpatory and impeachment value.”).

       As set forth above, the trial record only shows that the victim’s hands were raised after

the shot was fired. NT 11/6/97, 94 (Beth Johnson: “I’m not really sure which I noticed first. But

I did notice that the shooter was lifting his hand, I heard a gunshot. And the victim fell back,

raised his hands up and fell back.”); id. at 79 (Martin Johnson: “Q. Let me take you back a little

bit. The male who you saw falling, you eventually – you said you saw his hands up before as he

was going down? A. As he was going down, when I saw him he was on his way down.”). The

Pennsylvania Supreme Court’s determination was unreasonable.

       D.      State Post-Conviction Counsel Was Ineffective Under Martinez

       Here, trial counsel did not obtain available expert medical testimony explaining that the

movement of the victim’s hands up into the air was involuntary. Callery Declaration, App. Exh.

No. 12. This evidence would have countered the prosecution’s argument that the victim’s hands

                                                 44
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 52 of 160




went up because he was being robbed. Showers v. Beard, 635 F.3d 625, 633 (3d Cir. 2011) (trial

counsel unreasonable for failing to retain an expert when such assistance is “necessary or

appropriate for preparation of the defense, adequate understanding of the prosecution’s case and

rebuttal of any portion of the prosecution’s case at the guilt/innocence phase”).

       State post-conviction counsel did not obtain this available evidence from a forensic

pathologist either. This Court should consider the expert medical evidence because state post-

conviction counsel was ineffective for failing to litigate this evidence. Any procedural default

should be excused under Martinez v. Ryan, 566 U.S. 1 (2012), because the claim of ineffective

assistance of trial counsel is meritorious and state post-conviction counsel performed

unreasonably. Id. at 17; Trevino v. Thaler, 569 U.S. 413, 423 (2013); Workman v. Superintendent

Albion SCI, 915 F.3d 928, 937-38 (3d Cir. 2019).

II.    PETITIONER WAS DENIED DUE PROCESS AND THE EFFECTIVE
       ASSISTANCE OF COUNSEL BY THE TRIAL COURT’S ADMISSION OF
       OTHER CRIMES EVIDENCE; BY THE PROSECUTOR’S USE OF THE
       EVIDENCE FOR IMPROPER PURPOSES; AND BY COUNSEL’S FAILURE TO
       SEEK APPROPRIATE LIMITING INSTRUCTIONS, OBJECT TO THE
       ABSENCE OF THOSE INSTRUCTIONS, AND OBJECT TO THE
       PROSECUTOR’S IMPROPER USE OF THE EVIDENCE.

       Petitioner was initially charged in two different criminal episodes: the murder of Robert

Campbell and the alleged robbery of an automobile from Michael Havens. The Commonwealth

filed a motion to consolidate the carjacking and homicide cases. At the consolidation hearing

before Judge Temin (the calendar judge), the prosecutor argued for consolidation to prove

identity only:

       So, we have a tie-in, and my position is that anytime on the same day of the
       incident you can put a defendant in the actual getaway vehicle, it’s certainly
       probative, relevant, admissible as to the identification. It corroborates this is the
       guy.




                                                 45
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 53 of 160




NT 8/28/97, 6.10 Over defense objection, the trial court consolidated the charges arising out of

the two incidents into a single trial. On direct appeal, the Pennsylvania Supreme Court likewise

upheld consolidation because the Havens robbery was relevant to prove the identity of the

Campbell shooter. Natividad-1 at 174 (“The evidence from the robbery of Mr. Havens’ vehicle

was relevant to establish the identity of the person who shot Robert Campbell.”).

       When Judge Temin ruled that the charges are “eminently combinable,” no mention was

made of using the carjacking to prove intent. Trial counsel sought no clarification or limit on the

use to which the carjacking evidence could be put. NT 8/28/97, 9. Trial counsel failed to confirm

that the consolidation was for the limited purpose of proving identity and for no other purpose.

       The prosecutor took full advantage of counsel’s miscues. Rather than limit his use of the

Havens robbery to evidence of identity – the justification for its admission – the prosecutor urged

the jury to view the Havens robbery as evidence that Petitioner intended to rob Campbell. This

was a highly improper expansion of the limited purpose underlying the decision to consolidate

the charges.

       The error was highly prejudicial. This issue, Petitioner’s alleged intent to rob, was a

contested fact regarding the homicide, as the prosecution theory was that Petitioner shot the

victim as part of a robbery, not in self-defense. Furthermore, at sentencing, the intent to rob was

found as an aggravating factor and a reason to impose death.

       Defense counsel failed to object to the prosecutor’s improper use of the evidence. Nor did

he insure that the jury was properly instructed that, in relation to the Campbell shooting, they




10
   As set out in the Statement of the Case, and as discussed infra, the prosecutor’s argument was
in error, as the evidence showed that the car stolen from Havens (a two-door Lincoln
Continental) was not the car used in the Campbell shooting (described by witness Beth Johnson
as a four-door Lincoln).

                                                 46
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 54 of 160




could only consider the Havens robbery for the limited purpose of showing that Petitioner was

the person who shot Campbell.

          The consolidation of the charges to prove identity was unnecessary, highly prejudicial,

and undermined the fairness of the trial, which violated Petitioner’s due process rights. The

prosecutor’s improper use of the Havens robbery likewise denied Petitioner due process. Defense

counsel was ineffective for failing to object to the improper use of the evidence, request

appropriate instructions, object to the inappropriate instructions, and/or take any other steps

necessary to mitigate the harm.

          A.     Legal Standards

          The improper joinder of criminal charges rises to the level of a due process violation

where the prejudicial effect of the joinder denies defendant a fair trial. United States v. Lane, 474

U.S. 438, 446 n.2 (1986). The prejudice from improper joinder is similar to the prejudice caused

by the admission of other crimes evidence.

          As a rule, evidence of other bad acts is inadmissible. See, e.g., Old Chief v. United States,

519 U.S. 172, 180-82 (1997). This evidence is usually excluded because of the danger that the

jury will conclude that the defendant is a person of bad character who acted, at the time of the

offense, in conformity with that bad character. Michelson v. United States, 335 U.S. 469, 475

(1948).

          The prohibition is required not because such evidence is irrelevant but, on the
          contrary, it is said to weigh too much with the jury and to so overpersuade them
          as to prejudge one with a bad general record and deny him a fair opportunity to
          defend against a particular charge. The overriding policy of excluding such
          evidence, despite its admitted probative value, is the practical experience that its
          disallowance tends to prevent confusion of issues, unfair surprise and undue
          prejudice.

Id. at 476. Accord Lesko v. Owens, 881 F.2d 44, 52 (3d Cir. 1989) (when such evidence is

introduced at trial and its inflammatory nature exceeds its evidentiary worth it violates due

                                                   47
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 55 of 160




process); McKinney v. Rees, 93 F.2d 1378, 1380-82 (9th Cir. 1993) (tracing history of rule).11

While the admission of such evidence does not per se violate the constitution, the trial court and

the parties have a duty to minimize its prejudicial impact.12

        In order to minimize the highly prejudicial effect of evidence of prior bad acts or criminal

activity, due process requires the trial court to provide the jury with an appropriate limiting

instruction. Spencer v. Texas, 385 U.S. 554, 561-62 (1967) (where evidence of prior crimes is

admitted, defendant’s interests are protected by a limiting instruction to mitigate the possibility

of prejudice). In Murray v. Superintendent, 651 F.2d 451 (6th Cir. 1981), the Court explained:

        A key holding of Spencer was that a defendant’s rights are deemed protected by
        limiting instructions. . . . The logical converse of this argument is that it is unfair
        and violative of due process if evidence of other crimes is admitted without a
        limiting instruction.

Id. at 453.

        Pennsylvania law requires an appropriate instruction where bad acts evidence is admitted

for a limited purpose.13 A defense lawyer who fails to request such a limiting instruction is


11
   Accord Virgin Islands v. Harris, 938 F.2d 401, 419 (3d Cir. 1991); United States v. Scarfo,
850 F.2d 1015, 1018-19 (3d Cir. 1988); Virgin Islands v. Toto, 529 F.2d 278, 283 (3d Cir. 1976);
see also Commonwealth v. Bordell, 110 A.2d 193, 195 (Pa. 1955).
12
   See, e.g., Old Chief, 519 U.S. at 174 (in a prosecution for possession of a gun by a person with
a prior felony conviction, the duty to mitigate the prejudice from the jury’s knowledge of the
defendant’s prior conviction required the court to accept the defense offer to stipulate to the
existence of the prior felony rather than allow the prosecution to introduce that evidence through
testimony); United States v. Morales, 834 F.2d 35, 38-39 (2d Cir. 1987) (where the fact that
defendant was an inmate in a federal prison was an essential element of the government’s case, a
cautionary instruction advising the jury that this fact could not be considered in any way in
reaching their verdict “was necessary to ensure that the jurors would understand that they were
not to consider the evidence of the prior conviction in determining [defendant’s] guilt or
innocence”).
13
   E.g., Commonwealth v. Claypool, 496 A.2d 176 (Pa. 1985) (“[W]e are still mindful of the
potential for misunderstanding on the part of the jury when this type of evidence is admitted.
Therefore, such evidence must be accompanied by a cautionary instruction which fully and
carefully explains to the jury the limited purpose for which that evidence has been admitted”);
Commonwealth v. Billa, 555 A.2d 835 (Pa. 1989) (although evidence of prior criminal activity


                                                   48
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 56 of 160




constitutionally ineffective. Dawson v. Cowan, 531 F.2d 1374, 1377 (6th Cir. 1976);

Commonwealth v. Billa, 555 A.2d 835 (Pa. 1989).

       B.      Joinder Violated Due Process

       Consolidation violated due process and was not proper to prove intent. Pennsylvania law

permits evidence of other crimes, wrongs or acts only if this evidence goes beyond proving

character (often termed “propensity”) and instead establishes a discrete and relevant evidentiary

point such as identity, motive, opportunity, plan, or absence of mistake. The admission is limited

to the evidentiary point at hand.

       In this case, evidence of the carjacking was inadmissible to prove intent to rob at the

homicide because there was no common “plan” to rob both the carjacking victim and the

decedent at the homicide. For evidence to constitute a common plan or scheme, the conduct

requires both congruence (the same details in both events) and uniqueness (the details common

to both events are uncommon to others).

       In this case, the two offenses are markedly dissimilar, as illustrated below:




was admissible, “the court erred in failing to give an immediate and complete cautionary or
limiting instruction to the jury explicitly instructing the jury as to the limited purpose for which
the evidence was deemed admissible”); Commonwealth v. Covil, 378 A.2d 841 (Pa. 1977)
(“When evidence is admissible for a limited purpose, a defendant is entitled to a limiting
instruction”); Commonwealth v. Amos, 284 A.2d 748, 750 (Pa. 1971) (“Of course, the potentially
prejudicial effect of the introduction of the defendant’s record requires that the jury be made
aware of the limited purpose of such evidence”).

                                                49
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 57 of 160




              Havens Carjacking                                  Campbell Homicide

 Havens was approached by two males. NT            Campbell was approached by one male NT
 11/5/97, 148-149.                                 11/6/97, 11-12.
 Havens was driven in his car, threatened, put     Petitioner is alleged to have fired one shot and
 out of his car, made to lay on the ground, and    then immediately left. NT 11/6/97, 12-13; 15.
 then had his car driven off by the two
 assailants. NT 11/5/97, 150-153.
 Havens was forcibly robbed of his belongings      Campbell’s car was not taken. NT 11/6/97,
 by two males. NT 11/5/97, 149.                    15.



       These two incidents do not show congruence and uniqueness. One incident involves a

robbery but no shooting; the other involves a shooting but no robbery. There is no remarkable

“signature” act being shared by the two offenses, and there is no unique modus operandi

sufficient to establish a “plan.” As such, the evidence of the Havens carjacking should have been

inadmissible to prove an intent to rob at the Campbell homicide.

       C.      Counsel Was Ineffective

       Trial counsel was ineffective for failing to insure that the jury was properly instructed as

to the limited purpose of the Havens evidence. Under Pennsylvania law, where evidence is

admitted for a limited purpose, the jury is to be instructed on the restriction imposed on its use.

Without the instruction, jurors were free to use the evidence for an improper purpose. Here, trial

counsel could have had no legitimate strategic reason for failing to request an appropriate

instruction or object to its absence because an adequate cautionary instruction could only have

furthered Mr. Natividad’s interest. See Albrecht v. Horn, 485 F.3d 103, 127 (3d Cir. 2007)

(finding counsel lacked “any valid strategic reason” for failing to request limiting instruction

when Commonwealth’s evidence of other criminal acts “was not briefly or fleetingly presented,




                                                  50
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 58 of 160




but instead was a substantial portion of the Commonwealth's case” and the Commonwealth’s

closing “harped” on the evidence).

       At trial, when the carjacking evidence was presented, there was no limiting instruction

given to the jury (and none sought by trial counsel). This omission cost Petitioner dearly, as it

deprived his jury of critical guidance on how to use (and how not to use) this other acts evidence.

       At the charge conference, the prosecutor14 alleged that Judge Temin had explicitly ruled

that the carjacking was admissible to prove intent to rob at the homicide. NT 11/7/97, 209-210.

The prosecutor then made that explicit linkage in closing argument (again without objection). NT

11/10/97, 50-52, 88-89. In fact, Judge Temin made no such ruling. Trial counsel’s failure to

respond was ineffective and harmful. Trial counsel, who had been present when Judge Temin

ruled, made no corrective statement; failed to secure the notes of testimony from the Judge

Temin hearing; and failed to object to the prosecutor’s closing argument.

       Although Judge Temin had allowed the Havens charges to be considered in the Campbell

case solely to prove identity, the trial court (Judge Savitt), without objection by trial counsel,

authorized the jury to consider evidence of the Havens carjacking as proof of the intent to rob

Campbell during the homicide:

       The evidence of both of those charges, both of these instances, these separate
       instances that occurred at different times came before you in this trial for a limited
       purpose, and that is to tend to show motive, plan, intent, and identity. And that’s
       why it’s admissible. The evidence must not be considered by you in any way
       other than the purpose I’ve just stated.

NT 11/10/97, 140. Counsel’s failure to object rendered him ineffective. See Everett, 290 F.3d at

509 (counsel ineffective for failing to object, or seek appropriate jury instructions, on both state



14
  The trial prosecutor was not counsel for the Commonwealth at the hearing before Judge
Temin.


                                                  51
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 59 of 160




law and constitutional grounds); Whitney v. Horn, 280 F.3d 240, 258 (3d Cir. 2002) (where

counsel had failed to object to an erroneous intoxication instruction, “we cannot imagine any

justification for a defense attorney not attempting to correct this type of error in an instruction”).

       D.      The State Court Opinions

       On direct appeal, the Pennsylvania Supreme Court held that consolidation of the charges

arising from the Havens robbery and the Campbell murder was relevant evidence at trial because

the close evidentiary relationship between the crimes was relevant to prove the identity of the

person who shot Campbell. Natividad-1 at 174. On PCRA appeal, the court addressed the claim

that trial counsel was ineffective for failing to object to the use of the carjacking as evidence of

intent to rob Mr. Campbell. The court did not address the merits of the underlying claim or the

prejudice caused by the misuse of the evidence and the prosecutor’s closing argument. Instead,

the court held that PCRA counsel had failed to make “any meaningful attempt” to demonstrate

“whether there was any objectively reasonable basis for trial counsel’s action or inaction.”

Natividad-2 at 323.

       The Pennsylvania Supreme Court’s decision allowing the joinder of the cases for

purposes of proving identity was an unreasonable application of Lane, Old Chief, and

Michaelson. The supposed evidentiary connection between the two incidents was the allegation

that the two-door Lincoln stolen from Havens was the car used in the Campbell killing. The

evidence, however, showed that a different car was used. In her statement to police, Beth

Johnson described the car as a four-door Lincoln, not a two-door like the one taken from Havens.

See 11/12/96 Statement of Beth Johnson at 3, App. Exh. No. 13. Thus, because the two crimes

had no evidentiary link, the carjacking evidence had little probative value compared to the

prejudicial impact of allowing the prosecutor to argue Mr. Natividad’s propensity to commit

armed robbery.

                                                  52
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 60 of 160




       The court’s PCRA decision that Petitioner had failed to show that there was no

reasonable strategy for counsel’s failure to request a limiting instruction and object to the

prosecutor’s improper use of the carjacking evidence was a decision on the merits. Holliday v.

Varner, 176 F. App’x 284, 287 (3d Cir. 2006) (state court ruling that boilerplate allegations of

counsel’s ineffectiveness were insufficient to prove the claim was a decision on the merits). But

that decision was both contrary to, and an unreasonable application of, Strickland. Relying on

state law, the court imposed a requirement beyond that required by Strickland. In order to prove

ineffectiveness under Strickland, a defendant must show both deficient performance and

prejudice. There is no requirement that he demonstrate that there was no objective reason for

counsel’s inaction, he need only show that counsel’s performance fell below that of reasonably

competent counsel. By imposing an additional element onto the Strickland test, the state court

opinion is contrary to, and an unreasonable application of, Strickland. See Howell v.

Superintendent Rockview SCI, 939 F.3d 260, 265 (3d Cir. 2019) (§ 2254(d) is satisfied when

state court imposed a more stringent constitutional standard than that required by controlling

Supreme Court case law).

       Moreover, any reasonably competent defense counsel would have realized that using the

carjacking to prove an intent to rob Campbell went beyond the limited purposes for which

joinder was allowed and would have objected. See Bey v. Superintendent Greene SCI, 856 F.3d

230, 238-39 (3d Cir. 2017) (“any alert defense counsel should have immediately known that [the

instruction] raised serious constitutional issues”).

       Here, on PCRA appeal, Petitioner asserted that trial counsel was ineffective for failing to

object to the prosecutor’s misuse of the carjacking evidence to prove intent to rob. Counsel noted

that the cases had been joined solely to help prove the identity of the shooter, that the two crimes



                                                  53
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 61 of 160




lacked sufficient similarity to be used to prove intent, and that, without objection, the prosecutor

was successfully able to argue that the evidence showed Mr. Natividad’s propensity to commit

armed robbery. Brief for Appellant, Pa. Supreme Ct., No. 497 CAP, filed April 23, 2007, at 21,

App. Exh. No. 26. Counsel also argued that the weakness of the evidence of robbery made the

issue especially prejudicial, as the intent to rob was not only a contested fact at trial, but was also

critical to the finding of an aggravating circumstance. Id. at 25. And counsel cited to

Pennsylvania cases that found counsel ineffective for similar errors. Id. (“Pennsylvania law is

clear and unequivocal: counsel is ineffective when evidence of prior crimes is presented and

counsel fails to seek a limiting instruction. Commonwealth v. Buehl, 658 A.2d 771, 777-778 (Pa.

1995)”).

       In short, Mr. Natividad, through his counsel, presented the state court with a developed

ineffectiveness claim that addressed both deficient performance and prejudice. The state court’s

reliance on the lack of specific argument regarding any objective reasons for the failure to object

is an unreasonable application of Strickland.

       To the extent Respondent might argue that the state court’s ruling was based on an

application of a procedural rule that found the ineffective assistance claim waived, such an

argument would still not preclude merits review. At the time Petitioner litigated these claims,

there was no established rule finding waiver based on supposedly undeveloped claims on

ineffective assistance. See Commonwealth v. Walker, 36 A.2d 1, 8-9 (Pa. 2011) (noting

“continuing difficulties” in the requirements of pleading ineffectiveness claims and allowing

remand to allow amendment of improperly pled claims unless the underlying claim can be

decided on the merits). Moreover, any procedural default should be excused under Martinez v.

Ryan, 566 U.S. 1 (2012), because the claim of ineffective assistance of trial counsel is



                                                  54
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 62 of 160




meritorious and state post-conviction counsel performed unreasonably. Id. at 17; Trevino v.

Thaler, 569 U.S. 413, 423 (2013); Workman v. Superintendent Albion SCI, 915 F.3d 928, 937-38

(3d Cir. 2019).

III.   PETITIONER WAS DENIED DUE PROCESS AND THE EFFECTIVE
       ASSISTANCE OF COUNSEL WHERE THE TRIAL COURT’S INSTRUCTIONS
       UNCONSTITUTIONALLY DIMINISHED THE COMMONWEALTH’S BURDEN
       OF PROOF AND NEGATED THE PARTIAL DEFENSE OF IMPERFECT SELF-
       DEFENSE, AND WHERE TRIAL COUNSEL FAILED TO OBJECT OR
       REQUEST APPROPRIATE INSTRUCTIONS.

       As part of defense counsel’s effort to raise a reasonable doubt defense, counsel argued in

part that, based on Price’s testimony, the shooting occurred in self-defense. Price had testified

that Petitioner believed that Campbell was attempting to draw the gun he carried (illegally) in a

holster on his hip, and in fear that Campbell intended to shoot him, Petitioner fired first.

Consistent with this view of the evidence, the trial court instructed the jury on both a complete

defense (self-defense) and a partial defense (voluntary manslaughter/imperfect self-defense).

       However, the trial court’s guilt phase instructions explaining the essential concepts of

malice, the Commonwealth’s burden of proof, and the partial defense of voluntary

manslaughter/imperfect self-defense were fundamentally flawed in a number of significant ways.

Individually and cumulatively, these errors diminished the Commonwealth’s burden of proof and

infringed upon the jury’s ability to fairly consider imperfect self-defense. Trial counsel was

ineffective for failing to object to these errors and/or request appropriate instructions. Petitioner

addresses each error individually below, but, ultimately, the cumulative impact of these

erroneous, conflicting, and confusing instructions must be viewed as a whole.15




15
  Petitioner also incorporates herein the errors committed by the trial court in its charge
concerning the permissible use of the “other crimes” evidence, as explained in Claim II of this
Memorandum.

                                                  55
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 63 of 160




          A.     Legal Standards

                 1.      Instructional error

          Due process prohibits the conviction of any person except upon proof beyond a

reasonable doubt. In re Winship, 397 U.S. 358, 364 (1970); see also Bennett v. Superintendent

Graterford SCI, 886 F.3d 268, 285 (3d Cir. 2018) (“Due process is violated when a jury

instruction relieves the government of its burden of proving every element beyond a reasonable

doubt.”). For this reason, “trial courts must avoid defining reasonable doubt so as to lead the jury

to convict on a lesser showing than due process requires.” Victor v. Nebraska, 511 U.S. 1, 22

(1994).

          Jury instructions, taken as a whole, must “clearly articulate the relevant legal standards”

and “avoid confusing and misleading the jury.” United States v. Johnstone, 107 F.3d 200, 204

(3d Cir. 1997). In reviewing a trial court’s instructions, “[t]he constitutional question…is

whether there is a reasonable likelihood that the jury understood the instructions to allow

conviction based on proof insufficient to meet the [constitutional] standard.” Victor, 511 U.S. at

6. See Cupp v. Naughten, 414 U.S. 141, 146-47 (1973). Due process is violated if “there is a

reasonable likelihood that the jury has applied the challenged instructions in a way” that lessens

the Commonwealth’s burden. Boyde v. California, 494 U.S. 370, 380 (1990); Smith v. Horn, 120

F.3d 400, 411 (3d Cir. 1997).

          A defect in an instruction may result in error where the other portions of the instruction,

although correct, do not explain or correct the defective language in the instruction. Bey v.

Superintendent Greene SCI, 856 F.3d 230, 241 (3d Cir. 2017); Everett v. Beard, 290 F.3d 500,

512 (3d Cir. 2002) (“The mere fact that the law was correctly stated in one part of the charge will

not automatically insulate the charge from a determination of error.”). Where a set of instructions

is correct only in part, “[l]anguage that merely contradicts and does not explain a constitutionally

                                                   56
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 64 of 160




infirm instruction will not suffice to absolve the infirmity” because “[a] reviewing court has no

way of knowing which of the two irreconcilable instructions the jurors applied in reaching their

verdict.” Francis v. Franklin, 471 U.S. 307, 322 (1985). Accord Bennett, 886 F.3d at 285.

       Instructions that unfairly direct a jury to conclude that a particular element of the crime

has been proven, or shift the burden of proof onto the defense, are constitutionally infirm.

Sandstrom v. Montana, 442 U.S. 510 (1979); Franklin, 471 U.S. at 316-317. If the language of

the instruction creates a reasonable likelihood that the jury interpreted the charge so as to create

an unconstitutional presumption, the instructions are constitutionally deficient. Rock v.

Zimmerman, 959 F.2d 1237, 1245 (3d Cir. 1992).

       The denial of a defendant’s right to a proper reasonable-doubt instruction constitutes

structural error and is not subject to harmless error analysis. Sullivan v. Louisiana, 508 U.S. 275,

281-82 (1993).

               2.      Ineffective assistance of counsel

       The Sixth Amendment affords criminal defendants the right to the effective assistance of

counsel. Strickland v. Washington, 466 U.S. 668, 684 (1984). To show a deprivation of that

right, a petitioner must show that his counsel’s performance was deficient, i.e., that it “fell below

an objective standard of reasonableness,” and that the defendant was prejudiced as a result, i.e.,

that “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of

the proceeding would have been different.” Id. at 687-88, 694. Thus, prejudice exists where there

is a reasonable probability that, but for counsel’s errors, a jury would likely have a reasonable

doubt about the defendant’s guilt. Hinton v. Alabama, 571 U.S. 263, 274 (2014); accord

Strickland, 466 U.S. at 695.




                                                  57
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 65 of 160




       B.      Malice Instructions

       As the evidence at trial supported self-defense and imperfect self-defense, the burden was

on the Commonwealth to disprove these defenses beyond a reasonable doubt. Commonwealth v.

Christy, 656 A.2d 877 (Pa. 1995). To disprove self-defense, the Commonwealth had to prove

that Petitioner did not believe that he was in danger of death or serious bodily injury, or that the

such a belief was unreasonable. Commonwealth v. Fisher, 493 A.2d 719, 722-723 (Pa. Super. Ct.

1985). To disprove imperfect self-defense, the Commonwealth had to prove that Petitioner did

not believe that he was in danger of death or serious bodily injury. 18 Pa. C.S. § 2503; see also

Commonwealth v. Light, 326 A.2d 288 (Pa. 1974)

       Malice was an essential element of first degree murder. The trial court instructed jurors

that malice may be inferred where there is “intentional use without legal excuse or legal

justification of a deadly weapon on a vital part of another human body.” NT 11/10/97, 101. This

is error because Petitioner’s defense as to the Campbell homicide was based in part on imperfect

self-defense. Where self-defense is not completely proved, because the belief in self-defense is

sincere but unreasonable, the proper verdict is that of voluntary manslaughter.

       Imperfect self-defense does not excuse or justify an intentional killing, but it lessens the

degree of culpability. The malice instruction allowed the jurors to find malice from the

intentional use of a firearm regardless of whether the prosecution had met its burden to disprove

imperfect self-defense. This left jurors in a position where, even if they believed Petitioner acted

in unreasonable but sincere self-defense, they were permitted to find malice. This instruction

impermissibly reduced the prosecution’s burden of proof. See Commonwealth v. McGuire, 409

A.2d 313 (Pa. 1979); Commonwealth v. Caye, 348 A.2d 136 (Pa. 1975).

       In this case, Petitioner was prejudiced by the trial court’s instructions, as the issue of

malice was hotly disputed. The error is illustrated in the table below:

                                                 58
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 66 of 160




  Instruction as Given               Proper Instruction                 Resulting Harm /
                                                                        Unconstitutional Result

  Jurors may infer malice from       Jurors may infer malice from       If jury believes that the
  any intentional shooting           any intentional shooting           shooting was in
  unless the shooting is one         unless the shooting is one         “unreasonable belief” of self-
  with legal justification or        with legal justification or        defense, jurors may still infer
  legal excuse.                      legal excuse or is an              malice; proper verdict is then
                                     unreasonable belief self-          First Degree Murder.
                                     defense shooting.



        The court’s definition of malice only compounded the problems. The court defined

malice as a “particular ill will against a particular person . . . recklessness of consequence . . . .”

NT 11/10/97, 101. Neither of these alternative definitions correctly defined malice under

Pennsylvania law and both substantially reduced the Commonwealth’s burden of proof.

        C.      Instructions on the Interrelationship between Malice and Self-Defense

        The trial court instruction as to the interrelationship between malice and self-defense was

flawed, as the trial court failed to elucidate that evidence of self-defense, from whatever source,

tends to negate the malice required for murder and that in order to meet its burden of proof on

the element of malice, the prosecution must exclude self-defense beyond a reasonable doubt. NT

11/10/97, 101-110, 125-128.

        Pennsylvania law requires a trial court to instruct the jury so as to convey the following

concepts: (1) that in order to prove murder, the prosecution must prove beyond a reasonable

doubt that the killing was malicious; (2) that evidence of self-defense, from whatever source,

tends to negate the malice required for murder; (3) that in order to meet its burden of proof on

the element of malice, the prosecution must exclude self-defense beyond a reasonable doubt.

Commonwealth v. Heatherington, 385 A.2d 338, 341 (Pa. 1978).While a trial court is free to use

its own language in instructing the jury, whatever language is used must explain accurately the


                                                   59
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 67 of 160




above-described relationship between evidence of self-defense and the essential element of

malice in a murder prosecution. Id. In short, the jury must be fully aware that the finding of

malice requires the exclusion of the defense of self-defense. Id.

        In this case, those commands were not honored. No matter how the entirety of the closing

charge is parsed, the trial court never explained these fundamental precepts. Without the

mandated guidance, the interrelationship between malice and self-defense remained unexplained.

        These same principles apply to voluntary manslaughter/imperfect self-defense. An

honest, but unreasonable, belief that defendant was in danger of death or serious bodily injury

negates malice and reduces the offense from murder to manslaughter, despite the fact that the

accused acted with the specific intent to kill. The trial court, however, merely instructed the jury

that voluntary manslaughter “is the intentional killing of a human being, but without malice.” NT

11/10/97, 108. The court never explained how, under the law, a killing could be intentional, yet

not malicious. Moreover, because the Commonwealth has the burden to prove malice beyond a

reasonable doubt, it also has the burden to disprove imperfect self-defense. Yet, again, the trial

court never explained this burden. Here, the trial court’s instructions failed to explain these

crucial interrelationships. The error was prejudicial.

        [B]ecause there was a factual dispute as to whether the victim actually throttled
        appellant from behind before the shooting, a dispute going to the reasonableness
        of appellant's asserted belief that his life was in danger, we cannot say that the
        trial judge's failure to instruct in accordance with Cropper could not have
        contributed to the verdict. Thus, the error is not harmless.

Harrington, 385 A.2d at 342. Here, because there was a “factual dispute” as to whether Mr.

Campbell drew or reached for a gun, “a dispute going to the reasonableness of [Petitioner’s]

asserted belief that his life was in danger . . . the error is not harmless.” This factual dispute went

directly to the reasonableness of Petitioner’s asserted belief that his life was in danger. Thus, the

trial court’s instructional errors went to the critical question before the jury.

                                                  60
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 68 of 160




       D.      Self-Defense Instructions

       The trial court erred in defining self-defense by instructing jurors that Petitioner had to be

free from fault in order to avail himself of that defense, NT 11/10/97, 126-127, an instruction in

contravention of the statutory right of self-defense and Pennsylvania case law.

       18 Pa. C.S. § 505(b)(2) provides that a person may not claim self-defense if

       (i) the actor, with the intent of causing death or serious bodily injury, provoked
       the use of force against himself in the same encounter.

The intent component of §505(b)(2) was an essential requirement that the Commonwealth had to

prove beyond a reasonable doubt in order to preclude Petitioner’s right to act in self-defense. See

Commonwealth v. Samuel, 590 A.2d 1245, 1248 (Pa. 1991). Because, in a self-defense case, the

burden of disproving each element is on the Commonwealth, the jury must be instructed on each

portion of the defense.

       In this case, the trial court’s instructions substituted a “free from fault” requirement for

the legislatively-defined intent requirement. Thus, the jury was never instructed that the

Commonwealth was required to prove, beyond a reasonable doubt, that Petitioner provoked the

use of force with the intent of causing death or serious bodily injury to the deceased. This

omission unconstitutionally diminished the Commonwealth’s burden of proof.

       Where a trial court erroneously instructs a jury on the theory of defense (particularly an

affirmative defense) in a manner that reduces the Commonwealth's burden of proof, the accused

is prejudiced. Petitioner was denied consideration of a defense guaranteed by the legislature and

thus was severely prejudiced by this instruction.

       E.      Counsel Was Ineffective

       Trial counsel was ineffective in failing to object to the erroneous charge or request an

appropriate charge, as the court’s instructions were in conflict with state law and violated


                                                 61
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 69 of 160




Petitioner’s due process rights. There could be no reasonable strategy for failing to raise this

meritorious claim, as the claim is well supported by constitutional law, and there was no benefit

to Petitioner from instructions that diminished the Commonwealth’s burden of proof and

compromised his defense.

       In Everett v. Beard, the trial court's jury instructions removed the burden of proof, as to

one element, from the prosecution. The Court of Appeals concluded that “jury instructions that

suggest a jury may convict without proving each element of a crime beyond a reasonable doubt

violate the constitutional rights of the accused.” 290 F .3d at 510. This same error occurred here.

As the Third Circuit explained in a parallel context,

       Given our discussion of the nature of the defect in this charge, and the problems
       that arise from it, it follows a fortiori that unless counsel had a strategic reason for
       not objecting, Whitney will satisfy the first prong of Strickland. Whitney has not
       offered any testimony about trial counsel's reasons for not objecting, and Whitney
       has the burden of establishing ineffectiveness. However, we cannot imagine any
       justification for a defense attorney not attempting to correct this kind of error in
       an instruction on the only defense his/her client could possibly have to a charge of
       capital murder.

Whitney v. Horn, 280 F.3d 240, 258 (3d Cir. 2002).

       Counsel’s failure to object deprived Mr. Natividad of the effective assistance of counsel.

See Bey, 856 F.3d at 238 (“Generally, trial counsel’s stewardship is constitutionally deficient if

he or she ‘neglect[s] to suggest instructions that represent the law that would be favorable to his

or her client supported by reasonably persuasive authority’ unless the failure is a strategic

choice” (quoting Everett, 290 F.3d at 514)); see also id. at 238-39 (“any alert counsel should

have immediately known that [the instruction] raised serious constitutional issues”).

       F.      The State Court Opinion

       Petitioner raised a claim that counsel was ineffective for failing to object to these

instructional errors during PCRA proceedings. On PCRA appeal, the Pennsylvania Supreme


                                                 62
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 70 of 160




Court addressed each claim of instructional error as a separate ineffectiveness claim. For

differing reasons, the state court found that the individual ineffectiveness claims failed and

denied relief. Natividad-2 at 326-29.

        These rulings did not adjudicate the claim actually raised. Petitioner raised a single claim

of ineffective assistance, asserting multiple failures on counsel’s part and asserting that the

combined effect of these errors was prejudicial. The Pennsylvania Supreme Court’s instruction-

by-instruction rulings did not address the actual claim raised, and thus this court’s review should

be de novo.

        Assuming arguendo, however, that the state court’s ruling was an adjudication on the

merits, Petitioner is still entitled to relief.

                 1.      Malice instructions

        The Pennsylvania Supreme Court did not conduct a Strickland analysis. The court did not

determine whether counsel’s failure to object constituted deficient performance or whether the

failure to object to the erroneous instructions was prejudicial. Instead, the state court found that

counsel’s assertions that no reasonable strategy could excuse the failure to object and that the

failure to object was prejudicial was insufficient to establish the claim. Id. at 326.16 The state

court’s failure to engage the two-part Strickland analysis was both contrary to, and an

unreasonable application of, Strickland. See Brooks v. Gilmore, No. 15-5659, 2017 WL 3475475

at *8-*9 (E.D. Pa. Aug. 11, 2017) (despite the deference accorded to the state court’s decision,




16
  To the extent this ruling might be considered a finding of waiver, any such rule would not be
adequate and independent. Moreover, to the extent that PCRA counsel failed to properly plead an
ineffective assistance of trial counsel claim, counsel’s error rendered him ineffective and
establish cause and prejudice under Martinez and Trevino. Alvarado v. Wetzel, No. 16-3586,
2019 WL 3037148, at *8-*9 (E.D. Pa. July 10, 2019). See generally Claim II.D.

                                                  63
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 71 of 160




its failure to grapple with the specific language of the instruction or the law governing the claim

rendered its decision objectively unreasonable).

       In a footnote, the Pennsylvania Supreme Court discussed the merits of the trial court’s

instructions as a matter of state law, without acknowledging or engaging in a due process

analysis. The court conceded that the trial court’s instructions did not clearly explain the malice

requirement in light of the unreasonable self-defense theory offered by the defense but held that,

when read as a whole, other portions of the instructions properly defined the elements of

unreasonable self-defense and thus cured any error. The court explained that while “malice

instruction may have indirectly allowed for the possibility of finding malice while also finding

unreasonable but sincere self-defense, the voluntary manslaughter instruction specifically

forbade the jury from making such a finding.” Natividad-2 at 326 n.9.

       The court’s analysis cannot survive habeas review. The correctly stated portions of the

charge did nothing to correct or explain the constitutionally infirm portions. See Francis, 471

U.S. at 322 (“Language that merely contradicts and does not explain a constitutionally infirm

instruction will not suffice to absolve the infirmity. A reviewing court has no way of knowing

which of the two irreconcilable instructions the jurors applied in reaching their verdict.”);

Whitney, 280 F.3d at 256 (“[W]hile a single defect does not necessarily make an instruction

erroneous, a defect in a charge may result in legal error if the rest of the instruction contains

language that merely contradicts and does not explain the defective language in the instruction.”

(internal citations omitted)); United States v. Hernandez, 176 F.3d 719, 731 (3d Cir. 1999)

(“[W]hen an erroneous instruction is given, a subsequent clarification must be sufficiently clear

and compelling to allow a reviewing court to conclude that there was no reasonable likelihood

that the initial inaccuracy affected the jury’s deliberations.”); Humanik v. Beyer, 871 F.2d 432,



                                                  64
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 72 of 160




442 (3d Cir. 1989) (“A charge that contradicts a constitutionally impermissible instruction does

not cure the problem.”). Thus, the state court’s ruling was an unreasonable application of

Francis.

                 2.      Malice and self-defense

          The Pennsylvania Supreme Court adopted a somewhat different approach to Petitioner’s

claim that the malice instructions failed to explain that self-defense negates malice and that it is

the Commonwealth’s burden to disprove the elements of self-defense beyond a reasonable doubt.

The state court found that appellate counsel’s argument was adequately developed. Natividad-2

at 328.

          The court acknowledged that the jury was never told that self-defense negates malice.

Nevertheless, the court again looked to other portions of the instructions in which the jury was

told that self-defense was a complete defense and that it was the Commonwealth’s burden to

prove beyond a reasonable doubt that Petitioner did not act in self-defense. Id. For the same

reasons stated above, this analysis was contrary to and an unreasonable application of both

Franklin and Strickland.

                 3.      Self-defense “free from fault” instruction

          The Pennsylvania Supreme Court held that post-conviction counsel’s use of boilerplate

language to argue that counsel had no reasonable strategy for failing to object and to also argue

that Mr. Natividad was prejudiced as a result “fails to satisfy his burden of proving that counsel

was ineffective.” Natividad-2 at 327. For the same reasons discussed, supra, this analysis was

both contrary to, and an unreasonable application of, Strickland and Franklin.

          G.     Conclusion

          Counsel wanted the jury to consider either that Mr. Natividad acted in self-defense or that

Mr. Natividad’s unreasonable belief that he was in immediate danger of death or serious bodily

                                                   65
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 73 of 160




injury reduced his culpability to that associated with voluntary manslaughter. However, counsel

failed to ensure that the jury was properly instructed on the prosecution’s burden of proof in light

of this defense as well as on all facets of these defenses. Thus, there is a reasonable possibility

that the jury would have not convicted Mr. Natividad of first degree murder had it been properly

instructed. Counsel was ineffective.

IV.    PETITIONER WAS DENIED THE EFFECTIVE ASSISTANCE OF COUNSEL,
       DUE PROCESS, AND HIS RIGHTS UNDER THE EIGHTH AMENDMENT AND
       A FAIR AND RELIABLE GUILT-INNOCENCE AND PENALTY PROCEEDING
       BY TRIAL COUNSEL’S FAILURE TO OBTAIN EVIDENCE REGARDING THE
       HOMICIDE VICTIM’S FIREARM NON-LICENSURE (THE NON-
       DISCLOSURE OF WHICH VIOLATED BRADY v. MARYLAND).

       Robert Campbell, the deceased in this matter, had a firearm in his possession at the time

of the fatal shooting. Mr. Campbell was identified to the jury, throughout trial17 and at the

penalty hearing18, as a Town Watch member, in order to ‘explain’ his possession of the firearm.

As the Commonwealth acknowledged at the state post-conviction hearing, Campbell was not

licensed to carry that firearm. NT 10/31/05, 43.

       Trial counsel did not investigate the background of the decedent, or the status of the

license for the concealed weapon he carried. NT 10/31/05, 43. Given Petitioner’s alleged

admission to Byron Price that the decedent drew or reached for a gun, there is no reasonable

explanation for this failure to investigate. Nor did trial counsel investigate the legality of the

decedent’s gun prior to the penalty phase of Petitioner’s case. This is true even though trial

counsel was on notice, albeit short, that the Commonwealth planned to introduce victim impact




17
   In the opening statement, the Commonwealth contended that the shooting was malicious and
without provocation and that the victim was an innocent Town Watch member (apparently
carrying the firearm relative to that status). See NT 11/9/97, 134.
18
   The victim impact testimony described the decedent to the jury as “an active town watch
member [who] was very involved in his community.” NT 11/12/97, 57-58.

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      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 74 of 160




statements at the penalty hearing, and that the decedent’s background would be relevant. NT

10/31/05, 41.

       A.       Impact on Petitioner’s Defense

       The Commonwealth countered trial counsel’s arguments concerning self-defense by

asserting that the shooting was malicious and without provocation and that the victim was an

innocent Town Watch member (apparently carrying the firearm relative to that status). NT

11/9/97, 134, 138 (prosecution opening). Given the prosecution’s case theory, the fact that Mr.

Campbell was not licensed to carry the firearm was critical. This evidence would have countered

the impression of good character conveyed by the depiction of the deceased as a Town Watch

member and separately supported the defense contention of self-defense by establishing criminal

conduct on the part of the deceased.19 At sentencing, both of these “circumstances of [the]

offense” were critical penalty-trial mitigation concerns. 42 Pa. C.S. §9711(e)(8).

       The evidence is legally significant. The Pennsylvania Supreme Court explained in

another case that “non-licensure [of a firearm] suggests the stealth by which many criminal

objectives are furthered and achieved.” Commonwealth v. Hall, 830 A.2d 537, 549 (Pa. 2003). If

such an inference can be drawn against a criminal defendant, then the due process right to

present a defense allows a defendant to present the same evidence regarding the victim and seek

a jury inference regarding that victim.

       B.       Prejudice at the Sentencing Phase

       The lack of this information rendered the sentencing hearing unconstitutionally

unreliable, as the Eighth Amendment requires in particular a heightened reliability in capital



19
   After the post-conviction hearing in this case, the trial judge acknowledged the relevance of
this evidence. “[T]his was evidence which certainly could have been presented at trial . . . .”
PCRA Op. 12/30/05, 9, App. Exh. No. 14.

                                                67
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 75 of 160




sentencing proceedings. Woodson v. North Carolina, 428 U.S. 280, 305 (1976). The Eighth

Amendment required that the jury be able to consider, and give weight to, any potentially

mitigating evidence arising from the defendant’s background or from the circumstances of the

crime. Mills v. Maryland, 486 U.S. 367, 374-75 (1988); Eddings v. Oklahoma, 455 U.S. 104,

110-12 (1982).

       The absence of evidence that Mr. Campbell was not licensed to carry a firearm resulted in

harm to Petitioner. The victim impact evidence described the decedent to the jury as “an active

town watch member [who] was very involved in his community.” NT 11/12/97, 57-58. The

evidence of non-licensure would have been admissible to counter this evidence, and, as trial

counsel testified, the jury could have decided that there would have been no shooting if Mr.

Campbell did not have a weapon with him, since he was not licensed. NT 10/31/05, 93.

       C.      Trial Counsel’s Deficient Performance

       The duty of counsel to undertake a reasonable investigation is part of the Sixth

Amendment right to counsel. Strickland v. Washington, 466 U.S. 668, 691 (1984). Counsel also

has the duty to assure that his client’s case is presented in the most favorable light.

Commonwealth v. Saxton, 532 A.2d 352, 354 (Pa. 1987).

       Trial counsel failed to undertake the most rudimentary and fundamental investigation, a

failure that was both inexplicable and detrimental to his client. A simple subpoena duces tecum,

issued to the police department, or a discovery request to the prosecution, would have confirmed

that the gun was possessed illegally.

       Trial counsel’s failure to investigate the illegality of the gun held by the decedent

deprived Petitioner of effective assistance of counsel in violation of the Sixth Amendment.

Under the Sixth Amendment, counsel’s penalty-phase investigation is unreasonable unless

counsel attempts to review and respond to reasonably available evidence that the prosecution is

                                                  68
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 76 of 160




likely to use in its penalty phase case. Rompilla v. Beard, 545 U.S. 374, 383-84 (2005). This did

not occur here.

       D.         Due Process Violations

       The Commonwealth violated the Due Process Clause of the Fourteenth Amendment

depriving Petitioner of evidence material to guilt/innocence and his sentence by failing to

disclose the fact of non-licensure. See Brady v. Maryland, 373 U.S. 83 (1963). Here, the

prosecutor never disclosed the material in police hands relating directly to the issue of

culpability. The Commonwealth relied on Mr. Campbell’s status as a Town Watch member to

explain possession of the firearm and, indirectly, assert the character of the deceased. Thus,

Petitioner was deprived of critical material to support his claim of self-defense and to overcome

the victim impact evidence regarding the deceased, both critical concerns at the penalty trial.20

       Notice of the intent to present victim impact testimony was not provided by the

Commonwealth until near the conclusion of trial, and the victim impact statement read by the

decedent’s wife was not turned over until at or near the end of trial. NT 11/12/97, 4-5. The fact

of non-licensure shows how this untimely notice deprived Petitioner of due process of law and

his rights under the Eighth Amendment, as Petitioner was not provided any opportunity to

investigate and effectively respond to this particularly powerful proof.



20
  During the August 7, 2014 review of the prosecutor’s and detectives’ files ordered by this
Court, the Commonwealth disclosed paperwork showing that the police had indeed determined
that Mr. Campbell did not have a license to carry:

       From Inspector:

       Did Campbell have a license to carry for the fire arm he had on him. -
       Checked w/gun permit section - 6 -3112 They stated he had no permit to
          carry from Phila. P.D. or in any Penna. County – P/O Donlon.

App. Exh. No. 43 (Exh. 10 to PCRA Supplement filed on Oct. 6, 2014).

                                                 69
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 77 of 160




       In sum, Petitioner’s jury, trying to decide whether Petitioner was proved beyond a

reasonable doubt to have not acted in self-defense, and thereafter weighing victim impact

evidence in deciding whether aggravating circumstances outweighed mitigating circumstances,

lacked a critical piece of information. While the Commonwealth portrayed the deceased as a

Town Watch member who just happened to have his firearm with him (presumably as part of his

Town Watch responsibilities), he was in fact breaking Pennsylvania law.

       E.      The State Court Opinion

       The Pennsylvania Supreme Court rejected this claim and sought to distinguish Hall. The

court said that Hall requires a case-by-case analysis and, here, there was “no other evidence that

Mr. Campbell was about to engage in illegal conduct.” Natividad-2 at 330.

       The state court rejected the claim that evidence of the lack of a permit would have

supported the self-defense theory because the “unlicensed gun was snapped in Mr. Campbell’s

holster at the time of the shooting.” Id. It added that the shooter did not know that the gun was

not licensed and, therefore, that would not factor into a fear of death or serious bodily injury. Id.

The court held there was no prejudice to Petitioner.

       With respect to the claim related to sentencing, the court stated that the claim was denied

for “many of the reasons” set forth in the guilt phase analysis. Natividad-2 at 331. It added that

Petitioner did not explain how the evidence of the lack of a licensure would have added to the

mitigation presentation. The court stated that the lack of licensure “bears little relevance when

placed in context with the evidence gathered at the crime scene.” Id.

       The state court denied Petitioner’s due process/Brady claim, stating that the prosecution

did not have to provide evidence if it was “readily obtainable by the defendant.” Natividad-2 at

331 n.15. With no analysis – simply citation to sections of the PCRA statute and parentheticals –



                                                 70
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 78 of 160




the state court asserted that the due process claim was waived, apparently because “petitioner

could have raised it in [a] prior proceeding.” Id. (citing 42 Pa. C.S. §§ 9544(b) & 9543(a)(2)(ii)).

       F.      The State Court’s Decision Is Contrary to Federal Law and Based on
               Unreasonable Determinations of Fact

       The state court’s decision that the failure to present the lack of licensure did not prejudice

Petitioner’s guilt phase defense is based on an unreasonable determination of fact. The court held

that the lack of licensure had “almost no probative value.” Natividad-2 at 330. However, when

staking out its rationale, the state court made an unreasonable determination of fact regarding

how the lack of licensure would have been useful to the defense. As trial counsel testified at the

PCRA hearing, the jury could have reasonably determined that there would have been no

shooting whatsoever if the victim had complied with the law and had not packed his handgun.

NT 10/31/05, 45. The holster was under the victim’s jacket on his waist on the right side. It was

shiny and nickel-plated. NT 11/5/97, 207, 210; NT 11/6/97, 83. If there was no shiny gun on the

victim’s waist, it is much less likely that the shooter would have felt threatened and would have

shot. See NT 11/6/97, 15 (Commonwealth witness Byron Price testified, after the shooting, that

Petitioner explained, “He drew on me.”).

       When denying relief as to the death sentence, the state court principally relied on its guilt

phase analysis. The non-licensure “had little relevance.” Natividad-2 at 331. Again, this is an

unreasonable determination of fact. The revelation of non-licensure would have impacted the

jury’s impression of the victim impact statement Mrs. Campbell read that the victim “was an

active town watch member and was very involved in his community.” NT 11/12/97, 57-58. It

would have rebutted the impression conveyed that he was a law-abiding citizen engaged in Town

Watch activities. Also, as trial counsel testified, the non-licensure would have presented the jury




                                                 71
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 79 of 160




with facts that could mitigate the shooting by reasonably concluding that it would not have

occurred. NT 10/31/05, 45.

       This is a case where the jury found aggravating and mitigating circumstances. Natividad-

1 at 171. It is reasonably likely that the fact that the victim was carrying the gun without a license

would have impacted at least one juror’s weighing of the mitigation against the aggravation. The

Pennsylvania Supreme Court’s analysis improperly diminished the impact the unheard evidence

would likely have had and, in so doing, its decision was contrary to clearly established law. It did

not consider whether there was a reasonable likelihood the unpresented evidence would have led

one juror to vote for life. That is the proper constitutional standard, but the Pennsylvania

Supreme Court did not use it. Wiggins v. Smith, 539 U.S. 510, 537 (2003) (sentencing relief is

due in a capital case where “there is a reasonable probability that at least one juror would have

struck a different balance” between the mitigating and aggravating factors).

       Finally, the Pennsylvania Supreme Court’s denial of the due process/Brady claim was

contrary to and/or an unreasonable application of clearly established federal law. The state court

held that the prosecution is not obligated to provide Brady material when the defendant can get

it. That is contrary to and an unreasonable application of clearly established federal law. There is

no prong in Brady and its progeny that requires a defendant to show that he could not have

gotten the Brady material independent of the government, i.e., with the exercise of due diligence.

Dennis v. Sec’y, Pa. Dep’t of Corr., 834 F.3d 263, 293 (3d Cir. 2016) (en banc) (“Adding due

diligence, whether framed as an affirmative requirement of defense counsel or as an exception

from the prosecutor’s duty, to the well-established three-pronged Brady inquiry would . . . be an

unreasonable application of, and contrary to, Brady and its progeny.”).




                                                 72
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 80 of 160




       To the extent the state court relied on waiver, the bar is neither adequate nor independent.

Coleman v. Thompson, 501 U.S. 722, 729 (1991). The state court seemed to assert that appellate

counsel should have gotten the Brady material after trial to assert a Brady claim on appeal.

However, the state court does not acknowledge in its analysis that trial counsel and appellate

counsel were the same person. Trial counsel could not be expected to obtain the exculpatory

material once he became appellate counsel. If counsel had done so, it would be tantamount to

demonstrating his own ineffectiveness which Pennsylvania law does not permit or expect him to

raise. Commonwealth v. Kimball, 724 A.2d 326, 332-33 (Pa. 1999) (“it is unrealistic to expect

trial counsel on direct appeal to raise his own ineffectiveness”); Commonwealth v. Wallace, 724

A.2d 916, 921 (Pa. 1999) (when trial counsel is also direct appeal counsel, claims of trial

counsel’s ineffectiveness are raised in the PCRA); see also Commonwealth v. Ciptak, 665 A.2d

1161, 1161-62 (Pa. 1995) (“As a general rule, a public defender may not argue the

ineffectiveness of another member of the same public defender’s office since appellate counsel,

in essence, is deemed to have asserted a claim of her or her own ineffectiveness.”).

       In addition, the asserted waiver is not independent because it contravenes the rule in

Dennis – set forth above – that there is no due diligence requirement (placed upon a petitioner)

that excuses a Brady violation. To the contrary, there is an ongoing duty on behalf of the

prosecution to produce Brady material. Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987) (“the

duty to disclose is ongoing”); Imbler v. Pachtman, 424 U.S. 409, 427 n.25 (1976) (“after a

conviction the prosecutor . . . is bound by the ethics of his office to inform the appropriate

authority of after-acquired or other information that casts doubt upon the correctness of the

conviction”); accord Commonwealth v. Williams, 732 A.2d 1167, 1175-76 (Pa. 1999) (holding

that the Commonwealth’s duty to disclose continues through all stages of the judicial process).



                                                 73
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 81 of 160




V.      PETITIONER WAS DENIED A FAIR TRIAL BECAUSE THE
        COMMONWEALTH VIOLATED THE DUE PROCESS CLAUSE WHEN IT DID
        NOT DISCLOSE EXCULPATORY INFORMATION MATERIAL TO
        PETITIONER’S ABILITY TO PRESENT A DEFENSE AT TRIAL.

        This claim, as supplemented, has already been addressed.

VI.     PETITIONER WAS DENIED HIS RIGHT TO THE EFFECTIVE ASSISTANCE
        OF COUNSEL WHERE TRIAL COUNSEL FAILED TO IMPEACH MICHAEL
        HAVENS WITH HIS PRIOR STATEMENTS AND WHERE TRIAL COUNSEL
        OPENED THE DOOR TO THIRD-PARTY THREATS OF A WITNESS.

        As demonstrated in Claim V, the Commonwealth suppressed material exculpatory and

impeachment evidence. In addition, counsel was ineffective for failing to develop the

impeachment evidence he had in his possession, including the prior inconsistent statements of

Michael Havens, and for opening the door to otherwise inadmissible testimony that Byron Price

was threatened by Petitioner’s relative. Although Petitioner is entitled to relief due to the

cumulative effect of these errors, each of the claims discussed below individually entitles

Petitioner to relief.

        A.      Strickland and the Duties of Capital Counsel

        Under Strickland v. Washington, 466 U.S. 668 (1984), a petitioner seeking to establish

the ineffective assistance of trial counsel must show: (1) that counsel’s performance was

deficient because it fell below “an objective standard of reasonableness,” id. at 688; and (2) that

the deficient performance prejudiced the defense because there is a reasonable probability that,

but for counsel’s errors, the outcome would have been different. Id. at 695; see Hinton v.

Alabama, 134 S. Ct. 1081, 1089 (2014) The question is not whether the jury would have credited

the evidence developed in the post-conviction proceedings, but whether the nature and quality of

that evidence would have created a reasonable probability that a juror would have had a

reasonable doubt. See Strickland, 466 U.S. at 695; Hinton, 134 S. Ct. at 1089.



                                                 74
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 82 of 160




       In assessing prejudice, a reviewing court considers the effects of more than one

deficiency cumulatively. A cumulative-error analysis “aggregates all the errors that individually

have been found to be harmless, and therefore not reversible, and it analyzes whether their

cumulative effect on the outcome of the trial is such that collectively they can no longer be

determined to be harmless.” Albrecht v. Horn, 485 F.3d 103, 139 (3d Cir. 2007). See also

Marshall v. Hendricks, 307 F.3d 36, 94 (3d Cir. 2002) (evaluating prejudice in light of

cumulative errors); Berryman v. Morton, 100 F.3d 1089, 1097-1102 (3d Cir. 1996) (same).

       B.      Failure to Impeach Michael Havens

       Because of counsel’s ineffectiveness, the jury never learned that, when initially

interviewed by the police, Havens’ description of the individual who carjacked him did not

match Petitioner in critical respects. Although Havens later identified Petitioner, he only did so

after seeing Petitioner’s picture on the news, making his identification of Petitioner unreliable.

Had the jury also heard the full scope of how Havens’ description of his assailant changed, it

would not have credited his testimony.

               1.      Counsel’s performance was deficient

       At trial, Havens testified with certainty that Petitioner was the person who approached

him with a gun and threatened to shoot him. NT 11/5/97, 149. However, Havens’ identification

of Petitioner was tainted by circumstances prior to trial when he saw Petitioner’s photo on

television. Id. at 184-86. Moreover, there was impeachment evidence that was available to

counsel that he did not use.

       Counsel had in his possession two prior statements by Havens taken close in time to the

incident where Havens described his assailant as having a “dark complexion” and “a [sic] earring

in his left ear.” When initially questioned by about his robbery, Havens described his assailants

as both being approximately 5’9 inches tall with dark complexions and wearing sweatshirts and

                                                 75
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 83 of 160




jeans. See App. Exh. No. 16 (75-49 dated 11/9/96). In a subsequent statement to police, Havens

added that the person who held the gun on him was wearing a black, three-quarters length leather

jacket and perhaps had an earring in his left ear. See App. Exh. No. 17 (75-483A dated 12/2/96).

In neither statement did Havens describe his assailant as missing his two front teeth. Petitioner,

however, has a light complexion and at the time of the crime did not have an earring and was

missing his two front teeth.

       There is no reasonable strategic basis for not impeaching Havens with his prior

statements. Petitioner’s defense to the carjacking was simple—he maintained his innocence of

the crime and challenged the identification testimony. Counsel questioned Havens about his

failure to mention the leather jacket and earring in his first statement to police, NT 11/5/97, 180-

81, and his failure to mention the assailant’s missing teeth at all. Id. 182-83. And counsel argued

in closing that these discrepancies in Havens’ statements showed that his subsequent

identification of Petitioner was tainted by his exposure to news accounts of Petitioner’s arrest.

NT 11/10/97, 29-31. Under these circumstances, counsel could have no reasonable strategic

basis for not also impeaching Havens on the change in the perpetrator’s complexion between his

initial interview with police and his testimony at trial.

       Counsel’s omission was not inadvertent but was symptomatic of his failures to impeach

critical witnesses. For example, when cross examining Price, counsel never asked him if he was

involved in the Havens carjacking. Counsel had in his possession the statement of a witness who

claimed that “Byron told me that they [Price and Petitioner] had carjacked a guy at a gas station

in Yeadon . . . [and] torched [the car] in [G]ermantown.” App. Exh. No. 18 (Statement of




                                                  76
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 84 of 160




Dwayne Davis). Counsel asked Price if he “torch[ed]” the car, NT 11/6/97, 68, but failed to

impeach him with this statement when Price claimed that he had not.21

               2.      Petitioner was prejudiced

       Counsel argued that Havens’ identification of Petitioner was unreliable because he only

identified Petitioner after seeing his photograph on television when Petitioner was arrested in

connection with the Campbell homicide. Counsel made limited argument with regard to the

discrepancies between the descriptions provided by Havens at the time of the carjacking and his

testimony at trial. His argument could have been much stronger had he presented additional

evidence that showed material changes in Havens’ description of his assailant. This alone could

have created reasonable doubt. Prejudice to Petitioner is further supported by the fact that

Havens’ testimony was the only direct link to the carjacking, which was used in to prove identity

and intent in the Campbell homicide. See Claim II, supra.

       For this reason, any evidence that cast doubt upon the accuracy of Havens’ identification

was also critical to Petitioner’s defense to the homicide charges. Where the “reliability of [the]

victim’s uncorroborated identification of [Petitioner] cuts directly to the heart of the only

evidence” against him, counsel’s failure to impeach the identification in all respects is

prejudicial. Berryman, 100 F.3d at 1098; see also Simmons v. Beard, 590 F.3d 223, 236 (3d Cir.

2009) (“where the government’s case ‘depended almost entirely on’ one witness’s testimony, the

credibility of that witness ‘was therefore an important issue in the case, and . . . the jury was

entitled to know of [any issue bearing on his credibility]” (quoting Giglio v. United States, 405

U.S. 150, 154-55 (1972)).




21
  When the Commonwealth produced Davis’s statement in pre-trial discovery, Davis’s last
name and address were redacted. See Exh. App. No. 44.

                                                  77
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 85 of 160




        C.      Opening the Door to Third-Party Threats of Byron Price

        Defense counsel did not intend to elicit testimony about the arrest of Petitioner’s relative

for assaulting Price, but counsel’s ineffective examination of Detective Charles Permint opened

the door for the Commonwealth to make inquiries into this area. After opening the door, counsel

tried to prevent this testimony by objecting to the Commonwealth’s redirect, but it was too late.

Counsel’s failure to ensure that the Commonwealth could not elicit testimony about the threats to

Price—which were otherwise ruled inadmissible—was ineffective.

                1.      Counsel’s performance was deficient

        Counsel was aware that Price contended that he was assaulted by a member of

Petitioner’s family. In fact, counsel moved in limine prior to the start of trial to preclude

allegations of witness intimidation. See generally, NT 11/5/97, 94-103. The prosecutor argued

that there were two reasons why testimony on allegations of witness intimidation were

admissible, including that he was “allowed to anticipate that . . . the reason why [Price] didn’t

come forward right away is because he was scared to death that he would be beaten.” Id. at 98.

        The trial court ruled that this testimony would be inadmissible “unless the door is

open[ed] on cross-examination and then it will relate to the state of mind of the witness only and

I’ll so state to the jury.” Id. at 100; see id. (“[T]he witness certainly would have the right to

explain his state of mind in not coming forward[.]”). At the time, defense counsel noted that it

would be “extremely prejudicial” for evidence that Price was assaulted by Petitioner’s relative to

be admitted, especially because the alleged assault occurred six months after Price first spoke

with the police. Id. at 102.

        In light of the warning from the court, counsel questioned Price at length concerning the

nature and timing of his contacts with the police but refrained from asking why he delayed in

speaking with the police. NT 11/6/97, 39-71. However, when questioning Detective Permint,

                                                  78
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 86 of 160




counsel asked him whether members of Petitioner’s family were questioned at Homicide. NT

11/7/97, 93 (“At least the two other times you said you brought three people in for further

questioning.”). As a result of this questioning, the prosecutor was permitted to elicit testimony

from Detective Permint on redirect examination that Petitioner’s uncle, Genardo McIlwain, was

arrested and charged with intimidation of a witness, Byron Price. Id. at 95-98. Although counsel

objected, the trial court ruled that counsel had “opened the door on . . . cross-examination.” Id. at

96. Inexplicably, counsel asked Detective Permint on re-cross examination whose complaint led

to the arrest, even though this question had already been asked and answered on redirect. Id. at

97-98. To which Detective Permint again replied, “Byron Price.” Id. at 98.

       Trial counsel’s performance when examining Detective Permint was deficient. See

Strickland, 466 U.S. at 686. Counsel had successfully argued that testimony regarding the

allegations of witness intimidation of Price would be inadmissible because the Commonwealth

had been unable to link those threats to Petitioner. See NT 11/5/97, 100 (“My ruling is it’s not

admissible unless, tied to the defendant[.]”). Counsel could and should have avoided questions

that opened the door to this otherwise inadmissible evidence.

       In White v. Taylor, 601 F.3d 890 (5th Cir. 2010), the Fifth Circuit found counsel’s

performance deficient when he questioned the defendant about his post-arrest silence because the

questioning “opened the door to the prosecutor’s cross-examination . . . and subsequent remarks

in the prosecutor’s closing argument.” Here, by asking Detective Permint whether Petitioner’s

family members were questioned by police, counsel opened the door to further questioning by

the prosecutor as to the nature of their contacts with police and allowed evidence of witness

intimidation to be admitted. Under the circumstances of this case, there is no reasonable tactic

for counsel’s actions.



                                                 79
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 87 of 160




               2.      Petitioner was prejudiced

       Had counsel not opened the door to testimony that Price was assaulted by one of

Petitioner’s relatives, there is a reasonable probability that the jury would have reached a

different result. Like Havens, Price was a critical witness for the Commonwealth. He was the

only witness to identify Petitioner as the person who shot Campbell. The Commonwealth used

Price’s willingness to come forward, despite the assault, as suggestive of his good character and

believability. NT 11/10/97, 67 (“I would suggest to you that Byron Price has something that

Ricardo Natividad will never have. And doesn’t have to this day, and that’s a conscience.”).

This error also operated in conjunction with impermissible “other acts” evidence arising from the

use of the Havens robbery to prove intent, see Claim II, to paint Petitioner as violent and to

undermine his defense. Because the testimony simultaneously weakened Petitioner’s credibility

before the jury as it bolstered the credibility of Price, there is a reasonable probably that absent

the error at least one juror would have had a reasonable doubt of guilt. See White, 610 F.3d at

906 (counsel’s performance was prejudicial where the defendant’s “credibility was the key to his

defense”); see also Berryman, 100 F.3d at 1099 (counsel’s cross-examination, which “opened

the door” to testimony that defendant’s codefendant was being investigated for an unrelated

homicide and robbery, was “a striking instance of ineffective assistance of counsel”).

       D.      The State Court Opinion

       Petitioner raised this claim in post-conviction proceedings. See Brief for Appellant at 28-

31, App. Exh. No. 26. In denying relief on these claims, the Pennsylvania Supreme Court did not

conduct an analysis under Strickland. Rather, the court ruled that counsel’s assertions that no

reasonable strategic basis could excuse trial counsel’s failure to object were insufficient to

establish the claim under Commonwealth v. Pierce, 527 A.2d 973, 975-76 (Pa. 1987). See

Natividad-2 at 323 (“noticeably absent is any meaningful attempt to invoke the second Pierce

                                                  80
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 88 of 160




prong); see id. at 324 (“[W]e cannot consider this one-sentence argument to constitute a

sufficient development of his claim.”). The state court’s failure to engage in the two part

Strickland analysis was both contrary to, and an unreasonable application of, Strickland. See

Brooks v. Gilmore, No. 15-5659, 2017 WL 3475475 at *8-9 (E.D. Pa. Aug. 11, 2017) (despite

the deference accorded to the state court’s decision, its failure to grapple with the specific

language of the instruction or the law governing the claim rendered its decision objectively

unreasonable).22

        Further, because the Pennsylvania Supreme Court did not address whether trial counsel’s

inaction prejudiced Petitioner, review of this aspect of the claim is de novo, and relief is

appropriate for the reasons stated above. See Porter v. McCollum, 558 U.S. 30, 39 (2009) (per

curiam) (“Because the state court did not decide whether Porter’s counsel was deficient, we

review this element of Porter’s Strickland claim de novo.”).

        With regards to Petitioner’s claim that counsel ineffectively opened the door to evidence

of third-party threats, the Pennsylvania Supreme Court also stated: “Moreover, we agree with the

Commonwealth that Mr. Price’s accusation of witness intimidation by [Petitioner’s] cousin did

not prejudice [Petitioner’s] defense.” Id. at 324. To the extent that this statement constitutes a

merits determination on whether or not counsel’s deficient performance prejudiced Petitioner, it

also is contrary to, and an unreasonable application of, Strickland.

        The Pennsylvania Supreme Court seems to suggest that the error is not prejudicial

because it did not relate to one of the defense’s theories at trial, self-defense. First, the court



22
  To the extent this ruling might be considered a finding of waiver, any such rule would not be
adequate and independent. Moreover, to the extent, if any, that PCRA counsel failed to properly
plead an ineffective assistance of trial counsel claim, counsel’s error rendered him ineffective
and establish cause and prejudice under Martinez and Trevino. Alvarado v. Wetzel, No. 16-3586,
2019 WL 3037148, at *8-*9 (E.D. Pa. July 10, 2019). See generally Claim II.D, supra.

                                                   81
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 89 of 160




unreasonably failed to consider that ensuring that the jury was not exposed to otherwise

inadmissible evidence is entirely consistent with Petitioner’s defense of reasonable doubt/self-

defense. Second, the court unreasonably failed to consider that because Price was the only

witness to identify Petitioner as the person who shot Campbell, his testimony squarely

contradicted the defense theory and his identification of Petitioner was made more credible by

evidence that he was assaulted by one of Petitioner’s relatives. Finally, because the Strickland

prejudice inquiry assesses the impact on the overall outcome of the case, the effect of all of

counsel’s deficient performance should be considered cumulatively. Strickland, 466 U.S. at 695

(a reviewing court must “consider the totality of the evidence before the judge or jury”). The

state court disregarded the impact on the trial of both the evidence that counsel failed to elicit

and the evidence that was improperly introduced. The failure to undertake this analysis is

contrary to, and an unreasonable application of, Strickland, in particular because the

Commonwealth’s case rested almost entirely on the testimony of Havens and Price. Given the

importance of Havens and Price to this case, it is reasonably likely that but for counsel’s failures,

the jury “would have had a reasonable doubt respecting guilt.” Id.

VII.   PETITIONER WITHDRAWS THIS CLAIM.

VIII. PETITIONER WAS DENIED HIS RIGHT TO A FAIR AND IMPARTIAL JURY
      IN VIOLATION OF THE SIXTH, EIGHTH, AND FOURTEENTH
      AMENDMENTS WHERE A JUROR FAILED TO INFORM THE COURT THAT
      HER FATHER WAS A POLICE OFFICER.

       “In all criminal prosecutions, the accused shall enjoy the right to a speedy and public

trial, by an impartial jury.” U.S. Const. amend. VI. An “impartial jury” is one “capable and

willing to decide the case solely on the evidence before it.” McDonough Power Equipment, Inc.

v. Greenwood, 464 U.S. 548, 554 (1984). The right to an impartial jury is nowhere as precious as

when a defendant is on trial for his life. See Ross v. Oklahoma, 487 U.S. 81, 85 (1988). “It is


                                                 82
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 90 of 160




vital in capital cases that the jury should pass upon the case free from external causes tending to

disturb the exercise of deliberate and unbiased judgment. Nor can any ground of suspicion that

the administration of justice has been interfered with be tolerated.” Mattox v. United States, 46

U.S. 140 (1892).

       In this case, Lillian Anderson served on the jury that convicted and sentenced Petitioner

to death. However, Juror Anderson inexplicably failed to inform the trial court and counsel that

she had a close relative who was a member of law enforcement. Had this critical information

been properly and truthfully disclosed, Petitioner could have challenged Juror Anderson for

cause and excluded her from jury service.

       During voir dire, Juror Anderson, along with all other prospective jurors, were asked to

fill out a juror questionnaire that asked whether they, or members of their immediate families,

had “ever worked as a police officer or in other law enforcement jobs.” They also were asked

whether they would be more or less likely to believe the testimony of a police officer. E.g., NT

11/3/97, 17.

       Juror Anderson did not answer either question affirmatively, though she did reveal that

she belonged to a Town Watch group in Northeast Philadelphia. Id. at 193. As a result of Juror

Anderson’s silence, neither the trial court nor defense counsel inquired into her relationship with

members of law enforcement or any bias on their behalf. Juror Anderson was selected as Juror

Number 12. Id. at 196. Contrary to her questionnaire answer, Juror Anderson’s father was a

police officer. See App. Exh. No. 19 (Declaration of John Anderson).23




23
  Juror Anderson died in 2010. Her husband, John Anderson, confirms that she served on a
Philadelphia jury in 1997 and that her father was a police officer.

                                                 83
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 91 of 160




       Petitioner is entitled to a new trial where even a single juror failed to disclose material

information in response to a question asked during voir dire if he “first demonstrate[s] that a

juror failed to answer honestly a material question on voir dire, and then further show[s] that a

correct response would have provided a valid basis for a challenge for cause.” McDonough, 464

U.S. at 556.

       Here, Petitioner has established that a seated juror failed to answer a material question

honestly during voir dire. In view of the circumstances of the crimes of which Petitioner has

been convicted, namely the killing of a Town Watch member, Juror Anderson’s close familial

relationship with a police officer, combined with her membership in a Town Watch group,

undermined her ability to deliberate in a fair and impartial manner. Under the circumstances of

this case, bias must be presumed.

       Indeed, Juror Anderson’s misrepresentation when answering the jury questionnaire of

itself is evidence of bias. See United States v. Columbo, 869 F.2d 149, 166-67 (2d Cir. 1989). It

is highly improbable that Juror Anderson could have forgotten that her father is a police officer.

Had Juror Anderson not intentionally withheld information material to the question of her

impartiality, her responses to these questions, along with her admitted participation in a town

watch group, would have provided a basis to challenge her for cause. The trial court excused

several prospective jurors for cause who stated that they would be more likely to believe the

testimony of a police officer. E.g., NT 11/3/97, 113-14 (Donn Gustafson); id. at 160-66 (Joanne

Hayes). Moreover, defense counsel struck several prospective jurors who were related to or were

friends/co-workers of police officers. E.g., NT 10/31/97, 151-54 (Jodi Banks); NT 11/3/97, 142-

47 (Alan Mumber); id. at 176-81 (Shelby Yim).




                                                 84
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 92 of 160




        Juror Anderson deliberately concealed a close familial relationship with a police officer,

and her deliberate concealment is evidence of her bias. In light of this misconduct, Petitioner is

entitled to a new trial.

IX.     PETITIONER’S RIGHTS WERE VIOLATED WHERE THE PROSECUTOR
        MADE IMPROPER CLOSING REMARKS AT THE GUILT PHASE, AND
        WHERE TRIAL COUNSEL FAILED TO OBJECT TO THE IMPROPER
        COMMENTS.

        A prosecutor’s duty is not merely to win, but to seek justice. Berger v. United States, 295

U.S. 78, 88 (1935). As part of that duty, a prosecutor has a special obligation to avoid improper

conduct. Because of the prosecutor’s prominent courtroom role as representative of the

Commonwealth – and the mantle of respect and authority this creates in the eyes of the jury –

jurors are predisposed to give great deference to the prosecutor’s words and actions, and

improper prosecutorial arguments have a heightened impact on the jury. Id.; accord Drake v.

Kemp, 762 F.2d 1449, 1459 (11th Cir. 1985) (“Arguments delivered while wrapped in the cloak

of state authority have a heightened impact on the jury.”).

        While a prosecutor “may strike hard blows, he is not at liberty to strike foul ones.”

Berger, 295 U.S. at 88. When a prosecutor’s argument infects the trial with unfairness, due

process is violated. Moore v. Morton, 255 F.3d 95, 105-06 (3d Cir. 2001); Lesko v. Lehman, 925

F.2d 1527, 1546 (3d Cir. 1991). Even where individual remarks by themselves do not create a

due process violation, their cumulative effect may. Id.; cf. Donnelly v. DeChristoforo, 416 U.S.

637, 645 (1974) (setting out the standard and finding no due process violation where a prosecutor

made an isolated, ambiguous comment which was followed by specific disapproving

instructions). On habeas review of a prosecutor’s argument, under established United States

Supreme Court precedent, a reviewing court must examine the prosecutor’s offensive actions in

the context of the entire trial, assessing the severity of the conduct, the effect of the curative


                                                  85
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 93 of 160




instructions and the quantum of evidence against the defendant. Moore, 255 F.3d at 107. Here,

the prosecutor ignored this constitutional admonition in his guilt-phase closing argument, making

comments that undermined the jury’s objectivity and impartiality and infected the trial with

unfairness in violation of due process.

        The prosecutor began his closing argument by insinuating to the jury that defense

counsel’s actions during trial were designed to conceal the truth:

        Now, is that [questioning by defense counsel] designed to get you to the truth? Or
        is that designed to make you forget that he, Mr. Havens, has unambiguously
        consistently without any pause, without any hesitation, since the beginning, since
        she’s [sic] had the opportunity, unsuggestively . . . said . . . this is right here is the
        man who carjacked me, Ricardo Natividad . . . .

        Is asking him about maybe he had an earring designed to make you forget all the
        other aspects of the description that he hit right on . . . .

        Is that question like a [sic] earlobe question and the earring question designed to
        get you to the truth or to make you forget . . . .

NT 11/10/97, 61-63. Such an argument is highly improper and only serves to denigrate defense

counsel’s proper role in advocating for his client and to prejudice the jury against him.

        The argument was particularly harmful in this case where the prosecutor improperly

emphasized to the jury that his own role as prosecutor was that of the seeker of truth and justice.

Id. at 44. Thus, the jury had before it assertions from the prosecutor that his oath required him to

seek justice, contrasted with the role of Petitioner’s counsel – which was to do or say anything on

behalf of his client regardless of its truth.

        The prosecutor followed up this attack on defense counsel with an attack on Petitioner

while improper vouching for Commonwealth witnesses:

        I would suggest to you that Byron Price has something that Ricardo Natividad
        will never have. And doesn’t have to this day, and that’s a conscience.




                                                   86
         Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 94 of 160




Id. at 67. The prosecutor’s assurance to the jury that Price had a conscience conveyed the

impression, based on evidence not presented to the jury but known to the prosecutor, that Price’s

testimony was truthful. This jeopardized Petitioner’s right to be tried solely on the basis of the

evidence presented to jury and induced the jury to trust the Commonwealth’s judgment rather

than its own view of the evidence.

         Finally, the prosecutor concluded his emotional and inflammatory argument to the jury

by incorporating biblical references into his appeal, which he used to urge the jury to convict:

         More important than any inference [concerning specific intent to kill] and as
         important, I suggest to you, as the law that the court gives to you is the evidence
         of his meanness and his viciousness and his hard heartedness and his cruelty and
         his words from the night before. . . .

         My best friend who had this case for the preliminary hearing, we talked about a
         lot of different things and, you know, it’s not as the judge has told you to decide
         this based on sympathy or certainly no sympathy for Ricardo Natividad . . . . Not
         because there is a God who would when we’re all going to sleep at night and
         when we’re batting down the hatches you go out and look to make sure hopefully
         He would prevent another car window from getting smashed.

Id. at 89-90.

         This enlistment of religious authority was clearly improper. Such arguments introduce

matters that are irrelevant to any of the charged crimes and invite the jury to convict based on

religious beliefs that have nothing to do with the evidence presented at trial and that cannot be

rebutted or questioned by the defendant. Commonwealth v. Chambers, 599 A.2d 630, 644 (Pa.

1991).

         These improper prosecutorial comments, individually and collectively, deprived

Petitioner of his constitutional rights. Even though trial counsel objected to parts of the

prosecutor’s closing argument, including the references to the Bible, he failed to ask for a

curative instruction or for a mistrial. Id. at 67-68, 89-90. To the extent that counsel failed to

object to the improper argument and to seek corrective instructions and/or a mistrial, Petitioner

                                                  87
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 95 of 160




was deprived of the effective assistance of counsel. There is no conceivable tactic for these errors

of counsel, and Petitioner was prejudiced, as set forth above. The trial court’s failure to correct

any of the above errors, even when objected to, or to instruct the jury as to their impropriety,

contributed to and enhanced the constitutional violation. These errors deprived Petitioner of his

rights under the Sixth, Eighth and Fourteenth Amendments to the United States Constitution.

        A.      The State Court Opinion

        On the merits, the Pennsylvania Supreme Court held that the first set of comments

responded to defense counsel’s attack on Havens’ credibility and that they were not “obvious

offers of opinion or of the type that would unavoidably prejudice the jury into forming a mindset

of fixed bias and hostility toward [Petitioner].” Natividad-2 at 324. With respect to the religious

references, the court opined that religious references encouraging a jury to impose the death

penalty urge them to consider factors outside the permissible statutory factors. The court stated

that that was not the situation in this case and that Petitioner cannot reasonably argue “that the

statements prejudicially impacted his convictions.” Id. at 325.

        B.      The State Court Opinion Violates AEDPA

        The decision of the Pennsylvania Supreme Court is contrary to and/or an unreasonable

application of Donnelly and Berger. Here, the prosecutor was not seeking to seek justice, but to

disparage the important role that defense counsel has. Also, by invoking the protection of God,

the prosecutor was seeking to align his own position with that of the Almighty, which was

improper. Petitioner is entitled to relief.

        C.      Post-Conviction Counsel Was Ineffective

        State post-conviction counsel’s conduct was ineffective because he did not include in the

PCRA petition the comment the prosecutor made about Byron Price having a conscience. Floyd

v. Meachum, 907 F.2d 347, 355 (2d Cir. 1990) (cumulative effect of prosecutor’s improper

                                                 88
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 96 of 160




remarks in closing argument, including vouching for the credibility of a witness and disparaging

the defense, violated due process where the only curative instruction was the standard instruction

that counsel's arguments are not evidence). Any procedural default should be excused under

Martinez v. Ryan, 566 U.S. 1 (2012), because the claim of ineffective assistance of trial counsel

is meritorious and state post-conviction counsel performed unreasonably. Id. at 17; Trevino v.

Thaler, 569 U.S. 413, 423 (2013); Workman v. Superintendent Albion SCI, 915 F.3d 928, 937-38

(3d Cir. 2019). The Court should consider the combined prejudicial effect of all of the improper

prosecutorial argument.

       The state court also held that state post-conviction counsel raised boilerplate claims that

did not sufficiently plead either that trial counsel had no reasonable basis for his lack of action

or that state post-conviction counsel did not properly plead prejudice. To the extent this is a

decision on the merits, it is contrary to, and an unreasonable application of, Strickland, for the

reasons stated in Claim II, supra. If viewed as a procedural default, the asserted failure to

properly assert the prongs of an ineffective assistance claim under Pennsylvania law should not

prevent this Court from hearing this claim, as Petitioner can establish cause and prejudice. See

Martinez, Trevino, supra.

X.     COUNSEL RENDERED INEFFECTIVE ASSISTANCE BY FAILING TO
       INVESTIGATE AND PRESENT READILY AVAILABLE MITIGATING
       EVIDENCE.

       Trial counsel violated Petitioner’s right to the effective assistance of counsel as

guaranteed by the Sixth, Eighth and Fourteenth Amendments to the United States Constitution

by failing to properly prepare for a sentencing hearing. The evidence adduced at the PCRA

proceeding showed this serious constitutional violation. Additional evidence put forward by

habeas counsel (and not presented in the PCRA proceedings) confirms that trial counsel was

constitutionally ineffective.

                                                 89
         Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 97 of 160




         The touchstone of effective representation at a capital sentencing proceeding is the

thorough investigation and preparation necessary in order for counsel to develop and present

mitigating evidence. The failure of defense counsel to adequately prepare, particularly in a

capital case, is simply an abdication of the minimum performance required. The Sixth

Amendment requires that capital defense counsel fulfil their obligation to conduct a thorough

investigation of the defendant’s background. Porter v. McCollum, 558 U.S. 30, 39 (2009);

Rompilla, v. Beard, 545 U.S. 374, 380-83 (2005); Wiggins v. Smith, 539 U.S. 510, 524 (2003);

Williams v. Taylor, 529 U.S. 362, 396 (2000). Accord Abdul-Salaam v. Sec’y of Pa. Dep’t of

Corr., 895 F.3d 254, 267 (3d Cir. 2018) (trial counsel’s investigation that was limited to

speaking with only three family members was deficient, and, thus, strategy concerning the

presentation of mitigation evidence was unreasonable); Saranchak v. Sec’y, Pa. Dep’t of Corr.,

802 F.3d 579, 596 (3d Cir. 2015) (counsel’s failure to follow up on evidence known to him about

defendant’s dysfunctional family and mental health problems was deficient); Bond v. Beard, No.

02-08592, 2006 WL 1117862, at *8-9 (E.D. Pa. Apr. 24, 2006) (finding counsel ineffective in a

case where counsel retained Dr. Tepper, but did not supply him with school records or relevant

hospital records to consider in an evaluation of the defendant), aff’d, 539 F.3d 256 (3d Cir.

2008).

         As part of a thorough investigation for all reasonably available mitigation, counsel

should, well before trial, seek out and thoroughly interview family members and others familiar

with the client’s life history and background; obtain records pertaining to the client’s life history;

and obtain appropriate mitigation evaluations by mental health experts. Porter, 558 U.S. at 39-

41; Wiggins, 539 U.S. at 516; Williams, 529 U.S. at 395-96. Capital counsel also have the duty to

ensure that the client receives full and meaningful expert assistance on mitigation issues. Porter,



                                                 90
        Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 98 of 160




559 U.S. at 39-41 (trial counsel ineffective for failing to investigate and present evidence of

brain damage); Rompilla, supra (same); Sears v. Upton, 561 U.S. 945, 949 (2010) (same).

        Counsel presented only two witnesses at sentencing, Benito Natividad, Sr. and Allan

Tepper, Psy.D. As an example of trial counsel’s lack of preparation, the record shows that he did

not know which family members were in the courtroom. During the sentencing phase he asked

Petitioner’s father whether two of Petitioner’s brothers and a sister were in the courtroom.

Instead of, yes, the answers were, no. NT 11/12/97, 64, 73.

        Furthermore, trial counsel was uninformed about the standards required by

Pennsylvania’s death penalty law. In closing argument, counsel misstated the standards for

sentencing Petitioner to life:

        If one of you thinks that the weight of any mitigation evidence that you have
        found outweighs the aggravation that was presented, if one of you finds that, then
        my client will be sentenced to life in prison.

NT 11/12/97, 136. Under Pennsylvania law, mitigation need not outweigh aggravation. The

opposite is true. Indeed, a sentence of life is required even where mitigation is of equal weight

with aggravating factors. 42 Pa. C.S. § 9711(c)(iv). But that is not what counsel argued to the

jury.

        The PCRA proceeding. The PCRA proceeding showed that trial counsel conducted an

inadequate mitigation investigation, one with no substance, and conducted with complete

disregard for constitutional obligations and responsibilities attendant to a capital case. Counsel’s

lack of effort was exemplified by the fact that he met with his client only twice in the first month

or two of representation and then not again until trial.

        Trial counsel limited his attempt to secure mitigation witnesses to telephone contact with

persons whose names were provided by Petitioner. He never wrote to Petitioner to request

additional mitigation evidence, or to explain that some of the witnesses identified by Petitioner

                                                 91
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 99 of 160




(and not by counsel’s efforts) had not provided beneficial information. He neither hired an

investigator to personally visit with potential witnesses, nor conducted such visits himself, with

the sole exception being when one or two members of Petitioner’s immediate family came to

counsel’s office. Even then, he did not talk with them about their family’s background, and he

missed substantial aspects of Petitioner’s background.

       Counsel failed to use mitigation evidence in his hands. He never introduced a presentence

report that confirmed the expert’s assessment that Petitioner had serious substance abuse

problems. When the prosecutor impeached the defense mental health expert with proof that

Petitioner had problems while attending Sleighton School, a juvenile institution, trial counsel

failed to use substantial evidence to show a positive and successful adjustment to a subsequent

placement, Youth Forestry Camp. Additionally, counsel did not present evidence in hand that a

psychiatric evaluation of Petitioner showed a full scale IQ of 75 and a less-than-6th grade

reading level at 16 years old. Counsel did not use Petitioner’s Sleighton School records

demonstrating a significantly diminished reading and math capacity prior to admission, and a

marked academic and vocational improvement in a structured setting. Counsel also did not

present evidence that Petitioner had previously been diagnosed with serious and significant

mental health impairments – mixed personality disorder with histrionic, paranoid, and schizoid

features. Counsel did not present testimony from a myriad of witnesses who could have testified

about the many tasks neighbors performed to help family members and neighbors.

       This case involved victim impact testimony and a claim that there was no robbery. Yet

counsel never investigated, and the prosecution never disclosed, that the victim was not licensed

to carry the firearm in his possession, mitigation proof of the “circumstances of [the] offense.”

42 Pa. C.S. §9711(e)(8).



                                                92
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 100 of 160




          Evidence presented in the habeas. The habeas petition presents additional evidence of

mitigation that trial counsel did not present. Despite the fact that Petitioner had a history of drug

abuse, had been in automobile, motorcycle and sledding accidents in which he lost

consciousness, and had been shot in the face, trial counsel did not have Mr. Natividad examined

for brain damage. A neuropsychological examination has revealed that, at the time of trial,

counsel could have presented expert testimony that Mr. Natividad suffered from a set of severe

impairments and brain dysfunction in the area of executive functioning. Petitioner’s brain

dysfunction qualifies as an extreme mental or emotional disturbance under 42 Pa. C.S. §

9711(e)(2).

          Trial counsel did not interview Mr. Natividad’s brothers and sister about Petitioner’s

background and did not provide the jury with a compelling story of his family background that

included, among other things, family drinking and drug abuse; the injuries that Petitioner

suffered; and the verbal and physical violence in the Natividad household. The jury did not hear

how Benito, Sr., the only family member to testify during the penalty phase, created turmoil,

violence, chaos and heartache in his own family. He was an open philanderer, ran a speakeasy,

recruited a young Petitioner into the illicit drug business and culture, and was arrested and later

convicted for sexual molestation of his grand-daughter who was Petitioner’s niece and like a

daughter to him.

          Trial counsel’s performance and investigation failed to meet reasonable professional

standards, and deprived the jury of critical mitigation evidence. Petitioner was prejudiced as a

result.




                                                  93
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 101 of 160




       A.      As Presented in the PCRA Proceedings, Counsel Failed to Properly
               Investigate and Present Mitigation.

               1.      Evidence of good deeds

       Trial counsel failed to investigate and present readily available evidence of Petitioner’s

many good deeds in his community. The jury had been presented with a one-sided picture of

Petitioner’s character. Following the offense for which they had just convicted him, the

sentencing jury learned that Petitioner had a long history of prior criminal convictions, juvenile

delinquency placements, and adult imprisonment. Yet, trial counsel failed to present Youth

Forestry records from Petitioner’s juvenile placement showing that Mr. Natividad had “benefited

from his placement at camp and has met all treatment goals.” App. Exh. No. 30 (PCRA Exh. C-

1, Documents from Petitioner’s Juvenile File).24

       Trial counsel maintained that he made brief (five or ten-minute) phone calls to some

potential witnesses, and that he did not develop this mitigation evidence for every witness,

except Petitioner’s father, because “either [counsel was] not able to get ahold of someone or

[counsel was] and [he] didn’t deem them to be helpful to the case.” NT 10/31/05, 85. This

explanation cannot cure the constitutional defect. Abdul-Salaam, 895 F.3d at 269 (“counsel

contacted so few of Abdul-Salaam’s family members due to a lack of preparation and not for any

strategic reason”). Counsel cannot expect to conduct meaningful mitigation interviews in five to

ten minute phone calls. He had an obligation to follow up on reasonable leads during the course

of investigation, including his trial expert’s suggestions. In this case, trial counsel had evidence

that Petitioner had a history of drug abuse, his mother was a heavy drinker, suffered after his



24
  The “D” designation identifies exhibits from the October and November, 2005 PCRA
evidentiary hearings. The “C” designation refers to Commonwealth exhibits from the same
proceedings. For the lay mitigation witnesses, their affidavits formed the basis of their direct
examinations in the PCRA hearings. See, e.g., NT 10/31/05, 147.

                                                 94
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 102 of 160




mother’s death and was abused by his father. Yet, trial counsel completely failed to follow up

with family members and others to find out more, either on his own or through an investigator.

Counsel performed deficiently.

         The jury never knew about Petitioner’s positive attributes. In post-conviction

proceedings, Petitioner produced affidavits from 10 witnesses who were readily available at the

time of the penalty phase to testify about Petitioner’s life history and helpfulness in the

neighborhood. Trial counsel failed to interview any of these people, and thus deprived the jury of

valuable information.

         Family and neighbors who knew Petitioner’s history and background were available to

testify at the trial: Bill Abrams, Garland Barber, April M. Brown, Richard Burley, Bruce Hunter,

Benito Natividad, Jr., Grace Reavis, Lisa Sherman, Anthony Silver, Harvey Linwood Vaughan,

Jr., and Sadie Satterhwaite.

         Counsel failed to interview family members and neighbors, who would have testified that

Petitioner cared for sick family members and neighbors, in addition to his mother, including

Petitioner’s aunt who was sick from cancer; his uncle who was sick with AIDS; and a neighbor

who was paralyzed. App. Exh. Nos. 32, 37, 40 (PCRA Exhs. D-7, D-12, D-15).

         Counsel failed to interview family members and neighbors, who would have testified that

Petitioner helped out people in his neighborhood, particularly the elderly, by shoveling snow,

carrying groceries, going shopping, moving furniture, helping with parking, taking out the trash,

and mowing lawns. App. Exh. Nos. 31, 35, 36, 38, 39 (PCRA Exhs. D-6, D-9, D-11, D-13 and

D-14).

         Counsel failed to interview family members and neighbors, who would have testified that

Petitioner helped care for his children and niece; and that Petitioner reached out to other young



                                                 95
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 103 of 160




people in his neighborhood, spent time with them, and encouraged them to live a proper life.

App. Exh. Nos. 32, 34-41 (PCRA Exhs. D-7, D-8, D-9, D-11, D-12, D-13, D-14, D-15, D-16).

               2.      Counsel failed to utilize records in hand, including juvenile placement
                       records

       Not only was counsel’s mitigation witness investigation lacking, but he did not conduct

an adequate investigation to obtain important records. See Williams, 529 U.S. at 396-99 (counsel

were ineffective as they had only began preparing for the mitigation proceeding “a week before

the trial,” thus not having enough time to uncover records of the defendant’s “nightmarish

childhood”).

       Counsel did not present evidence that Petitioner made a positive and successful

adjustment at a secure, juvenile institution, the Youth Forestry Camp. App. Exh. No. 30. While

those records were available at trial, incredibly it was not trial counsel who obtained them.

Instead, it was the prosecutor who, on November 10, 1997, brought the Youth Forestry Camp

records to the trial, as part of Petitioner’s juvenile file (or J-File). That was the day the case went

to the jury in the guilt/innocence phase and two days before the penalty phase. See NT 10/31/05,

25. The records were provided to Dr. Tepper on or after that date. See NT 11/12/97, 118

(testimony of Dr. Tepper during sentencing phase: the reports “were only recently provided);

NT 10/31/05, 125-26 (the J-File contained the Youth Forestry records). Trial counsel had no

recollection of reviewing the J-File. Id. at 62. There is no indication he reviewed it at all.

       The Youth Forestry records were beneficial to Petitioner. By letter dated February 11,

1987, the Camp informed the County of Philadelphia Juvenile Probation Office that Petitioner’s

“adjustment remains consistently positive. He has gained self-esteem and is on the Camper’s

Committee. He has benefited from his placement at camp and has met all treatment goals set for

him.” App. Exh. No. 30, first page.


                                                  96
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 104 of 160




       This error was particularly prejudicial, as counsel could have used these records to

counter the prosecution’s evidence that Petitioner had some behavioral or discipline problems at

the Sleighton School, NT 11/12/97, 113-18. As Dr. Tepper explained, presenting the Forestry

Camp records “would have been a way to show that, with certain kind of guidance or structure,

Mr. Natividad had certain either resources or ability to respond” positively to a secure

environment. NT 10/31/05, 118.

       Counsel also did not present evidence that Petitioner had previously been diagnosed with

serious and significant mental health impairments – mixed personality disorder with histrionic,

paranoid, and schizoid features, and had been described as showing the signs of an immature

individual. App. Exh. No. 45 (Mental Health Evaluation, Adult Probation and Parole

Department). Records contained a psychiatric evaluation of Petitioner shows a full scale IQ of 75

and a less-than-6th grade reading level at 16 years old, but showed a marked academic and

vocational improvement in a structured setting. App. Exh. No. 46 (Pre-Sentence Report,

7/20/89). Relevant records were available to counsel to present this evidence at the penalty

phase, but he inexplicably failed to do so.

               3.      Counsel failed to provide his mental health expert with the necessary
                       records and background evidence from interviews of family and
                       neighbors

       Trial counsel hired Dr. Tepper as an expert in psychology but failed to timely provide

him with significant mitigation records and other information. Among other lapses, counsel

failed to investigate and provide Dr. Tepper with the following information, which would have

altered Dr. Tepper’s findings.

       Counsel failed to investigate or present Dr. Tepper with readily available mitigation

evidence that Petitioner’s father abused drugs and used cocaine on a daily basis. This evidence

would have been “a very important piece of information” in Dr. Tepper’s psychological

                                                97
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 105 of 160




evaluation. NT 10/31/05, 113-115. Counsel did not present Dr. Tepper with mitigation records of

Petitioner’s significant history of drug abuse, until after Dr. Tepper interviewed Petitioner,

although this information would have supported Dr. Tepper’s evaluation of Petitioner’s

background. NT 10/31/05, 111.

       Counsel did not investigate or present Dr. Tepper with evidence from neighbors and

members of the family who observed Petitioner’s involvement in caring for his mother during

her battle with cancer. Had Dr. Tepper had this information, it would have led him, potentially,

to re-interview Petitioner and to raise the issue that the event “might have been a little more

serious or more time consuming than [Petitioner] first represented.” NT 10/31/05, 116-17.

       B.      Petitioner Was Prejudiced by Counsel’s Errors

       Trial counsel’s failure to investigate mitigating evidence deprived the jury of essential

mitigating evidence concerning Petitioner’s mental health, his family history, his successful

adjustment in a correctional facility, his aid to family and neighbors, and other positive aspects

of his character. The actual presentation was incomplete, and prejudicial.

       In the capital penalty context, Petitioner need only show that had the jury heard all of the

relevant evidence, there is a reasonable probability that at least one juror would have considered

additional mitigation and struck a different balance in weighing the aggravating and mitigating

circumstances. Wiggins, 539 U.S. at 536 (prejudice established because reasonably likely that “at

least one juror would have struck a different balance”); Jermyn v. Horn, 266 F.3d 257, 309 (3d

Cir. 2001); Commonwealth v. Collins, 888 A.2d 564, 584 (Pa. 2005) (“had the jury heard all of

the relevant evidence, there is a reasonable probability that at least one juror would have found

an additional mitigating circumstance and struck a different balance in weighing the aggravating

and mitigating circumstances”). This inquiry requires a reviewing court to consider all of the

available mitigating evidence, including the evidence which the jury would have heard if counsel

                                                 98
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 106 of 160




had conducted a reasonable investigation. Abdul-Salaam, 895 F.3d at 269. Here, trial counsel’s

failure to investigate and present mitigating evidence deprived the jury of the following

evidence, which would have allowed the jury to find, additional mitigating factors or assign

greater weight to, the statutory mitigating circumstances. Id. (“Prejudice may exist even if the

defendant could not have established additional mitigating factors if he can show that but for

counsel’s errors he could have ‘presented evidence of an entirely different weight and quality’

going to the same mitigating factor established at trial.” (citation omitted)).

       Counsel failed to fully investigate Petitioner’s father, including his constant drug abuse.

       Counsel failed to investigate positive deeds performed by Petitioner in the neighborhood,

and failed to present the records of Petitioner’s success in his juvenile court commitment,

depriving Petitioner of a specific category of (e)(8) mitigation evidence, i.e., evidence of positive

adjustment in a secure environment. Counsel failed to present records, showing positive

adjustment to commitment, a significantly diminished reading and math capacity prior to

admission, and marked improvement in a structured setting Counsel failed to present the 1989

PSI of Petitioner, which shows, inter alia, a full scale IQ of 75 and a less-than-6th grade reading

level (from when Petitioner was 16). Counsel also failed to present the 1989 court Mental Health

Evaluation, in which Petitioner was diagnosed with a mixed personality disorder with histrionic,

paranoid and schizoid features, and which describes him as showing signs of an immature

individual.

       All of the above, both individually and cumulatively, deprived the jury of pertinent

evidence relating to the (e)(2), (e)(3) and (e)(8) statutory mitigating factors. Collins, 888 A.2d at

584 (finding prejudice because PCRA testimony from two experts and Dr. Tepper supported

(e)(2) and (e)(3) mitigating factors); accord Commonwealth v. Smith, 995 A.2d 1143, 1167-70



                                                 99
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 107 of 160




(Pa. 2010) (finding prejudice when two defense post-conviction experts gave testimony

supporting (e)(2) and (e)(3) mitigators).

       Counsel failed to obtain and present proof of the deceased’s unlawful possession of the

firearm he was carrying, evidence relevant at the penalty trial to the consideration of victim-

impact testimony and the evaluation of the self-defense and robbery claims as they impacted on

the existence of one aggravating factor and may have supported mitigation arising from the

“circumstances of his crime.”

       The harm analysis is not undercut by counsel’s having presented “some” mitigation

evidence. Trial counsel asked minimal questions about Petitioner’s drug use and about the

impact of his mother’s death. Much greater detail of the former was contained in the PSI that

counsel had; much greater detail on the latter was in Dr. Tepper’s report. Counsel never elicited

the details, and never showed the jury that an official court report corroborated the claim of

severe drug dependence.

       In sum, trial counsel’s omissions and ineffectiveness deprived the jury of consideration of

important mitigating factors as well as substantial additional (e)(8) evidence. The unpresented

mitigation evidence would have personalized Petitioner, added to the jury’s understanding of

Petitioner’s tumultuous upbringing, informed the jury about Petitioner’s severe mental

impairments, and helped counter and explain the one-sided presentation by the prosecution about

Petitioner’s criminal history. There is, at a minimum, a reasonable probability that this additional

mitigating evidence would have changed the sentencing decision of at least one juror.

       In a close case like this one at trial, where some mitigation was found by one or more

jurors, there is a reasonable probability a more comprehensive mitigation investigation and




                                                100
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 108 of 160




presentation would have led at least one juror to vote for a life sentence. Abdul-Salaam, 895

F.3d at 272; Saranchak, 802 F.3d at 600.

       C.      Evidence Presented in the Habeas Petition

       Trial counsel failed to present additional evidence set forth in the habeas petition.

               1.      Failure to present Petitioner’s social history

       Counsel failed to conduct a reasonable mitigation investigation of Mr. Natividad’s

family. He failed to obtain Petitioner’s compelling social history. While trial counsel spoke in his

office with Petitioner’s brother, Benito, Jr. (“Tony”), and sister, Juanita Rouse, he did not

interview them about their family history. He simply discussed the status of Petitioner’s case.

Declaration/Affidavit of Benito Natividad, Jr., ¶ 15, App. Exh. No. 20. Despite a letter from Dr.

Tepper reporting that Petitioner’s brothers and sisters would be able to offer information on his

family, trial counsel did not conduct any mitigation interviews with them.

       Counsel’s failure to conduct an adequate investigation of Mr. Natividad’s background left

him ignorant of the family dysfunction that characterized his childhood. As a result, counsel

missed substantial mitigation. Petitioner’s mother, Delores Vaughan, was thirteen years old

(1945) when she became pregnant with her first child, Harvey. A year later, she gave birth to her

second child, Juanita. Declaration/Affidavit of Harvey L. Vaughan, Sr., ¶ 2, App. Exh. No. 21.

Delores’s mother, Addie, raised these children as Delores grew up.

       Delores drank to excess and smoked when she was pregnant with Petitioner. As a little

boy, Rick’s legs were bowed out and he wore a leg brace which made him look strange.

Declaration/Affidavit of Juanita Rouse, ¶ 8, App. Exh. No. 22.To Rick’s distress, everyone

favored his younger brother, Satario, who was very handsome. For love and affection, Rick went

to his mother’s best friend and drinking companion, Florence Gregory, whom he called, Aunt

Flo. Rouse Aff. ¶9.

                                                101
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 109 of 160




       As a boy, Rick was frequently injured, including a sledding accident where he was

knocked unconscious. Benito Jr. Dec., ¶ 9. Later, he was injured in car and motorcycle accidents.

Declaration/Affidavit of Genardo McIlwain, ¶ 9, App. Exh. No. 23.

       Benito, Sr., whom the family called Benny, was an unfaithful hustler, running around

with many women, including Harvey’s wife, and much later, his son Satario’s teenage girlfriend.

He ran a speakeasy, an illegal bar, where he sold not only alcohol, but also drugs. Rick’s parents

got into fights frequently about money and Benny’s running around. Rick cried when his parents

fought. He would get so angry he would not listen to anyone. If Aunt Flo was there when there

was a fight, she would talk real soft to him, hug him and calm him down. Vaughan Dec., ¶ 12;

Rouse Dec. ¶ 5; Benito Jr. Dec.., ¶¶ 6, 11.

       Harvey, Rick’s oldest brother, gave his phone number to Rick’s brother and sister, Tony

and Janine (called “Nene” by the family) so they would call him when their parents were

fighting. Harvey came over and broke up fights. He kicked Benny out of the house twice. During

one confrontation, Benny pulled a Beretta out of a boot and Harvey pulled a .45 out of his back

waist band and there was a stand off after which Benny retreated to his room and cried. Vaughan

Dec. ¶ 10.

       Benny drove a truck and was frequently away from home. When he was home, Benny

beat his children with a wooden slat, raising welts. He beat them when he was drunk and Rick’s

mom called Harvey because she was afraid he would miss and hit the children’s spines and

paralyze them. Vaughan Dec. ¶ 15.

       Rick’s parents did not make school a priority. His mother let Rick and his siblings choose

not go to school if they did not want to go. McIlwain Dec., ¶ 6.




                                               102
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 110 of 160




       Rick was his father’s “pick.” His father kept picking on him until he became the son he

wanted. Because Rick was quiet and stand-offish, his father thought he was tough. When Rick

got out of juvenile placement, Rick’s father groomed him to sell drugs out of the speakeasy.

Rick’s father introduced him to the fast life of the drug culture. Rouse Dec. ¶¶ 10-11.

       Before Rick’s mother died, his Aunt Flo died and Rick took it hard. After she died, he

started drinking more and Flo’s death made it harder for him to see his Mom lay dying in 1995.

Rouse Dec., ¶ 12.

       Shortly after Flo’s death, his sister Nene, was shot and killed. Rick had a special

relationship with her. When they were young, Rick and Nene were playmates and companions.

He took her death hard, along with the rest of his family. Benito Jr. Dec., ¶ 12. After Nene was

shot and killed, Rick’s mother would cry in her kitchen, “My Nene, my Nene.” Vaughan Dec., ¶

21.

       After Rick’s mother passed away and before the shooting of Mr. Campbell, Benny was

arrested for molesting his granddaughter (Tony’s daughter and Rick’s niece), Benita. Benita was

like a daughter to Rick. The molestation tore Rick up and it seemed like he was trying to kill

himself with booze and pills. He was high all the time after that. Vaughan Aff. ¶ 13; Rouse Aff. ¶

13; Benito Jr. Aff. ¶ 14.

       Counsel never presented this compelling story at trial because counsel had failed to

conduct an adequate investigation. The failure in scope of investigation was compounded by the

manner in which the mitigation witness investigation was conducted. Telephone and letter

interviews of witnesses are discouraged; they neither impress on the witness the full importance

of disclosure nor secure detailed and often difficult-to-reveal information.




                                                103
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 111 of 160




               2.      Failure to present available evidence of severe impairments and brain
                       damage

       Counsel failed to investigate Mr. Natividad’s mental health problems. Even though

counsel knew that Petitioner had a history of accidents and injuries, abused drugs and alcohol,

that his mother was a heavy drinker and that he grew up in an abusive home, counsel did not

have a neuropsychologist examine Petitioner. Children’s Hospital records of Petitioner as a child

show that Petitioner lost consciousness in a sledding accident. App. Exh. No. 24, at p.35.

       Neuropsychologist Carol Armstrong, Ph.D. reports to a reasonable degree of

neuropsychological certainty that Petitioner has a set of severe impairments and brain

dysfunction in the area of executive functioning located in the frontal lobes. He is severely

impaired in basic logical and deductive reasoning, and has difficulty developing a logical

sequence. His divided attention, perceptual organization and control of impulsivity are all

severely impaired. He has a history of chronic asthma and head injuries severe enough to cause

these injuries. Also, Delores’ heaving binge drinking put Petitioner at risk for fetal alcohol

effects. His brain injuries cause him to decompensate under stress, becoming less adaptive and

more dysfunctional. They affect his ability to make reasoned judgments and to control his

behavior when he is under stress. These neuropsychological results could have been found and

presented at the time of trial. Report of Carol L. Armstrong, Ph.D., App. Exh. No. 25.

       Petitioner’s brain dysfunction existed at the time of these offenses and is an extreme

mental disturbance under 42 Pa. C.S. §9711(e)(2) (“The defendant was under the influence of

extreme mental or emotional disturbance.”). Petitioner’s history contained red flags for brain

damage, e.g., accidents where he was knocked unconscious, low IQ scores, counsel did not have

him examined for brain damage and missed this compelling evidence.




                                                104
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 112 of 160




       D.      The State Court Opinion

       The Pennsylvania Supreme Court denied relief on the ineffectiveness claim raised by

post-conviction counsel. The court said that Petitioner’s claim that Dr. Tepper was not informed

about Petitioner’s father’s drug abuse affected Petitioner did not prove that Petitioner was

prejudiced. The court asserted that Dr. Tepper testified during the sentencing phase of the trial

that Petitioner’s father was not present during Petitioner’s formative years. Natividad-2 at 332.

The state court added that it concluded there was no prejudice because Dr. Tepper did not state

that the additional information would have changed his diagnosis. Id. at 333.

       The state court added that the numerous affidavits about Petitioner taking care of family

members did not lead Dr. Tepper to any additional diagnosis. Accordingly, the court said

Petitioner was not prejudiced. Id.

       With respect to unpresented mitigation witnesses, the state court said that trial counsel

was only asked about one of them, April Brown, whom he said was “extremely hostile.” The

court said counsel had a reasonable basis for not presenting her. It would not grant relief on the

basis of the other witnesses because counsel was not asked about them, it said. Id.

       With respect to the unpresented Youth Forestry records, the court stated that trial counsel

was unreasonable for not using them at trial. Id. at 335. The court held that counsel was

unreasonable when he said he did not use them because they showed that Petitioner could not be

rehabilitated. Id. The court stated that the Youth Forestry report “clearly details that Appellant

had complied with all of the camp’s goals.” The court added, “Thus, the camp did not, as the

Commonwealth implies, give up on Appellant, but rather suggested that Appellant had

adequately satisfied the requirements for leaving camp.” Id. In other words, the records showed

that Petitioner could be rehabilitated.



                                                105
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 113 of 160




       The court acknowledged that, at the PCRA hearing, Dr. Tepper testified that the Youth

Forestry records “would have been a way to show that, with certain kind of guidance or

structure, [Appellant] had certain either resources or ability to respond.” Id.

       The state court went on to claim, however, that Petitioner was not prejudiced. He had

accumulated a significant history of drug abuse and criminal activity soon after he left the camp.

The court speculated that this history, although not explored at the PCRA hearing, may have lead

counsel not to use the records. It also stated that there was no prejudice because Dr. Tepper had

the opportunity to reference the records during cross-examination but did not. Id. & n.21.

       E.      The Decision of the Pennsylvania Supreme Court Violated AEDPA

       The decision in Natividad-2 violated AEDPA. First, the state court was unreasonable

when it held that Petitioner was not affected by his father’s drug use because his father was not

present during Petitioner’s “formative years.” That determination is an unreasonable

determination of fact. Petitioner’s father was present during years when Petitioner was

impressionable. Dr. Tepper testified that Petitioner had little contact with his father until

Petitioner was 12 years old. NT 10/31/05, 133. Petitioner had contact with his father at age 12

which is young enough for his father’s behaviors to influence Petitioner.

       Second, the state court’s decision was based on an unreasonable determination of fact and

was contrary to and/or an unreasonable determination of federal law when the court excused

counsel from conducting a competent mitigation investigation. The court said that it would not

grant relief on this claim because counsel was not asked about a number of the mitigation

witnesses who were presented in the PCRA proceedings. However, almost all of these witnesses

were not named in counsel’s notes. NT 10/31/05, 81-84. Where counsel has not conducted an

adequate investigation in preparation for sentencing, he cannot make reasonable decisions about

what evidence to present at sentencing. Abdul-Salaam, 895 F.3d at 268; Blystone v. Horn, 664

                                                 106
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 114 of 160




F.3d 397, 420 (3d Cir. 2011). Here, counsel did not conduct the constitutionally-required,

thorough investigation in this capital case. Porter, 558 U.S. at 39; Rompilla, 545 U.S. at 380-83;

Wiggins, 539 U.S. at 524; Williams, 529 U.S. at 396. Counsel only had an investigator for the

“fact part of the case.” NT 10/31/05, 86. Trial counsel never asked the investigator to help with

mitigation witnesses. Id. Since counsel failed to adequately investigate Petitioner’s background,

it was unreasonable for the court to determine that counsel should have been asked about

witnesses for which he had no notes.

       Third, the state court’s conclusion that prejudice was not shown because any new

information would not have changed Dr. Tepper’s diagnosis was an unreasonable application of

the Strickland prejudice standard. There is not requirement that a diagnosis must change, or a

new diagnosis must emerge, as a result of counsel’s deficient investigation. Rather, Supreme

Court case law requires a reviewing court to examine prejudice in light of all of the evidence

presented at trial and in post-conviction proceedings. Here, the evidence counsel failed to present

would have strengthened and corroborated Dr. Tepper’s testimony and would have provided the

jury with reasons to give Dr. Tepper’s testimony additional weight. One or more jurors could

have relied on that evidence to weigh the evidence in favor of a life sentence. The Pennsylvania

Supreme Court’s determination that there was no prejudice because there was no change in

diagnosis failed to apply the correct standards and was, thus, contrary to, and an unreasonable

application of, Strickland, Williams, and Sears.

       Fourth, the state court decided – favorably to Petitioner – that trial counsel was

unreasonable for failing to use the Youth Forestry Records to show that Petitioner responded

positively with “guidance or structure.” In other words, counsel performed deficiently. However,




                                               107
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 115 of 160




the state court’s decision that Petitioner was not prejudiced by counsel’s failure to use the Youth

Forestry records was contrary to or an unreasonable determination of federal law.

        The state court reasoned that there was no prejudice because Petitioner engaged in

significant drug abuse and criminal activity following his period of time in the Youth Forestry

Camp. However, the court failed to distinguish between the time Petitioner spent in a structured

environment and time he spent in an unstructured environment – on the street. The Youth

Forestry experience, as Dr. Tepper noted, was structured. The subsequent time period, when

Petitioner abused drugs and was involved in criminal activity – was not structured. Petitioner’s

time in the Youth Forestry Camp was directly relevant how he would conduct himself when

incarcerated, if sentenced to life.

        The Pennsylvania Supreme Court’s decision is contrary to and/or an unreasonable

application of United States Supreme Court precedent that time in prison or a structured

environment is mitigating. The United States Supreme Court has held that “there is no question

but that . . . inferences [that a life sentenced defendant would not pose a future danger to society]

would be ‘mitigating’ in the sense that they might serve ‘as a basis for a sentence less than

death.’” Skipper v. South Carolina, 476 U.S. 1, 4-5 (1986) (quoting Lockett v Ohio, 438 U.S.

586, 604 (1978)). Therefore, “evidence that the defendant would not pose a danger if spared (but

incarcerated) must be considered potentially mitigating.” Id. at 4; accord Simmons v. South

Carolina, 514 U.S. 154, 163-64 (1994) (“there may be no greater assurance of a defendant’s

future nondangerousness to the public than the fact that he never will be released on parole”).

Skipper and Simmons hold that the jury can properly consider as important mitigation how a

defendant acts in a structured prison environment. The Pennsylvania Supreme Court’s refusal to




                                                108
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 116 of 160




recognize that Petitioner’s good reviews from Youth Forestry were based on his time in a

structured environment was contrary to Skipper and Simmons.

       The state court asserted there was no prejudice because Dr. Tepper had opportunities to

discuss the Youth Forestry records on cross-examination, but did not make use of those

opportunities. Natividad-2 at 335. However, it was counsel’s responsibility to ask questions and

the expert’s job to answer. Under Strickland v. Washington, 466 U.S. 668 (1984), counsel has the

obligation to make sure the adversarial process works. Id. at 687; see Commonwealth v.

Basemore, 744 A.2d 717, 735 (Pa. 2000) (“different light falls upon counsel’s performance

depending upon whether he asked and was not told, or he did not ask and therefore was not

told”). Strickland does not state that it is the expert’s role to make sure the adversarial process

works. Here, counsel was permitted to ask questions of Dr. Tepper on redirect. However, he did

not ask about the Youth Forestry records. Since counsel had no recollection of reviewing those

records and since the records were obtained – by the prosecution – when the jury was

deliberating the guilt-innocence phase evidence, it is reasonable to conclude that counsel simply

turned the Youth Forestry records over to Dr. Tepper and did not review them personally. He

testified he had no recollection of reviewing them. Because counsel did not ask the relevant

question about whether Petitioner was successful in the Youth Forestry program, counsel did not

“ensure that the adversarial testing process work[ed].” The Pennsylvania Supreme Court’s

placement of the burden on the expert to ensure that the adversarial process worked was contrary

to and/or an unreasonable application of Strickland.

       Finally, the state court asserted that Petitioner had failed to develop claims concerning his

diagnosis of a mixed personality disorder and low 75 IQ Natividad-2 at 333. See Brief for

Appellant at 16, 68, 72, App. Exh. No. 26. However, with respect to the low IQ score, Petitioner



                                                 109
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 117 of 160




cited Tennard v. Dretke, 542 U.S. 274, 288 (2004), for the proposition that “[e]vidence of

significantly impaired intellectual functioning is obviously evidence that might serve as a basis

for a sentence less than death[.]” Brief for Appellant at 68-69, App. Exh. No. 26. Based on the

explanation of the relevance of the IQ score in Petitioner’s brief, the Pennsylvania Supreme

Court’s analysis that Petitioner failed to develop the mitigating relevance of the 75 IQ is contrary

to or an unreasonable application of Tennard. In addition, Tennard also holds that mitigating

evidence may be considered even if it does not have a nexus to the crime. Id. at 284. Thus, the

Pennsylvania Supreme Court’s failure to consider the diagnosis of personality disorder – as well

as, the low IQ score – are contrary to Tennard’s holding that mitigating evidence does not have

to have a nexus to the crime.

       F.      Post-Conviction Counsel Was Ineffective Under Martinez

       Neither trial counsel nor state post-conviction counsel presented a social history of the

Petitioner or the available evidence that Petitioner tested positive for extreme brain dysfunction.

This evidence is so significant that it fundamentally alters the ineffective assistance claim raised

in post-conviction and, thus, constitutes a separate claim of ineffective assistance. Although this

new claim was not raised in state court, and is therefore defaulted, merits review is not precluded

because state post-conviction counsel was ineffective for failing to properly investigate and raise

this claim.

       At Petitioner’s trial, his counsel was ineffective for failing to present Petitioner’s

brothers, Harvey Vaughan Sr. and Benito Natividad, Jr.; sister, Juanita Rouse; and uncle,

Genardo McIlwain. These witnesses provided otherwise unpresented evidence concerning

Petitioner’s upbringing and the chaotic and violent environment in which he was raised. Without

these witnesses, trial counsel could not present a complete picture of Petitioner’s life.



                                                110
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 118 of 160




       In addition, counsel performed deficiently when he did not have Petitioner evaluated for

brain damage. Petitioner had been in accidents, had abused drugs and had learning difficulties –

all things trial counsel knew. For example, Children’s Hospital records report that Petitioner lost

consciousness in a sledding accident. Despite these red flags, trial counsel did not have Mr.

Natividad evaluated by a neuropsychologist who tests for brain damage.

       State post-conviction counsel did not present Vaughan, Sr., Rouse, or McIlwain. Post-

conviction counsel did not conduct a competent interview of Petitioner’s brother, Benito, Jr.

Plus, post-conviction counsel did not present evidence of Petitioner’s brain damage as found by

Dr. Armstrong. State post-conviction counsel was ineffective in failing to complete a thorough

mitigation investigation that would yield a social history.

       Post-conviction counsel retained a neuropsychologist, Dr. Russell Woessner, who found

Petitioner to have some severe impairments in executive functioning. To confirm these results,

the expert recommended further evaluation and retesting. However, post-conviction counsel did

not do so and instead did not pursue brain damage as mitigation at all. See Declaration of Jules

Epstein, App. Exh. No. 28. Any failure to exhaust the claims based on these witnesses’

declarations and the neuropsychological report of brain damage is excused under Martinez v.

Ryan, 566 U.S. 1 (2012). The claim of ineffective assistance of trial counsel is meritorious and

state post-conviction counsel performed unreasonably.

       G.      Petitioner Was Prejudiced

       This is a case where the jury found mitigation. The one juror prejudice standard is not

onerous. If the jury had been presented with the additional information of Petitioner’s chaotic

and violent upbringing and the scientific evidence of his severe executive dysfunction, there is a

reasonable probability that at least one juror would have voted for life. See, e.g., Jefferson v.

Upton, 560 U.S. 284, 285 (2010) (finding “permanent brain damage” that “causes abnormal

                                                 111
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 119 of 160




behavior,” resulting from head injury); Sears, 561 U.S. at 946 (“frontal lobe brain damage”);

Porter, 558 U.S. at 41; Rompilla, 545 U.S. at 392; California v. Brown, 479 U.S. 538, 545

(1987) (O’Connor, J., concurring) (“evidence about the defendant’s background and character is

relevant because of the belief, long held by this society, that defendants who commit criminal

acts that are attributable to a disadvantaged background, or to emotional and mental problems,

may be less culpable than defendants who have no such excuse.”); see also Abdul-Kabir v.

Quarterman, 550 U.S. 233, 256 (2007) (even “possible neurological damage” is mitigating);

Bond v. Beard, 539 F.3d 256, 291 (3d Cir. 2008) (“Strickland permits relief where, as here, trial

counsel presented some mitigation evidence but could have introduced evidence that was

upgraded dramatically in quality and quantity”); Outten v. Kearney, 464 F.3d 401, 421 (3d Cir.

2006) (“Simply because some mitigating evidence regarding Outten’s abusive childhood was

introduced to the jury . . . it does not follow that the jury was provided with a comprehensive

understanding of Outten’s abusive relationship with his father or other aspects of his troubled

childhood.”).

       Moreover, the Pennsylvania Supreme Court’s analysis of the claim that post-conviction

counsel presented does not survive AEDPA analysis. As a consequence, this Court should

consider the mitigation presented in post-conviction.

       Under Strickland, to determine prejudice resulting from trial counsel’s failures, this Court

cumulates the evidence presented at trial, the evidence presented in post-conviction, and the

evidence presented in the federal habeas petition. Wiggins, 539 U.S. at 536 (to assess prejudice,

the Court “evaluate[s] the totality of the evidence – ‘both that adduced at trial, and the evidence

adduced in the habeas proceeding[s].’”); Williams, 529 U.S. at 397-98 (court must consider

cumulative effect of all mitigating evidence). As a consequence, this Court considers the



                                                112
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 120 of 160




mitigating effect of all of the following: Petitioner’s violent and chaotic upbringing, Petitioner’s

severe brain dysfunction, his extreme mental disturbance under (e)(2), the evidence of

Petitioner’s positive adjustment in Youth Forestry Camp, his numerous good deeds in the

community, having – as a role model – a father who was a drug abuser who groomed Petitioner

to sell drugs, and, as the jury learned at trial, the impact of his mother’s death on Petitioner. The

jury already found some mitigation. There is a high probability that, had the jury known all the

mitigating facts, at least one juror would have voted for life.

       Petitioner is entitled to relief.

XI.    THE COMMONWEALTH’S PRESENTATION OF VICTIM IMPACT
       EVIDENCE AND ITS DILATORY NOTICE OF VICTIM IMPACT EVIDENCE
       VIOLATED PETITIONER’S RIGHTS UNDER THE SIXTH, EIGHTH, AND
       FOURTEENTH AMENDMENTS.

       A.      Pennsylvania’s Victim Impact Statute and the Trial Testimony

       Pursuant to 42 Pa. C.S. § 9711(a)(2) and (c)(2), the Commonwealth presented victim

impact evidence in this case. The statute provides:

       § 9711. Sentencing procedure for murder of the first degree

       (a) Procedure in jury trials.

       (2) In the sentencing hearing, evidence concerning the victim and the impact that
       the death of the victim has had on the family of the victim is admissible.
       Additionally, evidence may be presented as to any matter that the court deems
       relevant and admissible on the question of the sentence to be imposed. Evidence
       shall include matters relating to any of the aggravating or mitigating
       circumstances specified in subsections (d) and (e), and information concerning the
       victim and the impact that the death of the victim has had on the family of the
       victim. Evidence of aggravating circumstances shall be limited to those
       circumstance specified in subsection (d).

                                                ***

       (c) Instructions to jury.--

       (2) The court shall instruct the jury that if it finds at least one aggravating
       circumstance and at least one mitigating circumstance, it shall consider, in


                                                 113
     Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 121 of 160




       weighing the aggravating and mitigating circumstances, any evidence presented
       about the victim and about the impact of the murder on the victim's family. The
       court shall also instruct the jury on any other matter that may be just and proper
       under the circumstances.

As amended, 1995, October 11, P.L. 1064, No. 22 (Special Session No. 1), § 1.

       In this case, on November 10, 1997 at 3:00 p.m., the Commonwealth notified Petitioner

that it intended to present victim impact testimony in the sentencing phase. On the next day,

Veteran’s Day (November 11, 1997), the Commonwealth provided Petitioner’s counsel with a

copy of the victim impact statement. The sentencing phase, with the victim impact testimony,

was conducted on the following day, November 12, 1997.

       The testimony of the victim’s widow, Patricia Campbell, proceeded as follows:

       BY MR. SAX:

       Q.      Mrs. Campbell, Bob Campbell was your Husband?

       A.      Yes.

       Q.      Did you prepare a so-called victim impact statement for the jury?

       A.      Yes, I did.

       Q.      Would you please read it to the ladies and gentlemen of the jury if you
               have a copy of it in front of you?

       A.      Yes, I do.

       Q.      Please read it.

       A.      Bob Campbell was born in the Overbrook Section of Philadelphia on July
               12, 1947. He was the only son of Stan and Rose Campbell. He served in
               the United States Army and was stationed in Korea. After his honorable
               discharge he started his career as an ironworker for Local 401 which lasted
               24 years. In 1996 he started a new occupation as a security guard. I
               married Bob on June 24, 1978 and we made our home in the Overbrook
               section of Philadelphia.

       Q.      Slow down a little bit.

       The Court: Go Ahead. That's all right. Go ahead. Take your time.


                                               114
     Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 122 of 160




      The Witness: We have four children and two grandchildren whom he adored. Bob
      was a loving husband, father, grandfather and son. Bob never hesitated to come to
      the aid of anyone who needed help. Bob was a fun loving guy who loved and
      respected life. Bob coached and organized little league baseball for the Overbrook
      AA for many years. He also coached for Our Lady of Lourdes Football and
      Basketball teams. Bob was an active town watch member and was very involved
      in his community. Since the death of my husband our family has been devastated.
      I have now become the sole provider for my family, something I have never had
      to do before. Our grandson Andrew who will be seven years old remembers when
      Grandpop taught him to hit his first baseball but Bob never had a chance to see his
      Grandson play in his first game. Our Granddaughter Samantha who turned two on
      the 4th of July will only remember her Pop Pop by the pictures we have to show
      her. Our youngest daughter Amanda will not have her father present at her high
      school graduation or have him give her away at her wedding like he did our oldest
      daughter Michelle. Our sons John and Ken will no longer be able to ask their
      father for advice or share their day-to-day experiences with Bob.

      We lost a loving husband, father, grandfather and son who was always there when
      we needed him. We are living with a huge void in our lives. Life has not been the
      same without him. Gone are the big arms he would put around me and the times
      we would walk the dog together holding hands. Gone are the holiday barbecues,
      the backgammon games, pitching horseshoes and his help when a strong hand
      was needed.

      We are thankful for Bob Campbell's life, his courage, and diligence in the face of
      all odds, and for his loving of family and friends. Rest assured that Big Bob
      Campbell will always remain in our hearts.

      Mr. Sax: Thank you. Thank you.

      The Court: Any Questions?

      Thank you, Mrs. Campbell, you may step down.

NT 11/12/97, 56-59.

      At the close of the sentencing phase, the trial court instructed the jury as follows:

      Now, members of the jury, you have heard testimony about the victim and about
      the impact of the killing on the victim’s family.

      Victim impact is not an aggravating circumstance, may not be so considered and
      is not a reason to impose the death penalty. Should you find at least one
      aggravating circumstance and at least one mitigating circumstance, only then may
      you even consider this testimony and only for the very limited purpose of helping
      you to determine whether or not the aggravating circumstance outweigh the
      mitigating circumstance.


                                               115
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 123 of 160




       The sentence you impose must be in accordance with the law as I instruct you and
       not based on sympathy, prejudice, emotion, or public opinion and not based on
       victim impact.

NT 11/12/97, 146-47.

       In its deliberations, the jury found two aggravating factors: the defendant committed a

killing while in the perpetration of a felony, and he had a significant history of felony

convictions involving the use or threat of violence to the person. It found one mitigating

circumstance: Petitioner’s life history. NT 11/12/97, 156.

       B.      The Eighth Amendment Violation

       Pennsylvania’s victim impact statute violates the Eighth Amendment. The statute does

not provide proper guidance for consideration of victim impact evidence, so it disrupts the

careful weighing process required in deliberations concerning capital sentences. Tuilaepa v.

California, 512 U.S. 967, 972-73 (1994) (“The State must ensure that the process is neutral and

principled so as to guard against bias or caprice in the sentencing decision.”). The victim impact

statute introduces an arbitrary factor into the jury’s sentencing decision. The statute violates the

hallmark Eighth Amendment requirement that a capital sentencing jury must be permitted to

consider and give full effect to all relevant mitigating evidence. Eddings v. Oklahoma, 455 U.S.

104, 112 (1982) (“[T]he sentencer in capital cases must be permitted to consider any relevant

mitigating factor”); Lockett v. Ohio, 438 U.S. 586, 605 (1978). The absence of a provision for

pre-trial notice in the statute adversely impacts the adversarial process, the integrity of which

provides the capital sentencing hearing with the heightened reliability required by the Eighth

Amendment. Lankford v. Idaho, 500 U.S. 110, 127 (1991) (citing Strickland, “[i]f notice is not

given, and the adversary process is not permitted to function properly, there is an increased

chance of error, and with that, the possibility of an incorrect result” (citations omitted)).



                                                 116
         Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 124 of 160




          C.     Due Process and Sixth Amendment Violations

          The victim impact statute also violates the Due Process Clause of the Fourteenth

Amendment. It makes no provision for adequate notice. Given “the potential victim impact

testimony carries to inflame the passions of the jury,” Natividad-1 at 180 n.4, adequate notice is

important. Rock v. Arkansas, 483 U.S. 44, 51 (1987) (“The necessary ingredients of the

Fourteenth Amendment’s guarantee that no one shall be deprived of liberty without due process

of law include a right to be heard and to offer testimony . . . a person’s right to reasonable notice

of a charge against him, and an opportunity to be heard in his defense – a right to his day in court

– are basic in our system of jurisprudence”); see Commonwealth v. Thompson, 281 A.2d 856,

858 (Pa. 1971) (“While not capable of exact definition, the basic elements of procedural due

process are adequate notice, opportunity to be heard, and the chance to defend oneself before a

fair and impartial tribunal having jurisdiction of the case.”). Due process (and the Sixth

Amendment) require that, because a defendant has a right to an impartial jury, counsel be

permitted to voir dire the jury concerning their consideration of victim impact evidence. Ristaino

v. Ross, 424 U.S. 589, 595 n.6 (1976) (a criminal defendant in a state court is guaranteed an

impartial jury by the Sixth Amendment); Duncan v. Louisiana, 391 U.S. 145 (1968); Irwin v.

Dowd, 366 U.S. 717, 722 (1961) (principles of due process guarantee a defendant an impartial

jury).

          In this case, the Pennsylvania Supreme Court dictated the following rule about when and

how the Commonwealth should provide pre-trial notice of victim impact evidence:

          Adequate notice is one of the essential elements of procedural due process.
          Commonwealth v. Thompson, 444 Pa. 312, 281 A.2d 856, 858 (1971). We agree
          that the better practice is to require notice of the intent to introduce victim impact
          testimony prior to trial. A requirement of notice prior to trial enables the
          defendant to investigate the background of the decedent, and prepare for potential
          victim impact testimony prior to jury selection. Nor is it a burden for the


                                                   117
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 125 of 160




       Commonwealth to provide pretrial notice limited to a list of potential witnesses
       and a brief outline of their proffered testimony.

Natividad-1 at 178.

       Here, the Commonwealth did not abide by these dictates. The prosecutor tendered the

notice at the conclusion of the guilt/innocence phase at approximately 3:00 p.m. on November

10, 1997. The Commonwealth provided Petitioner with a copy of the proposed testimony the

next day, November 11, 1997, which was a holiday, Veterans Day. As a result of the holiday, the

sentencing phase commenced on the following day, November 12, 1997. It was simply and

profoundly inadequate notice. There was not adequate time to investigate the statement or

consider how to respond to it.

       As a result, Petitioner had to shift his concentration from preparing and presenting

mitigating circumstances and rebutting aggravating circumstances to considering how to rebut

victim impact evidence.

       Because Petitioner did not learn of the victim impact until after jury selection, he had no

chance to ask potential jurors about whether they would be unduly swayed by victim impact

testimony. He had no chance to ask potential jurors if they would be unable to weigh the

mitigating factors presented at the sentencing phase. He had no chance to exercise challenges for

cause or peremptory challenges based on the venire members’ responses to questions about

victim impact testimony. The Commonwealth’s delinquent notice deprived Petitioner of his right

to proceed as other capital defense attorneys “commonly” proceed.

       In addition, the delinquent notice in this case violated Petitioner’s Sixth Amendment

rights to a fair trial and effective assistance of counsel. Here, the Commonwealth’s delinquent

notice gave Petitioner less than 48 hours to investigate, corroborate or refute and prepare for the

victim impact testimony the Commonwealth said it would offer. Accordingly, the


                                                118
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 126 of 160




Commonwealth created a situation where it denied Petitioner his constitutional right to effective

counsel.

        Counsel was deprived of additional time – and any meaningful time after the notice – to

find out that Mr. Campbell, the victim, did not have a license to carry the gun he had on his

person at the time he was shot. Such evidence, stipulated to at the post-conviction evidentiary

hearing, would have rebutted the victim impact testimony the Commonwealth presented. Trial

counsel testified that it would have been useful that the jury might have found that the shooting

would not have happened if Mr. Campbell had not been carrying a gun, as he should not have

been. NT 10/31/05, 93-94; see generally Claim IV.

        D.      The State Court Opinion

        By a slim 4-3 margin, the Pennsylvania Supreme Court rejected Petitioner’s argument

that the victim impact testimony was unconstitutional. The majority declared that Petitioner “had

more than twenty-four hours to discover information relevant to [the witness’] credibility and to

investigate the specific information about [the victim’s] life prior to the statement being

presented to the jury.” Natividad-1 at 179-80. The court stated it could find no prejudice suffered

by Petitioner. It “reject[ed] appellant’s specific error, [but] reaffirm[ed its] position that in all

future cases, notice must be provided prior to trial.” Id. at 180.

        In a vigorous dissent, Justice Nigro found it “inexplicable” that the majority would not

grant Petitioner the very same pretrial notice it now required the Commonwealth to grant all

future capital defendants:

        [P]rior notice is not just a better practice, but a constitutional due process
        requirement. . . . Contrary to the majority, I do not believe that giving Appellant
        little more than one day’s notice that the Commonwealth would be introducing
        victim impact testimony satisfies due process requirements, particularly in a
        capital sentencing proceeding where the life of the defendant hangs in the
        balance.


                                                  119
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 127 of 160




Id. at 182 (Nigro, J., dissenting).

        The court further rejected Petitioner’s federal constitutional challenges to the victim

impact evidence by referring to its reasoning set forth in another case that the court decided on

the same day, Commonwealth v. Means, 773 A.2d 143 (Pa. 2001). Natividad-1 at 177 (“for the

reasons stated in Means, we deny appellant’s constitutional challenges to the introduction of

victim impact testimony during the penalty phase of his capital case.”). The Means court, also in

a 4-3 decision, reversed a trial court’s decision that the victim impact statute provided

“insufficient guidance to the jury on how to weigh the testimony of victim impact in the

deliberative process” and, thus, was not “structured to eliminate arbitrary and capricious actions

by the jury.” Means, 773 A.2d at 146.

        The court in Means stated that “[t]he absence of directions on what weight should attach

to victim impact testimony does not affect the constitutional balance as there is no constitutional

requirement that the jury be advised on this point.” Id. at 154. The Means court added,

“Although Payne did not address the need for specific instructions to the jury on victim impact

testimony, the opinion presupposes that by application of the general rules regarding

admissibility and relevancy, fundamental fairness can be maintained.” Id. at 152 (citing Payne v.

Tennessee, 501 U.S. 808, 825, 831 (1991)). The court did not address Means’ argument that

Tuilaepa, requires courts to guide juries in weighing states through the selection phase to ensure

aggravating factors do not infringe upon the constitutional right to a sentencing decision free

from bias and caprice. Id. at 973 (there remains a limiting factor that governs deliberations:

“[t]he state must ensure that the process is neutral and principled so as to guard against bias or

caprice in the sentencing decision”).

        In dissent, Justice Nigro disagreed with the majority's interpretation of Payne:



                                                120
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 128 of 160




        Unlike the majority, I believe, that the admission of victim impact evidence in
        such an unguided fashion, to be used by the jury without any direction whatsoever
        in balancing aggravating and mitigating factors, violates the fundamental fairness
        required by the Due Process Clause of the Fourteen Amendment. . . . With so
        little direction on how the victim impact evidence is to be applied, the jury’s
        discretion is, in effect, left totally unchecked. The amended statute thereby injects
        the very kind of arbitrary and impermissible factor into the jury’s sentencing
        decision that this Court prohibited in [Commonwealth v.] Fisher[, 681 A.2d 150
        (Pa. 1996)].

Means, 773 A.2d at 162-164 (Nigro, J.).

        In a separate dissent, Justice Zappala, joined by Chief Justice Flaherty, agreed:

        At a minimum, the introduction of such evidence is incompatible with precedent
        of our Court providing that “victim impact evidence,” unaccompanied by
        restrictions as to its presentation or guidelines as to its evaluation,
        unconstitutionally interjects arbitrariness into the capital sentencing scheme.
        Because the Opinion Announcing the Judgment of the Court has flagrantly
        disregarded this rule of law and upheld the victim impact provisions of the capital
        sentencing statute, I vigorously dissent.

Id. at 161.

        E.     The Decision of the Pennsylvania Supreme Court Violated AEDPA

        The Pennsylvania Supreme Court’s decision in this case is contrary to and/or an

unreasonable application of a number of United States Supreme Court cases cited above.

        First, it is contrary to and/or an unreasonable application of Tuilaepa, which held that

“[t]he State must ensure that the [death penalty sentencing] process is neutral and principled so

as to guard against bias or caprice in the sentencing decision.” 512 U.S. at 972-73 (1994). Here,

the trial court’s limited instructions to the jury were not accurate or sufficient to “guard against

bias or caprice.”

        Second, the decision is contrary to and/or an unreasonable application of the decisions

requiring adequate notice to respond to the prosecution’s case. Lankford, 500 U.S. at 127 (citing

Strickland, “If notice is not given, and the adversary process is not permitted to function

properly, there is an increased chance of error, and with that, the possibility of an incorrect

                                                 121
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 129 of 160




result.”); accord Payne, 501 U.S. at 827 (if the conduct of the sentencing “so infects the

sentencing proceeding as to render it fundamentally unfair, the defendant may see appropriate

relief under the Due Process Clause of the Fourteenth Amendment”); see Rock, 483 U.S. at 51

(“The necessary ingredients of the Fourteenth Amendment’s guarantee that no one shall be

deprived of liberty without due process of law include a right to be heard and to offer testimony .

. . a person’s right to reasonable notice of a charge against him, and an opportunity to be heard in

his defense – a right to his day in court – are basic in our system of jurisprudence[.]” (quotation

omitted) (alternation in original)).

        Third, the delinquent notice violated Petitioner’s Sixth Amendment rights to a fair trial

and effective assistance of counsel. In Williams v. Taylor, 529 U.S. 362, 395 (2000), the United

States Supreme Court held that counsel’s performance was deficient at sentencing where “[t]he

record establishes that counsel did not begin to prepare for that phase of the proceeding until a

week before the trial.” Here, the Commonwealth’s delinquent notice gave Petitioner less than 48

hours to investigate, corroborate or refute and prepare for the victim impact testimony the

Commonwealth said it would offer. These circumstances are even more compelling than the

deficient performance found in Williams. As a result, the Commonwealth created a situation

where it denied Petitioner his constitutional right to effective counsel and the Pennsylvania

Supreme Court’s decision was contrary to and/or an unreasonable application of Williams.

        Petitioner requests that the Court grant the writ and vacate his death sentence.

XII.    PETITIONER IS ENTITLED TO A NEW SENTENCING HEARING WHERE
        THE COURT IMPROPERLY INSTRUCTED THE JURY ON THE NATURE
        AND USE OF AGGRAVATING AND MITIGATING FACTORS, AND WHERE
        TRIAL COUNSEL FAILED TO OBJECT OR REQUEST APPROPRIATE
        INSTRUCTIONS.

        Petitioner is entitled to a new sentencing hearing because the trial court’s uncorrected

misstatements of law in jury instructions substantially impaired the ability of the empaneled

                                                122
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 130 of 160




jurors to follow the law and render a verdict consistent with the Sixth, Eighth and Fourteenth

Amendments. The trial court failed to provide instructions necessary to give full effect to

mitigating evidence, and provided instructions that affirmatively misstated the nature and use of

mitigating evidence and impaired the jury’s ability to give mitigating effect to the evidence that

was presented. Trial counsel was ineffective for failing to object to the trial court’s instructions.

        A.      The Trial Court’s Instructions Erected Unconstitutional Barriers around the
                Defense Presentation of Mitigating Evidence that Prevented the Jury from
                Giving the Mitigation Its Full Effect

                1.      The nature and purpose of aggravating and mitigating instructions

        The trial court erred when it instructed the jury that aggravating circumstances are things

“which make a first degree murder case more terrible and deserving of the death penalty, while

mitigating circumstances are those things which make the case less terrible and less deserving of

the death penalty.” NT 11/12/97, 49. The trial court repeated these erroneous instructions in its

final charge to the jury, stating:

        The sentencing code defines aggravating and mitigating circumstances and as I
        previously told you, they are things that make a first degree murder case either
        more or less terrible.

Id. at 139.

        This definition of aggravating and mitigating circumstances is constitutionally flawed.

Mitigating evidence need not have any relationship to the crime or the case and must not be

limited to evidence that makes the crime “less terrible.” The trial court’s instruction erroneously

placed the focus of mitigating evidence on the circumstances of the offense at the expense of

those aspects of the defendant’s character, background, or record that make him a “uniquely

individual human bein[g],” Woodson v. North Carolina, 428 U.S. 280, 304 (1976), and that

would otherwise justify sparing his life.



                                                 123
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 131 of 160




       One of the most fundamental requirements of capital sentencing is that the jury must

undertake an exhaustive review of both the criminal offense and the offender. The jury must be

able to consider and give effect to the character, background, and record of the defendant

himself. See Tennard v. Dretke, 542 U.S. 274, 287 (2004); Penry v. Lynaugh, 492 U.S. 302, 322,

324 (1989) (Penry I). At its essence, the Eighth Amendment constitutionally mandates

individualized capital sentencing. Woodson, 428 U.S. at 304; Sumner v. Shuman, 483 U.S. 66,

75-76 (1987). This requires a reasoned moral response to the personal culpability and the unique

personal circumstances of the defendant. See Woodson, 428 U.S. at 304.

       While the circumstances of the offense are an important consideration in determining

whether a defendant should live or be sentenced to die, mitigating evidence need not have any

causal connection to the crime for it to be mitigating, and exclusion of such evidence violates the

Eighth Amendment. See, e.g., Tennard, 542 U.S. at 287 (rejecting the Fifth Circuit’s requirement

that in order to be constitutionally relevant mitigation evidence, defendant’s low IQ must have

contributed to the criminal act); Hitchcock v. Dugger, 481 U.S. 393, 397-98 (1987) (mitigation

includes, among other things, defendant’s being “one of seven children in a poor family”,

“innocence of significant prior criminal activity or violent behavior”, and “potential for

rehabilitation”); Skipper v. South Carolina, 476 U.S. 1, 4-5 (1986) (defendant’s post-arrest

conduct in prison “would not relate specifically to petitioner’s culpability for the crime he

committed” but “there is no question but that such inferences would be ‘mitigating’”); Eddings v.

Oklahoma, 455 U.S. 104 (1982) (evidence of defendant’s turbulent family history is mitigating);

Lockett v. Ohio, 438 U.S. 586, 607-08 (1978) (capital sentencing statute unconstitutional when it

limits mental health mitigation to impairments that had causal role in offense).




                                                124
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 132 of 160




        The instructional requirement that mitigation evidence make “the case less terrible” is

nothing more than a requirement that mitigating evidence have a factual nexus to the time and

circumstances of the offense. Indeed, the Pennsylvania Supreme Court has recognized as much

in explaining former Pennsylvania Suggested Standard Criminal Jury Instructions, Pattern

Instruction 15.2502F, which states:

        Members of the jury, you must now decide whether to sentence the defendant to
        death or to life imprisonment. Your sentence will depend upon what you find
        about aggravating and mitigating circumstances. They are things that make a first
        degree murder case either more terrible or else less terrible.

In Commonwealth v. Saranchak, 675 A.2d 268, 278 (Pa. 1996), the Pennsylvania Supreme Court

held that the “less terrible” Pattern Instruction “appropriately informed [the jury] that in order to

find mitigating circumstances [it] must determine that evidence existed showing [defendant’s]

character was impaired in some way so as to diminish his capacity to appreciate his criminal

behavior.” This explanation strongly suggests that the Pattern Instruction, as followed here, may

violate Tennard, which reaffirmed that such a nexus requirement “has no basis in our precedents

and, indeed, is inconsistent with the standard we have adopted for relevance in the capital

sentencing context.” Tennard, 542 U.S. at 287.

        Moreover, the concept that mitigation must make the killing “less terrible” involves not

just the subject matter of what constitutes mitigating evidence but how the jury was to evaluate

whether and to what extent the evidence is to be considered mitigating. Thus, when the jury was

later told that it may consider other evidence concerning defendant’s character and record, the

jury’s view of Petitioner’s character was limited by the court’s instruction as to the terribleness

of the crime. Consequently, where the jury rejected Petitioner’s mitigating evidence that was

distinct from the crime itself, its “ability to consider and give effect to [Petitioner’s] mitigating

evidence . . . was ‘shackled and confined,’” Penry v. Johnson, 532 U.S. 782, 798 (2001) (Penry


                                                  125
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 133 of 160




II), by the instruction that the mitigating value of evidence was dependent upon whether it made

the murder “less terrible.”

        Under this instruction, “‘[a] reasonable juror could well have believed that there was no

vehicle for expressing the view that [Petitioner] did not deserve to be sentenced to death based

upon his mitigating evidence.’” Id. at 804 (quoting Penry I, 492 U.S. at 326). So even though the

court generally instructed that the defendant’s character and record could constitute mitigating

evidence, “the mechanism it purported to create for the jurors to give effect to that evidence was

ineffective.” Id.

                2.     The presumption of a death sentence

        In Pennsylvania, a jury may impose death only if it unanimously finds at least one

aggravating circumstance and no mitigating circumstances, or where the aggravating

circumstances outweigh the mitigating circumstances. 42 Pa. C.S. § 9711(c)(iv). If the jury is in

equipoise (i.e., the aggravating and mitigating circumstances are of equal weight), or if any juror

believes a life sentence is appropriate, a life sentence must be imposed. Commonwealth v. Baker,

614 A.2d 663, 677 (Pa. 1992). Here, the jury found mitigation. Thus, the burden of persuasion as

to whether a death sentence should be imposed rested with the Commonwealth. Id.; see also

Commonwealth v. Eichinger, 915 A.2d 1122, 1138 (Pa. 2007) (stating that the capital sentencing

statute’s “clear indication that life in prison is the sentence unless the Commonwealth meets its

high burden is sufficient to convey the fact that life is presumed”).

        The court instructions, however, told the jury it had to reject death to impose a life

sentence and thus improperly fostered a presumption in favor of death. See Sandstrom v.

Montana, 442 U.S. 510, 523 (1979) (holding that due process is violated where an instruction

“conflict[s] with the overriding presumption of innocence with which the law endows the

accused and which extends to every element of the crime”). Here, the trial court instructed:

                                                126
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 134 of 160




       Now, if your sentence is life imprisonment, you should check the finding of either
       C-1 or C-2 which explains why you’re rejecting the death penalty and imposing a
       life sentence.

       If the reason for rejecting the death penalty is that one or more of you find no
       aggravating circumstance check C-1. If the reason for rejecting death is that
       although all of you agree on at least one aggravating circumstance, one or more of
       you find that the mitigating [circumstances] are not outweighed by the
       [aggravating] circumstance, then check C-2.

NT 11/12/97, 151. This instruction undermined Petitioner’s statutory and constitutional

presumption to life. Further, the court’s erroneous instructions compounded the prosecutor’s

improper closing argument, which told the jury that it needed to find a mitigating

circumstance—even if it found no aggravating circumstances—in order to sentence Petitioner to

life. NT 11/12/97, 134 (“If you find an aggravating – if you found no aggravating circumstance,

no aggravating circumstance or circumstances and this mitigating circumstance of the character

and the record or the circumstances of his offense, then you must and I compel you to sentence

Ricardo Natividad to life.”).

       By repeatedly telling the jurors that their function was to explain why they “rejected” the

death penalty, the court’s instruction incorrectly suggested that there was a presumption that the

death penalty was the appropriate sentence. This presumption unconstitutionally skewed the jury

towards a death sentence and prevented the jury from giving full consideration and effect to the

mitigating evidence presented at trial as required by the Eighth Amendment. See Section A.1,

supra; see also Jackson v. Dugger, 837 F.2d 1469, 1473-74 (11th Cir. 1988) (reversing death

sentence where the court instructed the jury that “death is presumed to be the proper sentence

unless [any aggravators] are overridden by one or more of the mitigating circumstances”). The

instruction also improperly shifted the burden of persuasion from the Commonwealth to the

defense and effectively required the defense to rebut the presumption of death with evidence of

mitigation. Francis v. Franklin, 417 U.S. 307, 317-18 (1985); Sandstrom, 442 U.S. at 523.

                                               127
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 135 of 160




Because the jury “may have interpreted the judge’s instruction as constituting either a burden-

shifting presumption . . . or conclusive presumption,” the instruction violated Petitioner’s right to

due process of law. Sandstrom, 442 U.S. at 523.

       These instructional errors, individually and in combination with trial counsel’s failure to

object, rendered the resulting death sentence arbitrary and unreliable in violation of the Sixth,

Eighth, and Fourteenth Amendments. Petitioner is entitled to a new sentencing proceeding.

               3.      The preclusion from considering sympathy

       Upon further review and consideration, Petitioner withdraws this aspect of this claim.

       B.      Trial Counsel Was Ineffective for Failing to Object to the Instructions

       Counsel made efforts during the trial to limit evidence to be used against Petitioner, and

his stated goal was to persuade the jury to sentence Petitioner to life, not death, for his crimes.

       I put on that mitigation evidence that I thought would . . . offer some type of
       explanation as to why Rick Natividad committed crimes in the past; to offer some
       explanation of where he came from, what put him on the slope or why he even
       went up that slope that lead to the death of Mr. Campbell.

NT 11/12/97, 137. Counsel, however, did not object to the trial court’s erroneous instructions

that inhibited the jury’s ability to understand the full range of mitigating evidence that it could

consider and which party bears the burden of persuasion.

       To the extent counsel failed to properly object to or litigate claims relating to these

instructions, counsel lacked any strategic basis to do so, as Petitioner stood only to gain from

having the jury properly instructed. Courts have consistently found that counsel’s failure to

ensure that the jury was properly instructed is objectively unreasonable and constitutionally

deficient where, as here, the constitutionally erroneous instructions went to the heart of the jury’s

sentencing determination. See, e.g., Breakiron v. Horn, 642 F.3d 126, 137-41 (3d Cir. 2011)

(counsel ineffective for failing to seek lesser-included-offense instruction that was supported by


                                                 128
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 136 of 160




the evidence and which, if found by the jury, would have negated an aggravating circumstance);

Everett v. Beard, 290 F.3d 500, 514 (3d Cir. 2002) (“[C]ounsel must not neglect to suggest

instructions that represent the law that would be favorable to his or her client.”); Carpenter v.

Vaughn, 296 F.3d 138, 158-59 (3d Cir. 2002) (counsel ineffective for failing to ensure that the

jury received an accurate instruction on parole eligibility).

       The two statutory aggravators offered by the Commonwealth were easily proved by basic

evidence relating to the convictions and Petitioner’s criminal history. See 42 Pa. C.S. §

9711(d)(6) (killing occurred during the perpetration of a felony); 42 Pa. C.S. § 9711(d)(9)

(significant history of felony convictions involving the use or threat of violence). Thus,

Petitioner’s case in mitigation rested on convincing the jury that the Commonwealth had not met

its burden of persuasion and/or demonstrating that there were details about his background—as

opposed to specifics of the crime—that warranted a life sentence. The trial court’s erroneous

instructions deprived the jury of its opportunity to fully consider that evidence, and counsel’s

failure to properly object to and litigate the claims prevented the errors from being corrected. But

for counsel’s deficient performance, there is a reasonable probability that at least one juror would

have voted to impose a life sentence.

       Moreover, appellate counsel failed to raise claims relating to the erroneous instructions.

Indeed, counsel failed to raise any claims related to the sentencing phase of Petitioner’s trial.

Counsel lacked a sound strategic basis for his decision, and thus performed deficiently. But for

appellate counsel’s deficient performance, there is a reasonable probability that Petitioner would

have prevailed in his direct appeal.

       C.      The State Court Opinion

       Petitioner raised this instructional error claim in post-conviction proceedings. See Brief

for Appellant at 80-91, App. Exh. No. 26. The Pennsylvania Supreme Court denied these claims.

                                                 129
       Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 137 of 160




Neither holding with respect to instructional error warrants AEDPA deference. As to the first

error, the state court failed to adjudicate Petitioner’s federal constitutional arguments on the

merits. As to the second error, the state court unreasonably determined facts based on the record.

This Court’s review is therefore de novo as to all aspects of this claim.

               1.      The state court did not adjudicate Petitioner’s constitutional
                       arguments regarding the “more terrible/less terrible” instruction

        With regard to the trial court’s first instructional error—the “more terrible/less terrible”

instruction—the state court failed to consider, let alone adjudicate, the federal constitutional

arguments presented and instead rested its decision entirely on state-law grounds. Specifically,

citing to its own jurisprudence, the court simply stated: “We have, however, found no merit to

this exact argument on numerous occasions before and after Marinelli.” Natividad-2 at 339

(citing Commonwealth v. Washington, 927 A.2d 586, 613-14 (Pa. 2007); Commonwealth v. Rios,

920 A.2d 790, 817 (Pa. 2007); Commonwealth v. Johnson, 815 A.2d 563, 587-88 (Pa. 2002);

Commonwealth v. Stevens, 739 A.2d 507, 527 (Pa. 1999)).

        The cases relied upon by the court also fail to consider federal constitutional principles in

upholding the improper “more terrible/less terrible” instruction. Because the state court failed to

mention any of the federal constitutional principles implicated by this claim, the decision is not

an adjudication on the merits, and this Court’s review is de novo.

        Further, even assuming the decision could be considered an adjudication of the merits of

the federal constitutional claims, the determination is contrary to and/or an unreasonable

application of the principles of clearly established federal law discussed above because the state

court failed to articulate any federal constitutional standards in denying the claim. See, e.g.,

Lockett, 438 U.S. at 604; Skipper, 476 U.S. at 4; McKoy, 494 U.S. at 441; Tennard, 542 U.S. at

287.


                                                 130
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 138 of 160




       Finally, with regard to Petitioner’s claim of ineffectiveness, the state court stated that

“[w]hile his claim arguably has merit, [Petitioner] cannot demonstrate that he was prejudiced by

the court’s omission . . . [because] [t]he jury found in favor of [Petitioner] for the Section

9711(e)(8) mitigator . . . .” Natividad-2 at 340. The fact that one or more jurors found (e)(8) does

not mean that Petitioner was not prejudiced. It may have been only a single juror who found the

mitigating factor. Other jurors may well have been persuaded by the idea that mitigating

evidence not directly connected to the offense—such as Petitioner’s dysfunctional childhood and

longstanding alcoholism—should be discounted entirely.

       Moreover, the thrust of the court’s instruction was not to deny the fact that Petitioner had

suffered abuse but to deny that the jury should give that fact any weight if it had no nexus to the

crime. Cf. Penry II, 532 U.S. at 797 (holding that “the key . . . is that the jury be able to ‘consider

and give effect to [a defendant’s mitigation] evidence in imposing sentence.’” (quoting Penry I,

492 U.S. at 319) (alterations and emphasis in original)). Any juror or jurors who followed the

court’s instruction could have “found” the (e)(8) mitigator without weighing its impact on

Petitioner’s moral culpability. Thus, the fact that some jurors found the mitigating circumstance

to exist does not mean that any or all of them gave effect to the evidence, especially when

directed not to by the judge. The state court’s ruling is unreasonable both in law and in fact.

               2.      The state court’s holding regarding erroneously placing the burden of
                       persuasion on Petitioner involved an unreasonable application of
                       clearly established law and/or an unreasonable determination of the
                       facts

       As to the trial court’s second error—erroneously placing the burden of persuasion on

Petitioner and not on the Commonwealth—the state court ruled that because the instruction was

ambiguous, rather than clearly erroneous, it was subject to the “reasonable probability” test

under Boyde v. California, 494 U.S. 370 (1990), which held that the proper inquiry for an


                                                 131
     Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 139 of 160




ambiguous instruction is “whether there is a reasonable likelihood that the jury has applied the

challenged instruction in a way that prevents the consideration of constitutionally relevant

evidence.” Id. at 380. Based on that ruling, the court asserted that the challenged instruction was

not per se unconstitutional in light of the jury instructions as a whole. See Natividad-2 at 338-

39. The state court decision was based on an unreasonable application of the law and an

unreasonable determination of the facts in light of the state court record.

      First, while the state court described the correct standard under Boyde, it ultimately held

Petitioner to a higher standard and required him to show “that the jury was forced to render a

sentence of death by the instruction.” Natividad-2 at 339. Boyde merely requires that there be a

“reasonable likelihood” that the jury applied the instructions in the unconstitutional manner

described by Petitioner. Even assuming that the instructions as a whole contain correct

statements of law, under Supreme Court precedent, instructional “language that merely

contradicts and does not explain a constitutionally infirm instruction will not suffice to absolve

the infirmity.” Francis, 471 U.S. at 322. Here, the improper instruction was, at best,

contradicted by other instructions but was never explained or withdrawn.

      Moreover, it is reasonably likely that the jury relied upon the challenged instructions

because of the nature of the challenged instruction. It was given at the end of the overall

instructions, and jurors typically “attempt to make sense of a confusing earlier portion of the

instruction by reference to a later portion of the instruction.” Francis, 417 U.S. at 321 n.7.

Further, the erroneous instruction concerned the jury’s use of the sentencing verdict sheet. As

the Pennsylvania Supreme Court explained in another case, the use of a written verdict sheet

“encourage[s] the jury to ignore the court’s general instruction and focus upon . . . portions of

the charge” related to the written verdict sheet. Commonwealth v. DeHart, 650 A.2d 38, 48-49



                                               132
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 140 of 160




(Pa. 1994). For these reasons, it is reasonably likely that the jury relied on the erroneous

instructions, and therefore that the instructions as a whole do not “absolve the infirmity.” The

state court’s conclusion is contrary to and/or an unreasonable application of Boyde and Francis.

       Second, the instructions as a whole failed to cure the error because the instructions

skewed the jury’s deliberations towards death in other respects. For example, the court also

instructed the jury:

       Now, members of the jury, if you do not agree unanimously on a death sentence,
       and on one of the two general findings that would support it, then you can do two
       things immediately. You may either continue to discuss the case and deliberate
       the possibility of a death sentence, or if all of you agree to do so you can stop
       deliberating and sentence the defendant to life imprisonment.

NT 11/12/97, 147-48. This instruction not only gave primacy to the possibility of unanimous

agreement on death over any other possible sentencing outcome, it specifically indicated the jury

should “deliberate the possibility of a death sentence,” excluding deliberation for a life sentence

altogether, and required unanimity to cease deliberations. These instructions, along with

instructions that mischaracterized the nature and scope of mitigating evidence in a manner that

unconstitutionally limited the jury’s consideration of mitigating factors, see Section A.1, supra,

created a presumption of death that pervaded the entire penalty phase and impermissibly shifted

the parties’ burden of persuasion. The state court’s suggestion that the remainder of the trial

court’s charge clearly established that the Commonwealth maintained the burden of persuasion is

unreasonable in light of the record. See Natividad-2 at 339.

       Finally, the state court failed to address Petitioner’s argument that the instructions

prevented the jury from giving full consideration and effect to his mitigating evidence under

Lockett and Eddings. Because the state court failed to mention any of the federal constitutional

principles implicated by this claim, the decision is not an adjudication on the merits, and this

Court’s review is de novo. Similarly, because the state court failed to address Petitioner’s

                                                133
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 141 of 160




asserted violation of his right to effective counsel in relation to the “reject death” instruction, de

novo review is required on these aspects of the claim. Relief is appropriate for the reasons stated

above.

XIII. PETITIONER WAS DENIED HIS CONSTITUTIONAL RIGHTS TO A FAIR
      AND IMPARTIAL CAPITAL JURY WHERE THE TRIAL COURT AND TRIAL
      COUNSEL FAILED TO ENSURE THAT THE JURORS SELECTED WOULD
      CONSIDER THE POSSIBILITY OF A LIFE SENTENCE, IN VIOLATION OF
      PETITIONER’S RIGHTS UNDER THE SIXTH, EIGHTH, AND FOURTEENTH
      AMENDMENTS.

          A.     Trial Counsel Ineffectively Failed to Life-Qualify the Jury

          Trial counsel was ineffective for failing to life qualify any of the veniremen during

Petitioner’s jury selection. A prospective juror may be excused for cause because of his or her

views on capital punishment if the juror’s views would “prevent or substantially impair the

performance of his duties as a juror in accordance with his instructions and his oath.” Adams v.

Texas, 448 U.S. 38, 45 (1980); Wainwright v. Witt, 469 U.S. 412, 424 (1985). Under Witt and

Adams, a juror whose ability to consider and give effect to relevant mitigating evidence is

substantially impaired must be excluded for cause because he “will fail in good faith to consider

the evidence . . . as the instructions require him to do.” Morgan v. Illinois, 504 U.S. 719, 729

(1992).

          In this case, the trial court conducted a voir dire process in which the Commonwealth

received the benefit of death qualification, but there was no life qualification. See, e.g., NT

10/30/97, 58; NT 10/31/97, 26-27; NT 11/3/97, 27; NT 11/5/97, 26. Trial counsel failed to object

to the trial court’s one-sided questioning, which ensured that no unduly life-prone jurors would

be selected but allowed death-prone jurors to sit. Nor did trial counsel himself make any attempt

to insure that the jurors selected were capable of imposing a sentence of life. Professionally

reasonable trial counsel would have life qualified the jury.


                                                  134
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 142 of 160




       At the time of Petitioner’s trial, Morgan had been decided, and the availability and

benefits to the defense of life qualification were well established. See generally Hinton v.

Alabama, 571 U.S. 263, 274 (2014) (counsel has duty to know applicable law). Moreover, at

least three cases decided by the Pennsylvania Supreme Court in the 1970s approved inquiring of

prospective jurors whether they had any conscientious objections to returning a life sentence for

murder in the first degree during voir dire. See Commonwealth v. Johnson, 400 A.2d 583, 586-87

(Pa. 1979); Commonwealth v. Kingsley, 391 A.2d 1027, 1033-34 (Pa. 1978); Commonwealth v.

Weeden, 322 A.2d 343, 347 (Pa. 1974). Under these circumstances, trial counsel could not have

had any reasonable basis for failing to life qualify the jury. As the Morgan Court stated: “The

risk that such jurors may have been empaneled in this case and infected petitioner’s capital

sentencing is unacceptable in light of the ease with which that risk could have been minimized.”

504 U.S. at 736 (quotations omitted).

       Failure to life qualify the jury is a type of error whose precise effect on the verdict cannot

be reasonably assessed. Accordingly, such an error should be considered structural error. See

Brecht v. Abrahamson, 507 U.S. 619, 629-30, 638 (1993) (recognizing distinction between “trial

errors” that are “amenable to harmless-error analysis” and “structural defects” in the trial that

infect the trial process and are not subject to harmless error analysis); Neder v. United States, 527

U.S. 1, 7 (1999) (quoting Brecht and explaining concept of errors that are so “intrinsically

harmful as to require automatic reversal”); United States v. Gonzalez-Lopez, 548 U.S. 140, 149

n.4 (2006) (some errors are deemed structural because of the “difficulty of assessing the effect of

the error”). Therefore, prejudice from counsel’s deficient performance should be presumed.

       Alternatively, Petitioner was prejudiced by trial counsel’s deficient performance. As a

result of the court’s one-sided questioning during voir dire and trial counsel’s failure to object,



                                                 135
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 143 of 160




jurors who were improperly prone to a death sentence and unable to give fair consideration to a

life sentence were empaneled on Petitioner’s jury. Indeed, as recently recognized by the Joint

State Government Commission Report on Capital Punishment in Pennsylvania, the “death

qualification” process “is a suggestive and influential process that leads to conviction prone

juries by creating juries that are less likely to share attitudes in opposition of giving a death

penalty and reaffirming jurors’ willingness and expectations to convict the defendant and

sentence him to death.” Joint Sate Government Commission, Capital Punishment in

Pennsylvania: The Report of the Task Force and Advisory Committee, 147 (June 2018) (internal

references omitted). It was therefore critical that trial counsel serve as a countervailing force to

ensure that jurors who were incapable of following the law and imposing a life sentence were

excluded from Petitioner’s jury.

       The relevant inquiry does not focus on the empaneling of a specific, identifiably biased

juror but rather “whether the composition of the jury panel as a whole could possibly have

been affected . . . .” Gray v. Mississippi, 481 U.S. 648, 664 (1987) (emphasis in original). It may

be impossible to determine for certain how many of the jurors seated at trial would automatically

vote for death because trial counsel failed to question them. But the death sentence must be

vacated if “even one such juror” was empaneled, Morgan, 504 U.S. at 729, which is enough to

undermine confidence in the sentence and establish prejudice.

       B.      The State Court Opinion

       Petitioner raised this claim in the post-conviction proceedings. See Brief for Appellant at

77-80, App. Exh. No. 26. The Pennsylvania Supreme Court denied relief, asserting that

Petitioner had not proven he was prejudiced by trial counsel’s failure to life qualify jurors.

Natividad-2 at 336. Because the court did not address whether counsel performed deficiently,

Petitioner is entitled to de novo review of the first prong of Strickland. See Porter v. McCollum,

                                                 136
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 144 of 160




558 U.S. 30, 39 (2009) (per curiam) (“Because the state court did not decide whether Porter’s

counsel was deficient, we review this element of Porter’s Strickland claim de novo.”).

        The state court’s ruling that Petitioner was not prejudiced was an unreasonable

application of clearly established Supreme Court precedent and was unreasonable in light of the

state court record for at least two reasons.

        First, in determining that trial counsel was not ineffective for failing to life qualify the

jurors, the state court applied a rule that counsel can never be ineffective for this failure,

asserting that trial counsel is not ineffective for failing to life qualify a jury so long as the jury

selection process is otherwise fair and impartial. Natividad-2 at 336. This assertion is an

unreasonable application of Strickland because such bright line rules are inimical to Strickland

and wholly inconsistent with the case-specific analysis Strickland requires. Under Strickland, a

determination of counsel’s effectiveness depends upon the particular circumstances and facts of

each case. See, e.g., Strickland, 466 U.S. at 681 (counsel’s strategic choices are deferred to when

they “are reasonable given the totality of the circumstances”).

        Second, the Pennsylvania Supreme Court asserted Petitioner had not proved he was

prejudiced by trial counsel’s failure to life qualify jurors. Natividad-2 at 336. However, errors in

the jury selection process are not subject to harmless error review, and thus prejudice from

counsel’s deficient performance is presumed. See, e.g., Gray, 481 U.S. at 665; Rose v. Mitchell,

443 U.S. 545, 556 (1979) (“revers[ing] the conviction . . . without inquiry into whether the

defendant was prejudiced in fact by the discrimination [,]” where racial discrimination has

altered the composition of the indicting grand jury). The Pennsylvania Supreme Court’s

application of harmless analysis to Petitioner’s claim of error in the jury selection process was

contrary to Gray.



                                                  137
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 145 of 160




XIV. ALL PRIOR COUNSEL WERE INEFFECTIVE FOR FAILING TO RAISE
     EACH AND EVERY ISSUE PRESENTED HEREIN.

        For this claim, Petitioner refers the Court to the other claims, as briefed in this

Memorandum of Law.

XV.     PETITIONER IS ENTITLED TO RELIEF FROM HIS CONVICTION AND
        SENTENCE BECAUSE OF THE PREJUDICIAL EFFECTS OF THE
        CUMULATIVE ERRORS IN THIS CASE.

        For the reasons set forth herein, to the extent that trial/appellate counsel failed to properly

investigate and to make the objections and arguments raised throughout this Petition, he provided

ineffective assistance of counsel in violation of Petitioner’s rights under the Sixth, Eighth, and

Fourteenth Amendments to the United States Constitution. Similarly, to the extent that counsel

failed to raise on direct appeal any of the claims set forth herein, he also rendered ineffective

assistance of counsel in violation of Petitioner’s rights under the Sixth, Eighth, and Fourteenth

Amendments to the United States Constitution. Although each instance of counsel’s failures

requires relief individually, in addition, the cumulative effect of each instance of counsel’s

failures is sufficiently prejudicial to require relief.

        Each of the claims contained herein provides a basis for relief from Petitioner’s

conviction and sentence. Should this Court find that Mr. Natividad is not entitled to relief based

on any single claim because he has failed to show the prejudicial effect of a single error, he is

entitled to relief because of the cumulative prejudicial effect of all of the errors set forth in this

petition.

        A.      Legal Standards

        The United States Supreme Court has long recognized that cumulative error can give rise

to a constitutional violation. See Taylor v. Kentucky, 436 U.S. 478, 487-88 & n.15 (1978)

(cumulative effect of potentially damaging instructions and prosecution argument violated due


                                                   138
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 146 of 160




process guarantee of fundamental fairness); Donnelly v. DeChristoforo, 416 U.S. 637, 639-42

(1974) (considering totality of prosecutorial misconduct in context of entire trial to decide if

misconduct was sufficiently prejudicial to violate defendant’s due process rights); Chambers v.

Mississippi, 410 U.S. 284, 290 n.3 (1973). The Third Circuit has recognized the same principle.

United States ex rel. Sullivan v. Cuyler, 631 F.2d 14, 17 (3d Cir. 1980) (“[T]he cumulative effect

of the alleged errors may violate due process, requiring the grant of the writ, whereas any one

alleged error considered alone may be deemed harmless.”); Cannon v. Maroney, 373 F.2d 908,

909-10 (3d Cir. 1967) (reviewing the cumulative prejudicial effect of several errors in order to

determine whether those errors were so prejudicial as to deprive the defendant of a fair trial). The

Court reaffirmed the availability of habeas relief for cumulative error in Marshall v. Hendricks,

307 F.3d 36 (3d Cir. 2002), where it reviewed Marshall’s claims of trial error to determine if “the

errors of all kinds,” in the aggregate, amounted to a denial of due process. Id. at 94. See also

Fahy v. Horn, 516 F.3d 169, 205 (3d Cir. 2008) (reviewing claim of cumulative error); Albrecht

v. Horn, 485 F.3d 103, 139 (3d Cir. 2007) (same).

       In Collins v. Secretary of the Pennsylvania Department of Corrections, 742 F.3d 528 (3d

Cir. 2014), the court held that cumulative error is not simply a way of measuring prejudice, but

rather a standalone claim that due process was violated as a result of multiple errors. Id. at 542

(“[C]umulative error doctrine allows a petitioner to present a standalone claim asserting the

cumulative effect of errors at trial that so undermined the verdict as to constitute a denial of his

constitutional right to due process”). The Court reiterated that “[c]umulative errors are not

harmless if they had a substantial and injurious effect or influence in determining the jury’s

verdict . . . .” Collins, 742 F.3d at 542 (quoting Fahy, 516 F.3d at 205)).




                                                 139
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 147 of 160




        Determining prejudice with respect to ineffective assistance of counsel claims also

requires the reviewing court to assess the cumulative impact of all of counsel’s errors. In

Strickland, the Court consistently referred to counsel’s errors in the plural, illustrating this point.

See Strickland v. Washington , 466 U.S. 668, 687 (1984) (explaining that prejudice “requires

showing that counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial

whose result is reliable”); id. at 694 (“The defendant must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.”); id. at 695 (explaining that “the question is whether there is a reasonable

probability that, absent the errors, the fact finder would have had a reasonable doubt respecting

guilt”). The Third Circuit has likewise recognized that the prejudicial effect of claims of

ineffective assistance must be assessed cumulatively. Berryman v. Morton, 100 F.3d 1089, 1102

(3d Cir. 1996) (looking to the prejudicial effect of multiple errors by counsel).

        The prejudice resulting from counsel’s ineffective assistance can also be combined with

the prejudicial effects of other types of error to establish a due process violation. See Affinito v.

Hendricks, 366 F.3d 252, 261-63 (3d Cir. 2004) (examining the combined prejudicial effect of

counsel’s deficient performance and an erroneous jury instruction); Sullivan, 631 F.2d at 17

(remanding the case to the district court to consider the cumulative prejudicial effect of various

claims of counsel’s ineffectiveness, along with claims of other trial court and prosecutorial

errors). Accord Cargle v. Mullin, 317 F.3d 1196, 1209 (10th Cir. 2003) (concluding that

petitioner, challenging both his conviction and death sentence, was “entitled to relief . . . on the

basis of cumulative error combining ineffective assistance of counsel with instances of

prosecutorial misconduct and the use of improper victim impact evidence”); Alcala v. Woodford,




                                                  140
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 148 of 160




334 F.3d 862, 894 (9th Cir. 2003) (concluding that cumulative effect of counsel’s ineffectiveness

and various trial errors deprived petitioner of a fundamentally fair trial).

         B.     The State Court Opinion

         In his initial post-conviction appeal, Mr. Natividad raised a claim of cumulative error

relating to both guilt and penalty phase claims. Brief for Appellant at 92-93, App. Exh. No. 26.

The Pennsylvania Supreme Court only addressed the cumulative prejudice of the penalty phase

claims. The state court denied relief, holding that no number of failed claims can collectively

warrant relief if they fail to do so individually. Natividad-2 at 340-41.

         Petitioner’s cumulative error claim raised a federal due process issue. Because the state

court did not consider the prejudicial impact of the guilt phase assertions of error, there was no

adjudication of the claims as pled by Petitioner. Thus, this court’s review is de novo.

         As to the cumulative prejudice arising from the penalty phase issues, the state court

effectively rejected the concept of cumulative prejudice. The court found that only individual

claims that have merit can justify relief. Such a ruling is contrary to, and an unreasonable

application of, the clearly established Supreme Court case law cited above. E.g., Taylor, Collins,

supra.

XVI. AGGRAVATING CIRCUMSTANCE, 42 PA. C.S. § 9711(D)(9) (SIGNIFICANT
     HISTORY OF FELONY CONVICTIONS INVOLVING THE USE OR THREAT
     OF VIOLENCE TO THE PERSON), IS VOID FOR VAGUENESS, AND
     PETITIONER’S DEATH SENTENCE VIOLATES THE EIGHTH AND
     FOURTEENTH AMENDMENTS AND MUST BE REVERSED.

         Mr. Natividad was convicted of first degree murder and related charges by a jury in the

Philadelphia County Court of Common Pleas. One of the aggravating circumstances found by

the jury was that Petitioner had a significant history of felony convictions involving the use or




                                                 141
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 149 of 160




threat of violence to the person, 42 Pa. C.S. § 9711(d)(9).25 Pursuant to Johnson v. United

States, 135 S. Ct. 2551 (2015), the aggravating circumstance is invalid because it is

unconstitutionally vague under the Eighth and Fourteenth Amendments to the United States

Constitution.

       In Johnson, the Supreme Court held that the residual clause of the Armed Career

Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), was unconstitutionally vague. Because

Johnson sets forth a new rule of constitutional law expressly made retroactive, and because the

language of 42 Pa. C.S § 9711(d)(9) is materially indistinguishable from the provision ruled

unconstitutional in Johnson, Petitioner’s death sentence must be reversed.

       A.       Post-Johnson Procedural History

                1.     State court proceedings

       On June 17, 2016, following the decision of the United States Supreme Court in Welch v.

United States, 136 S. Ct. 1257 (2016), Mr. Natividad filed a second supplement to the Successor

PCRA Petition.26 He challenged as unconstitutionally vague one of the two aggravating

circumstances the sentencing jury found:, specifically, 42 Pa. C.S. § 9711(d)(9) (the defendant

had a significant history of felony convictions involving the use or threat of violence to the

person).27



25
   The jury found as an aggravating circumstance that Petitioner had “a significant history of
felony convictions involving the use or threat of violence to the person.” 42 Pa. C.S. §
9711(d)(9). In support of this aggravating circumstance, the prosecution offered a stipulation
regarding two juvenile adjudications, three adult convictions and the robbery and kidnapping
conviction in this case. NT 11/12/97, 52-55. The jury also found the aggravating circumstance
that the killing was committed while in the perpetration of a felony. 42 Pa. C.S. § 9711(d)(6). It
found Petitioner’s life history as a mitigating circumstance. NT 11/12/97, 156.
26
   The second supplement also relied on Johnson v. United States, 135 S. Ct. 2551 (2015).
27
   The jury also found the aggravating circumstance that the killing was committed while in the
perpetration of a felony, 42 Pa. C.S. § 9711(d)(6). On the other side of the equation, the jury
found Appellant’s life history to be a mitigating circumstance. NT 11/12/97, 156.

                                                142
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 150 of 160




       On July 7, 2016, the PCRA court signed two Orders granting Mr. Natividad permission

to file the October 6, 2014 and June 17, 2017 supplements to the Successor PCRA Petition.

There was no objection from the Commonwealth. NT 7/7/16, 61-63.

       The PCRA court initially granted relief, vacating Mr. Nativdad’s death sentence, because

the (d)(9) aggravating circumstances was unconstitutionally vague. See Order dated 12/21/16.

The Commonwealth filed a motion for reconsideration and, on January 13, 2017, the PCRA

court vacated the December 21, 2016 Order.

       The PCRA court then dismissed the Successor PCRA Petition in its entirety on February

14, 2017. Mr. Natividad timely appealed. On August 9, 2017, the PCRA court issued an Opinion

in support of its February 14, 2017 Order. On January 23, 2019, the Pennsylvania Supreme Court

affirmed the lower court’s ruling. Natividad-3 at 41.

               2.      Federal habeas proceedings

       On April 4, 2017, while state court proceedings were pending and habeas proceedings

were in suspense, Petitioner filed a motion for leave to lodge a supplement to his habeas petition.

The attached Supplement raised the Johnson claim addressed here, but did not ask this court to

take any action on the supplement until after state court proceedings were completed. On August

29, 2017, this Court issued an Order allowing the Supplement to be lodged and continued to hold

proceedings in suspense.

       B.      Johnson v. United States and Its Progeny

       At issue in Johnson was a defendant’s eligibility under a provision of the ACCA

providing for enhanced penalties for certain offenders with a history of convictions for “crimes

of violence.” The relevant portion of § 924(e) defining a “crime of violence” has two clauses.

The first clause, § 924(e)(2)(B)(i), is commonly referred to as the force clause. The other, §

924(e)(2)(B)(ii), is commonly referred to as the residual clause. The Supreme Court invalidated

                                                143
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 151 of 160




the ACCA’s residual clause as too vague to provide adequate notice under the due process

protections of the Fifth Amendment.

        To determine the applicability of predicate offenses under the residual clause, courts

employed a “categorical” approach, requiring courts to assess “how the law defines the offense

and not . . . how an individual offender might have committed it on a particular occasion.”

Johnson, 135 S. Ct. at 2557. This approach ultimately proved unworkable because it “ties the

judicial assessment of risk to a judicially imagined ‘ordinary case’ of a crime, not to real-world

facts or statutory elements.” Id. The Court noted that many of the crimes invoked, on the face of

the statutes, could be committed in a variety of ways, not all of which were violent. As a result,

the “residual clause leaves grave uncertainty about how to estimate the risk posed by a crime”

and “offers no reliable way to choose between . . . competing accounts of what ‘ordinary’”

involves. Id.

        The Court concluded that the “indeterminacy of the wide-ranging inquiry required . . .

both denies fair notice to defendants and invites arbitrary enforcement by judges” and thus

“denies due process of law.” Id. Moreover, the Court rejected calls to look at the particular facts

of the case in issue, noting, “If we hold a statute to be vague, it is vague in all its applications

(and never mind the reality).” Id. at 2561.

        Subsequent cases recognize that the Johnson rule is not limited to ACCA but must be

applied to other statutes that have similarly vague language. In Sessions v. Dimaya, 138 S. Ct.

1204, 1218 (2018), the respondent, James Dimaya, was a lawful permanent resident who had two

first-degree burglary convictions. An Immigration Judge and the Board of Immigration Appeals

held that Dimaya’s convictions were “crime[s] of violence” under 18 U.S.C. § 16(b), which




                                                  144
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 152 of 160




made him deportable. Relying on Johnson, the Ninth Circuit held that § 16(b) was

unconstitutionally vague. Dimaya v. Lynch, 803 F.3d 1110, 1120 (9th Cir. 2015).

       On appeal to the United States Supreme Court, the Government argued that the textual

distinctions between ACCA and § 16(b) removed § 16(b) from the purview of Johnson. The

Supreme Court rejected the argument that the textual variations made a difference:

       [The Government] points to three textual discrepancies between ACCA’s residual
       clause and § 16(b), and argues that they make § 16(b) significantly easier to
       apply. But each turns out to be the proverbial distinction without a difference.
       None relates to the pair of features—the ordinary-case inquiry and a hazy risk
       threshold—that Johnson found to produce impermissible vagueness.

Dimaya, 138 S. Ct. at 1218. Thus, like ACCA, § 16(b) was “void for vagueness.” See also

United States v. Davis, 139 S. Ct. 2319 (2019) (residual clause defining crimes of violence in 18

U.S.C. §924(c)(3)(b) is unconstitutionally vague under Johnson).

       C.         42 Pa. C.S. § 9711(d)(9) Is Unconstitutional under Johnson

       “A vague law is no law at all.” Davis, 139 S. Ct. at 2323. Section 9711(d)(9) suffers from

the same defects as the statutes at issue in Johnson, Dimaya, and Davis.

                  1.    Johnson applies to death penalty schemes

       Both the ACCA residual clause and § 9711(d)(9) are penalty enhancement provisions.

The ACCA provides for increased sentences for offenders who had committed qualifying

predicate offenses; § 9711(d)(9) is an aggravating circumstance that, if proved, renders the

offender eligible for a death sentence. As Johnson itself makes clear, “[due process] principles

apply not only to statutes defining elements of crimes, but also to statutes fixing sentences. 135

S. Ct. at 2557.




                                                145
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 153 of 160




               2.      As in the ACCA provision at issue in Johnson, Pennsylvania employs
                       a categorical approach to determining whether a predicate offense
                       applies

       Key to the resolution in Johnson was the mandated use of the categorical approach

employed in resolving applicability of the ACCA. Taylor v. United States, 495 U.S. 575, 600

(1990) (holding that the ACCA requires courts to employ categorical approach). Under this

approach, courts “look only to the fact of conviction and the statutory definition of the prior

offense” and do not generally consider the “particular facts disclosed by the record of

conviction.” Shepard v. United States, 544 U.S. 13, 17 (2005) (quoting Taylor, 495 U.S. at 602).

The focus is on whether the elements of the offense are of the type that would justify its inclusion

within the residual provision, without inquiring into the facts leading to the conviction. Johnson,

135 S. Ct. at 2557.

       Under § 9711(d)(9), just as under the ACCA residual clause, courts look not to the

particular facts of the crime but to whether the predicate crime itself “by its nature” fits the

statutory language. In Pennsylvania, the issue typically arises in the context of burglary, which

has no element that requires proof of use or threat of violence. One early case, Commonwealth v.

Christy, 515 A.2d 832 (Pa. 1986), involving the applicability of burglary and escape, seemed to

suggest that Pennsylvania would adopt a case-by-case approach to § 9711(d)(9). However, just

two years later, the Pennsylvania Supreme Court, rejecting the contention that the law in this

area was inconsistent, made clear that the case-by-case language employed in Christy was mere

dicta, and that burglary categorically qualified under § 9711(d)(9). Commonwealth v. Rolan, 549

A.2d 553, 559 & n.5 (1988) (discussion in Christy was “obiter dictum”; “burglary has always

been and continues to be viewed as a crime involving the use or threat of violence to the

person”); Commonwealth. v. Small, 980 A.2d 549, 576 (2009) (portion of Christy discussing

burglary was merely dicta; burglary qualifies as a crime involving the use or threat of violence to

                                                 146
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 154 of 160




the person); Commonwealth v. Spotz, 47 A.3d 63, 104 (Pa. 2012) (“The fact that a defendant’s

specific burglaries did not involve violence does not preclude their use to satisfy aggravating

circumstance 9711(d)(9).”).

               3.      The clauses are materially indistinguishable

       At issue in Johnson was an enhancement provision of ACCA applying a more severe

punishment if a defendant convicted of being a felon in possession of a firearm has three or more

prior convictions for a “violent felony” – a term defined to include any felony that “involves

conduct that presents a serious potential risk of physical injury to another.” 18 U.S.C. §

924(e)(2)(B). Comparably, the (d)(9) aggravating circumstance applies if the defendant has

significant history of felony convictions “involving the use or threat of violence to the person.”

The clauses are materially indistinguishable.

       Involving. In each clause, the drafters eschewed a requirement that violence be an

element of the predicate offense. Rather, each employs the imprecise term “involv[ing],”28

respectively, the risk or threat of violence. See, e.g., State v. Hughes, 907 P.2d 336, 339 (Wash.

App. 1995) (“‘Involved’ is an imprecise term incorporating such concepts as being a part of,

contributing to and being a participant” (citing William C. Burton, Legal Thesaurus, at 298 (2d

ed.1992))).

       Physical injury/violence to the person. Section 924(e) speaks of “physical injury to

another [person]” whereas § 9711(d)(9) says “violence to the person” – terms that are materially

indistinguishable.




28
   The Johnson Court drew the distinction this way: “[U]nlike the part of the definition of a
violent felony that asks whether the crime ‘has as an element the use . . . of physical force,’ the
residual clause asks whether the crime ‘involves conduct’ that presents too much risk of physical
injury.” Johnson, 135 S. Ct. at 2557.

                                                147
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 155 of 160




       Risk/threat. Section 924(e) requires assessment of the “risk” of injury, an amorphous

term resistant to unambiguous application. Johnson, 135 S. Ct. at 2558 (“the residual clause

leaves uncertainty about how much risk it takes for a crime to qualify as a violent felony”); id. at

2551 (discussing some of the troublesome candidates for inclusion, including burglary, the Court

notes, “These offenses are far from clear in respect to the degree of risk each poses”) (citation

omitted).

       The (d)(9) aggravating circumstance employs an equally vague term – “threat” – which

Pennsylvania courts use interchangeably with “risk.” See Commonwealth v. Thomas, 561 A.2d

699, 709 (Pa. 1989) (“unprivileged entries into buildings and structures where people are likely

to be found is a clear threat to the safety of those therein”); Commonwealth v. Pruitt, 951 A.2d

307, 321 (Pa. 2008) (same); Rolan, 549 A.2d at 560–61 (Zappala, J., dissenting) (noting that in

assessing applicability of burglary under (d)(9), “the majority confuses the concepts ‘risk’ and

‘threat’”) (emphasis supplied); id. (“It is true that the types of structures subject to being burgled

. . . might be occupied, but it is not necessary that the structure in fact be occupied.”). Neither the

residual clause nor § 9711(d)(9) defines precisely how much threat or risk of violence is required

for a crime to qualify. See Christy, 515 A.2d at 841 (noting in dicta, “Every felony has the

potential for violence if the actor is caught”). This sentiment is echoed in Johnson. See 135 S. Ct.

at 2559 (prior precedent “failed to establish any generally applicable test that prevents the risk

comparison required by the residual clause from devolving into guesswork and intuition”).

       It is the rule of law that is significant; there is no requirement of complete identity in the

offending language. The Supreme Judicial Court of Massachusetts, under the authority of

Johnson, invalidated a state enhancement provision that employed similar but not identical

language. Finding no “meaningful difference between the two provisions,” it ruled that the



                                                 148
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 156 of 160




Massachusetts statute was unconstitutionally vague. Commonwealth v. Beal, 52 N.E.2d 998

(Mass. 2016) (emphasis supplied). See also Pursell v. Horn, 187 F. Supp. 2d 260, 387-88, 390

(W.D. Pa. 2002) (court concluded that, while the language of the aggravator and instruction were

not identical to the language held unconstitutional in Godfrey v. Georgia, 446 U.S. 420 (1980),

and Maynard v. Cartwright, 486 U.S. 356 (1988), because the jury had “[no] more guidance than

the juries received” in those cases, the aggravator, as it had been defined by the trial court, was

unconstitutionally vague).29

                4.      Petitioner is entitled to relief

        A defendant sentenced to death pursuant to a clause that is void for vagueness is entitled

to relief regardless of the underlying facts. Johnson, 135 S. Ct. at 2561 (“[O]ur holdings squarely

contradict the theory that a vague provision is constitutional merely because there is some

conduct that clearly falls within the provision’s grasp. . . If we hold a statute to be vague, it is

vague in all its applications (and never mind the reality).”). In other words, the

unconstitutionality of the provision is not rendered harmless by a showing that the actual conduct

may have involved the threat of violence.

        Similarly, Pennsylvania law is clear that a new penalty hearing is required

notwithstanding the presence of additional aggravating factors, so long as the jury, as was the

case here, found mitigating circumstances and proceeded to the weighing stage. Commonwealth

v. Williams, 650 A.2d 420, 430 (1994) (when an aggravator is struck down on appeal in a case




29
   In Beckles v. United States, 137 S. Ct. 886, 895 (2017), the Court held that “the advisory
Sentencing Guidelines are not subject to a vagueness challenge under the Due Process Clause.”
However, the Court observed that, as is the case here, it “applie[s] the vagueness rule to a statute
fixing permissible sentences.” Id. at 892.


                                                  149
      Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 157 of 160




where the jury engaged in a weighing of aggravating and mitigating circumstances, a new

penalty hearing is required).

       Because § 9711(d)(9) suffers from the same defects that rendered the ACCA residual

clause unconstitutional,30 it is void for vagueness under the due process provisions of the

Fourteenth Amendment and cannot be invoked to support Petitioner’s death sentence. Similarly,

it gives too little guidance to permit juries to rationally distinguish among the most culpable

offenders in a non-arbitrary way, in violation of the Eighth Amendment. Petitioner’s death

sentence must be reversed.

       D.      The State Court Opinion

       Relying on its decision in Commonwealth v. Spotz, 171 A.2d 675 (Pa. 2017), the

Pennsylvania Supreme Court held that it lacked jurisdiction to address the merits of Petitioner’s

challenge to the (d)(9) aggravator. Natividad-3 at 41. And while Petitioner argued in his reply

brief that Dimaya, which had been decided after Petitioner’s Initial Brief had been filed, required

a different result, the Pennsylvania Supreme Court refused to consider Dimaya because that

argument had not been raised in the PCRA court below, even though Dimaya had not yet been

decided at the time of the lower court litigation. Id. at n.23.




30
   The (d)(9) circumstance is arguably vaguer in terms of notice to the offender. The clause does
not define what constitutes a significant history, nor does define what constitutes a “conviction.”
Commonwealth v. Holcomb, 498 A.2d 833, 851 (Pa. 1985) (holding two convictions suffice even
though both arise from the same incident and otherwise were merged for sentencing purposes);
Commonwealth v. Williams, 660 A.2d 1316, 1323 (Pa. 1995) (holding that jury may consider all
of defendant's convictions, including for crimes committed after the crime at issue);
Commonwealth v. Baker, 614 A.2d 663, 676 (Pa. 1992) (holding juvenile adjudications count as
“convictions” notwithstanding Juvenile Act, section 6354, expressly says an adjudication is “not
a conviction of crime”). And, notably, in this case (d)(9) was supported by juvenile adjudications
which do not carry the same safeguards that attend criminal convictions. McKeiver v.
Pennsylvania, 403 U.S. 528 (1971) (no due process right to trial by jury); In Interest of J.F., 714
A.2d 467, 470 (Pa. Super. Ct. 1998) (same).

                                                 150
        Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 158 of 160




         Spotz held that Johnson and Welch did not satisfy an exception to Pennsylvania’s PCRA

time bar because neither Johnson nor Welch created a new rule of constitutional law that applied

retroactively to Spotz’s challenge to the (d)(9) aggravator. Spotz, 171 A.3d at 676. In the court’s

view, the determination that ACCA was retroactively unconstitutional had no impact on the

challenge to a state statute and thus did not satisfy any exception to the time bar. This is not an

adjudication of the merits of the claim.

         Here as well, the court relied on Spotz without adjudicating the merits of the claim.

Indeed, under Spotz, there is no process that would allow Natividad to raise a Johnson challenge

to the constitutionality of the (d)(9) aggravator in state court. Thus, this Court’s review is de

novo.

         The state court’s refusal to consider the impact of Dimaya on its prior holding makes

matters worse. Dimaya was controlling law at the time of the state court’s decision and it was

brought to the state court’s attention at Petitioner’s first opportunity to do so after the decision

was rendered. The Pennsylvania Supreme Court’s refusal to consider Dimaya is contrary to the

basic principles of judicial review, as well as to Dimaya itself. Again, de novo review is

appropriate.




                                                 151
     Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 159 of 160




                                        CONCLUSION

       WHEREFORE, for the foregoing reasons Petitioner respectfully requests that this Court

grant him habeas relief, in the form of a new trial and sentencing, or conduct such evidentiary

hearings and allow discovery as may be appropriate.


                                             Respectfully submitted


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Dated: October 21, 2019




                                               152
     Case 2:08-cv-00449-CMR Document 108 Filed 10/21/19 Page 160 of 160




                                CERTIFICATE OF SERVICE


       I, Stuart Lev, hereby certify that on the 21st day of October, 2019, I served a copy of the

foregoing on all counsel of record via the Court’s ECF system.




                                                     /s/ Stuart B. Lev
                                                     Stuart B. Lev
